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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                              Chapter 11

    TRUE VALUE COMPANY, L.L.C., et al.,                                Case No. 24-12337 (KBO)

                    Debtors.1                                          (Jointly Administered)


                         NOTICE OF PROPOSED ASSUMPTION AND
                    ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS

                     PLEASE TAKE NOTE OF THE FOLLOWING DEADLINES:

    Cure Objection Deadline: On or before November 18, 2024 at 4:00 p.m., prevailing Eastern
          Time, or such deadline set forth in the applicable Supplemental Cure Notice.
             Sale Hearing: November 12, 2024 at 10:00 a.m. (prevailing Eastern Time)


PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.     On October 14, 2024, True Value Company, L.L.C. and its debtor affiliates, as
debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11
cases (the “Chapter 11 Cases”), filed with the United States Bankruptcy Court for the District of
Delaware (the “Court”) the Motion of Debtors for Entry of An Order (I) Establishing Bidding,
Noticing, and Assumption and Assignment Procedures, (II) Approving the Sale of Substantially All
of the Debtors’ Assets, and (III) Granting Related Relief [Docket No. 12] (the “Bidding Procedures
Motion”),2 seeking an order, among other things, authorizing procedures (such procedures,
the “Assumption and Assignment Procedures”) to facilitate the fair and orderly assumption,
assumption and assignment, and rejection of certain executory contracts (the “Executory
Contracts”) or unexpired leases (the “Unexpired Leases”) of the Debtors.

       2.      On November 2, 2024, the Debtors filed the proposed Order (I) Approving the Bid
Protections; (II) Approving the Assumption and Assignment Procedures; (III) Authorizing and
Approving the Form of Notice of the Sale of Substantially All of the Assets of the Debtors; (IV)


1
      The Debtors in these chapter 11 cases, along with the last four (4) digits of their respective tax identification
      numbers, are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C.
      (7025); TV GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386);
      True Value Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors’
      corporate headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.
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      Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Bidding
      Procedures Motion.
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Authorizing and Scheduling the Sale Hearing and Setting Other Related Dates and Deadlines; and
(V) Granting Related Relief [Docket No. 268].

         3.     On November 4, 2024, the Court, entered an order approving, among other things,
the Assumption and Assignment Procedures [Docket No. 297] (the “Assumption and Assignment
Procedures and Bid Protections Order”). Pursuant to the Assumption and Assignment Procedures
and Bid Protections Order, the Debtors hereby provide notice (this “Cure Notice”) that they are
seeking to assume and assign to Do It Best Corp. (“Do it Best” or the “Stalking Horse Bidder”),3
or, if the Stalking Horse Bidder is not the Successful Bidder at the Auction (if any), any other
Successful Bidder(s), the Contracts or Leases listed on Exhibit A attached hereto (each, an
“Assigned Contract”). You are receiving this Cure Notice because you may be a counterparty
to a Contract or Lease (a “Counterparty”) that is proposed to be assumed and assigned to
the Successful Bidder in connection with the Sale.

       4.      If the Debtors assume and assign to the Successful Bidder(s) an Assigned Contract
to which you are a party, on the closing date of the Sale, or as soon thereafter as practicable, such
Successful Bidder(s) will pay you the amount the Debtors’ records reflect is owing for pre-
chapter 11 filing arrearages, if any, as set forth on Exhibit A (the “Cure Amount”).

        5.    The Debtors’ inclusion of a Contract or Lease as an Assigned Contract on
Exhibit A is not a guarantee that such Contract or Lease will ultimately be assumed and assigned
to any Successful Bidder. Should it be determined that an Assigned Contract will not be assumed
and assigned, the Debtors will notify such party to the Assigned Contract in writing of such
decision.

        6.     Notwithstanding anything to the contrary herein, the proposed assumption and
assignment of each of the Assigned Contracts listed on Exhibit A hereto (a) will not be an
admission as to whether any such Assigned Contract was executory or unexpired as of the Petition
Date or remains executory or unexpired postpetition within the meaning of Bankruptcy Code
section 365; and (b) will be subject to the Debtors’, the Stalking Horse Bidder’s, or any Successful
Bidder(s) right to conduct further confirmatory diligence with respect to the Cure Amount of each
Assigned Contract and to modify such Cure Amount accordingly. In the event that the Debtors or
the Successful Bidder determine that your Cure Amount should be modified, you will receive a
notice pursuant to the Assumption and Assignment Procedures below, which will provide for
additional time for you to object to such modification.

I.       Assumption and Assignment Procedures

       7.      The Assumption and Assignment Procedures set forth below regarding the
assumption and assignment of the Assigned Contracts proposed to be assumed by the Debtors and
assigned to the Successful Bidder(s) in connection with the Sale will govern the assumption and
assignment of all of the Assigned Contracts, subject to the payment of any Cure Amounts:


3
     A copy of the purchase agreement between the Debtors and the Stalking Horse Bidder, as amended (the
     “Stalking Horse Agreement” or the “APA”, and such bid memorialized therein, the “Stalking Horse Bid”) is
     attached as Exhibit C to the Notice of Filing of Cash Collateral Resolution Documents [Docket No. 268].


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        (a)    Cure Amounts and Adequate Assurance of Future Performance. The payment
of the applicable Cure Amounts shall (i) effect a cure of all defaults existing thereunder and
(ii) compensate for any actual pecuniary loss to such counterparty resulting from such default.

        (b)     Supplemental Cure Notice. Although the Debtors intend to make a good faith
effort to identify all Assigned Contracts that may be assumed and assigned in connection with a
Sale, the Debtors may discover certain Executory Contracts inadvertently omitted from the
Assigned Contracts list or the Stalking Horse Bidder or Successful Bidders may identify other
Executory Contracts that they desire to assume and assign in connection with a Sale. Accordingly,
the Debtors reserve the right, at any time after the Assumption and Assignment Service Deadline
and at least two days before the closing of a Sale, to (i) supplement the list of Assigned Contracts
with previously omitted Executory Contracts (the “Additional Assigned Contracts”), (ii) remove
Assigned Contracts from the list of Executory Contracts ultimately selected as Assigned Contracts
that a Successful Bidder proposes be assumed and assigned to it in connection with a Sale (the
“Eliminated Agreements”), and/or (iii) modify the previously stated Cure Amount associated with
any Assigned Contracts. In the event the Debtors exercise any of these reserved rights, the Debtors
will promptly serve a supplemental notice of contract assumption (a “Supplemental Cure Notice”)
on each of the counterparties to such Additional Assigned Contracts or Eliminated Agreements, as
applicable, and their counsel of record, if any, and the Consultation Parties; provided, however,
the Debtors may not add an Executory Contract to the list of Assigned Contracts that has been
previously rejected by the Debtors by order of the Court. Each Supplemental Cure Notice will
include the same information with respect to listed Assigned Contracts as was included in the Cure
Notice. If the Successful Bidder is not the Stalking Horse Bidder, the Debtors will file the Notice
of Successful Bidder.

        (c)     Objections. Objections, if any, to the proposed assumption and assignment or the
Cure Amount proposed with respect thereto, must (i) be in writing, (ii) comply with the applicable
provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, (iii) state with
specificity the nature of the objection and, if the objection pertains to the proposed amount of the
Cure Amount, the correct cure amount alleged by the objecting counterparty, together with any
applicable and appropriate documentation in support thereof, and (iv) be filed with the Court and
served upon, so as to be actually received by, the Cure Objection Recipients (as defined below) by
the applicable deadlines below.

       (1)     Cure Objection Deadline. Any objection to the Cure Amount, to assumption and
               assignment of an Assigned Contract, or to lack of adequate assurance of the
               performance of the Stalking Horse Bidder must be filed with the Bankruptcy Court
               on or before November 18, 2024 at 4:00 p.m., prevailing Eastern Time (the
               “Cure Objection Deadline”) or such later date identified in the Supplemental Cure
               Notice, and served on: (a) counsel for the Debtors, Skadden, Arps, Slate, Meagher
               & Flom LLP, 320 South Canal St., Chicago, IL 60606 (Attn: Ron Meisler, Esq.
               (ron.meisler@skadden.com)           and       Jennifer         Madden,       Esq.
               (jennifer.madden@skadden.com)), One Manhattan West, 395 9th Ave., New York,
               NY 10001 (Attn: Evan Hill, Esq. (evan.hill@skadden.com) and Moshe Jacob, Esq.
               (moshe.jacob@skadden.com)), and 920 North King Street, Wilmington, Delaware
               19801 (Attn: Joseph Larkin (joseph.larkin@skadden.com)); and (b) counsel to the
               Stalking Horse Bidder, Taft Stettinius & Hollister LLP, One Indiana Square, Suite

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               3500, Indianapolis, IN 46204 (Attn: Zachary E. Klutz (zklutz@taftlaw.com) and
               W. Timothy Miller (miller@taftlaw.com)) (collectively, the “Cure Objection
               Recipients”).

       (2)     Supplemental Cure Objection Deadline. Any objection to the assumption and
               assignment of an Additional Assigned Contract and the corresponding Cure
               Amount, the removal of an Eliminated Agreement, or the modification of a Cure
               Amount in the Supplemental Cure Notice (a “Supplemental Cure Objection”)
               must be filed with the Bankruptcy Court within seven days of receipt of the
               Supplemental Cure Notice (the “Supplemental Cure Objection Deadline”), and
               served on the Cure Objection Recipients.


       (d)     Assumption/Assignment/Cure Hearing. The hearing to be conducted by this
Court to consider objections, if any, to a proposed assumption and assignment or the Cure
Amount with respect thereto will commence on December 4, 2024 at 9:30 a.m., prevailing
Eastern Time (subject to Court availability), before the Honorable Karen B. Owens of the
United States Bankruptcy Court for the District of Delaware, 824 Market St. N., Wilmington,
Delaware 19801.

        8.      Any party that fails to timely file an objection to the proposed Cure Amount, the
proposed assumption and assignment of an Assigned Contract or Additional Assigned Contract
listed on a Cure Notice or the Supplemental Cure Notice, or the Sale is deemed to have consented
to (a) such Cure Amount, (b) the assumption and assignment of such Assigned Contract or
Additional Assigned Contract(s) (including the adequate assurance of future payment), (c) the
related relief requested in the Motion, and (d) the Sale. Such party shall be forever barred and
estopped from objecting to (i) the Cure Amounts, (ii) the assumption and assignment of the
Assigned Contract or Additional Assigned Contract(s), (iii) adequate assurance of future
performance, or (iv) any of the relief requested in the Motion (whether applicable law excuses
such counterparty from accepting performance by, or rendering performance to, the Stalking Horse
Bidder or a Successful Bidder for purposes of Bankruptcy Code section 365(c)(1)). Such party
shall also be forever barred and estopped from asserting any additional cure or other amounts
against the Debtors and the Stalking Horse Bidder or a Successful Bidder, with respect to such
party’s Assigned Contract or Additional Assigned Contract.

        9.     If a Cure Objection or Supplemental Cure Objection as applicable, filed by the Cure
Objection Deadline or Supplemental Cure Objection Deadline, as applicable, cannot otherwise be
resolved by the parties prior to the Assumption/Assignment/Cure Hearing, such objections and all
issues regarding the Cure Amount to be paid, the assignability, or the adequate assurance of future
performance, as applicable, will be determined by the Court at the Assumption/Assignment/Cure
Hearing, or at a later hearing on a date to be scheduled by the Debtors in their discretion, and in
consultation with the Successful Bidder.

II.    Additional Information

       10.     Service of a Cure Notice or a Supplemental Cure Notice does not constitute an
admission that any contract is an Executory Contract or that the stated Cure Amount related to any

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contract or Unexpired Lease constitutes a claim against the Debtors or a right against the Stalking
Horse Bidder (all rights with respect thereto being expressly reserved). Further, the inclusion of a
contract or Unexpired Lease, as applicable, on the Cure Notice is not a guarantee that such contract
or Unexpired Lease, as applicable, will ultimately be assumed and assigned.

        11.    Unless otherwise provided in the Sale Order, the Debtors will have no liability or
obligation with respect to defaults relating to the Assigned Contracts arising, accruing, or relating
to a period on or after the effective date of assignment.

        12.    Copies of the Bidding Procedures Motion, the Assumption and Assignment and
Bid Protections Order, and the Sale Notice may be obtained free of charge at the website dedicated
to the Debtors’ Chapter 11 Cases maintained by their claims and noticing agent and administrative
advisor, Omni Agent Solutions, at https://omniagentsolutions.com/TrueValue.

                          [Remainder of Page Intentionally Left Blank]




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Dated: November 6, 2024
       Wilmington, Delaware
                               SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                               /s/ Joseph O. Larkin
                               Joseph O. Larkin
                               One Rodney Square
                               920 N. King Street
                               Wilmington, Delaware 19801
                               Telephone: (302) 651-3000
                               Joseph.Larkin@skadden.com

                               - and -


                               Ron E. Meisler (admitted pro hac vice)
                               Jennifer Madden (admitted pro hac vice)
                               320 South Canal Street
                               Chicago, Illinois 60606-5707
                               Telephone: (312) 407-0705
                               Ron.Meisler@skadden.com
                               Jennifer.Madden@skadden.com

                               - and –

                               Robert D. Drain (admitted pro hac vice)
                               Evan A. Hill (admitted pro hac vice)
                               Moshe S. Jacob (admitted pro hac vice)
                               One Manhattan West
                               New York, New York 10001
                               Telephone: (212) 735-3000
                               Robert.Drain@skadden.com
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Contract Cure Schedule
November 6, 2024

General Note & Disclaimer: The Debtors have made a good faith effort in the preparation of this schedule. The Debtors may become aware of certain Executory
Contracts inadvertently omitted or the Stalking Horse Bidder or Successful Bidder may identify other contracts they desire to assume and assign in connection with
a Sale. The Debtors may also become aware of additional information that may result in modification of the Cure Amounts or other material changes. Accordingly,
for the avoidance of doubt, the Debtors reserve all rights to amend or supplement this schedule as may be necessary or appropriate.

Inclusion of a contract on this Schedule does not constitute an admission that any contract is an executory contract or that the stated Cure Amount related to any
contract or lease constitutes a claim against the Debtors or a right against the Stalking Horse Bidder (all rights with respect thereto being expressly reserved).

Inclusion of a contract or lease on this Schedule is not a guarantee that such contract or lease will ultimately be assumed and assigned.

Footnotes:
(1) The estimated cure amount reflects only the amount the Debtors believe may be required to be paid pursuant to Section 365(b)(1) of the Bankruptcy Code for
the assumption and assignment of an executory contract. It is not intended to be reflective of the total accounts payable balance for a particular party as of the
Petition Date.

(2) Reflects a summary of the contracts with each counterparty. In certain instances, multiple contracts or entries with the same name may only be listed once.

(3) A contract denoted in bold text reflects the contract that the Debtors reasonably believe is the contract for which the scheduled cure amount is applicable.



                                                        Est. Cure
  ID             Counterparty Name                                                            Summary of Contracts / Descriptions (2)(3)
                                                        Amount (1)
  1    11:11 Systems, Inc. (Prev. Sungard)          $            -   Professional Services Agreement (Sungard AS Master Services Agreement)
  2    1in6Snacks                                   $            -   MSC Program Agreement(s)
  3    216Digital Inc.                              $            -   Master Services Agreement (216Digital Inc. - MSA)
  4    360 Electrical                               $            -   Reunion Market Special/Retail Assortment Agreement(s)
  5    3B International LLC                         $            -   MSC Program Agreement(s)
  6    4 Seasons Global Inc                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Lease Agreement (Real Estate at 11275 E. 40th Avenue Denver, CO 80239)
  7    462 Thomas Family Properties L.P.            $     162,800.00
                                                                     Lease Agreement (Real Estate at 10707 E. 40th Avenue Denver, CO 80239)
   8   48Forty Solutions                            $     105,841.44 Building Maintenance & Services Agreement (48Forty Pallet Services Amendment 2024)
   9   A & E Hand Tools Inc.                        $            -   MSC Program Agreement(s)
  10   A & W Products Inc                           $            -   MSC Program Agreement(s)
  11   A Maze N Products Inc                        $            -   MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
  12   A R North America Inc                        $            -   Retail Marketing Fund Agreement(s)
                                                                     MSC Program Agreement(s)
  13   A&E Bath & Shower                            $            -   MSC Program Agreement(s)
  14   A. Dui Pyle                                  $         215.26 Software Maintenance Agreement (A Dui Pyle - Transportation Agreements LTL)
  15   A.N. Webber, Inc.                            $            -   Building Maintenance & Services Agreement (A.N. Webber, Inc. Carrier Agreement)
  16   AA Window Parts & Hardware                   $            -   MSC Program Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
  17   Aaf/Flanders                                 $            -   MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
  18   Ab Initio Software LLC                       $            -   Software Agreement (Ab Initio Master Software License and Support $235K)
                                                                     Software Agreement (Abalta Technologies Inc. True Value Trademark Licenses Agreement –
  19   Abalta Technologies Inc                      $            -   Amendment)
                                                                     Individual Independent Contractor Agreement (Removal and replacement of parking lot asphalt.)
  20   Abatron, Inc.                                $            -   MSC Program Agreement(s)
  21   ABB Installation Products                    $            -   MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
  22   Abbott Rubber Co Inc                         $            -   Conversion Agreement(s)
                                                                     MSC Program Agreement(s)
                                                                     MSC Program Agreement(s)
  23   Abco Products                                $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Conversion Agreement(s)
  24   Absolute Coatings Group                      $            -   MSC Program Agreement(s)
  25   Academy Broadway Corp                        $            -   MSC Program Agreement(s)
  26   Accent Decor                                 $            -   MSC Program Agreement(s)
  27   Access Marketing                             $            -   MSC Program Agreement(s)
                                                                     MSC Program Agreement(s)
  28   Acco Brands Inc                              $            -   Conversion Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     MSC Program Agreement(s)
  29   Acco/Mead                                    $            -
                                                                     Conversion Agreement(s)
  30   Accuflex Industrial Hose Ltd                 $            -   MSC Program Agreement(s)
  31   Accumetric LLC                               $            -   MSC Program Agreement(s)
  32   Accutec Blades Inc                           $            -   MSC Program Agreement(s)
  33   Acd Distribution LLC                         $            -   MSC Program Agreement(s)
  34   Ace Crete Products Inc.                      $            -   MSC Program Agreement(s)
  35   Ace Products Group                           $            -   MSC Program Agreement(s)


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                                                 Est. Cure
ID             Counterparty Name                                                     Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
36   Ach Food Companies Inc                  $            -
                                                              MSC Program Agreement(s)
37   Achla Designs                           $            -   MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (A.C.I. Commercial Roofers Agreement_Kansas City
38   Aci Commercial Roofers, LLC             $            -
                                                              Roof Replacement 2023)
                                                              MSC Program Agreement(s)
39   Acme Sponge & Chamois Co                $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
40   Acme United                             $            -
                                                              MSC Program Agreement(s)
41   Acoustic L.P.                           $            -   Professional Services Agreement (Acoustic ICA Addendum to the “IBM Customer Agreement”)
42   Actuator Systems LLC                    $            -   MSC Program Agreement(s)
43   Acudor Products, Inc.                   $            -   MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
44   Adams Mfg. Co                           $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
45   Ademco Inc                              $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
46   Ademco Inc.                             $            -   Conversion Agreement(s)
47   Adj Products LLC                        $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
48   Adm Animal Nutrition                    $            -   Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Software Agreement (Adobe Master Agreement 2015)
49   Adobe Systems Incorporated              $     129,355.75
                                                              Software Agreement (Adobe Inc. Campaign Managed Services - Renewal 2024)
                                                              Software Agreement (PayPro Global Toolkit Subscription 2024)
50   Adobeair/Coolers                        $            -
                                                              MSC Program Agreement(s)
51   ADT LLC                                 $       4,086.41 Building Maintenance & Services Agreement (ADT Security Systems Agreement ATL 2022)
                                                              MSC Program Agreement(s)
52   Advance Equipment Mfg Co                $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
53   Advanced Drainage Systems               $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
                                                              Professional Services Agreement (Advanced Technology - Galileo End User MSA)
54   Advanced Technology Services Group      $            -   Software Maintenance Agreement (Advanced Technology - Galileo SaaS Subscription Renewal
                                                              2024)
                                                              Professional Services Agreement (Advanced Wireless Access Point Replacement - Mankato)
                                                              Professional Services Agreement (Advanced Wireless Access Points - Atlanta)
                                                              Professional Services Agreement (Advanced Wireless Extreme Maintenance AP310 Access Points -
                                                              Springfield)
                                                              Hardware Agreement (Advanced Wireless Switch Controller Hardware Maintenance Renewal -
                                                              Kingman 2023)
                                                              Hardware Agreement (Advanced Wireless Switch Controller Hardware Maintenance Renewal -
                                                              Manchester 2023)
                                                              Hardware Agreement (Advanced Wireless Hardware, Software, Maintenance and Support - Central
                                                              Ship)
                                                              Hardware Agreement (Advanced Wireless Hardware, Software, Maintenance and Support - Harvard)
                                                              Hardware Agreement (Advanced Wireless Hardware, Software, Maintenance and Support - Atlanta)
                                                              Hardware Agreement (Advanced Wireless Hardware, Software, Maintenance and Support -
                                                              Cleveland)
                                                              Hardware Agreement (Advanced Wireless Ceiling Switch Project - Kansas City)
                                                              Hardware Agreement (Advanced Wireless Ceiling Switch Project - Mankato)
55   Advanced Wireless, Inc.                 $      33,991.95
                                                              Hardware Agreement (Advanced Wireless Ceiling Switch Project - Corsicana)
                                                              Hardware Agreement (Advanced Wireless Ceiling Switch Project - Springfield)
                                                              Hardware Agreement (Advanced Wireless Software Renewal for SOTI RDC's 2024)
                                                              Hardware Maintenance Agreement (Advanced Wireless Extreme Software and Hardware
                                                              Maintenance Renewal Cleveland 2023)
                                                              Hardware Maintenance Agreement (Advanced Wireless Extreme Software and Hardware
                                                              Maintenance - Woodland 2023)
                                                              Hardware Maintenance Agreement (Advanced Wireless Extreme Hardware Maintenance Renewal
                                                              RSC 2024)
                                                              Hardware Maintenance Agreement (Advanced Wireless Extreme Hardware Maintenance Renewal-
                                                              Denver 2024)
                                                              Hardware Maintenance Agreement (Advanced Wireless Extreme Software & Hardware Maintenance
                                                              Renewal Cleveland 2024)
                                                              SaaS Agreement (Advance Wireless Access Point Upgrade for RSC)
                                                              SaaS Agreement (Advanced Wireless Access Point Upgrade for Cary)
                                                              Software Agreement (Advanced Wireless Extreme Software Maintenance - Manchester 2024)
56   Advantage Product Corp                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              Master Services Agreement (Advantage Workforce Solutions MSA + SOW)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
57   Advantage Workforce Services, LLC       $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
58   Aero Stream LLC                         $            -   MSC Program Agreement(s)

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                                                    Est. Cure
ID               Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
                                                                 MSC Program Agreement(s)
59    Aerogrow International Inc               $             -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
60    Afc Cable Systems                        $             -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
61    Affinity Tool Works LLC                  $             -   MSC Program Agreement(s)
62    Afula Enterprises Inc                    $             -   MSC Program Agreement(s)
63    Afxlighting                              $             -   MSC Program Agreement(s)
64    AGG Presidents Owner LLC                 $      299,400.94 Lease Agreement (Real Estate at 8600 West Bryn Mawr Ave Chicago, IL 60631)
65    Agonow, LLC                              $             -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
66    Agri-Fab Incorporated                    $             -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
67    Ags Company Automotive Solutions         $             -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
68    Ahs Lighting                             $             -   MSC Program Agreement(s)
                                                                 Insurance Policy (Workers' Compensation - Policy Number(s): WC080880709)
                                                                 Insurance Policy (Workers' Compensation - Policy Number(s): WC080880710)
69    Aig / National Union Fire Ins. Co.       $             -   Insurance Policy (Workers' Compensation - Policy Number(s): WC080880711)
                                                                 Insurance Policy (Workers' Compensation - Policy Number(s): XWC3332275)
                                                                 Conversion Agreement(s)
70    Aiken Chemical Company Inc               $             -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Professional Services Agreement (Loyalty Data Migration and Operational services)
71    Aimia                                    $             -
                                                                 Professional Services Agreement (Loyalty Operational Support)
72    Aimleap Pvt. Ltd.                        $       15,196.00 Statement of Work (AIMLEAP Competitor Pricing Data Scrape)
73    Air Cycle Corporation                    $             -   MSC Program Agreement(s)
74    Air Vent Inc.                            $             -   MSC Program Agreement(s)
75    Airgas Safety                            $             -   MSC Program Agreement(s)
76    Airgas USA LLC                           $        4,458.55 Goods Purchase Agreement (Air Gas TVM Agreement Renew)
77    Airjet Inc                               $             -   MSC Program Agreement(s)
78    Airmax Inc Dba Crystalclear              $             -   MSC Program Agreement(s)
                                                                 Professional Services Agreement (3Sixty Holdings (AISN) Hosting and Services Agreement)
79    Ais Networks Dba 360 Holdings LLC        $             -   Professional Services Agreement (AIS Network Switch Routing Service 2023)
                                                                 Professional Services Agreement (AIS Network - TVM Shurline Internet Domain Renewal 2024)
80    Akro Mils Inc                            $             -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
81    Albanese Confectionery Group             $             -
                                                                 Conversion Agreement(s)
82    Alden Corporation                        $             -   MSC Program Agreement(s)
83    Aldik Artificial Flower Co.              $             -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
84    Alert Stamping & Mfg.                    $             -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
85    Alert Stamping & Mfg-Import              $             -   Reunion Market Special/Retail Assortment Agreement(s)
86    Alex R Masson Wholesale Grower           $             -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
87    Alexandria Moulding Inc                  $             -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
88    Alfresco Home LLC                        $             -   MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
89    Ali Industries                           $             -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
90    All Sports Marketing Inc                 $             -   MSC Program Agreement(s)
91    All States Ag Parts LLC                  $             -   MSC Program Agreement(s)
92    All Tropicals Inc                        $             -   MSC Program Agreement(s)
93    All Weather Wood                         $             -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
94    Allen Company                            $             -   Conversion Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
95    Allen Group Intl Inc                     $             -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
96    Allenvisual                              $             -   Professional Services Agreement (Audio Visual preventive maintenenace)
97    Alliance Hort Berry Nurseries            $             -   MSC Program Agreement(s)
98    Alliance Horticulture                    $             -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
99    Alliance Sports Group                    $             -   Retail Marketing Fund Agreement(s)
                                                                 Conversion Agreement(s)
100   Allianz Global Risks Us Insurance Company $            -   Insurance Policy (Directors & Officers - Policy Number(s): USF05280623)
                                                                 Building Maintenance & Services Agreement (Allied Security Services Amendment 2025)
                                                                 Software Maintenance Agreement (Allied - COVID Addendum 2021)
101   Allied Barton Security Services          $             -   Building Maintenance & Services Agreement (Amarok Security Services Agreement ATL RDC 2024)
                                                                 MSC Program Agreement(s)

102   Allied National, Inc                     $             -   MSC Program Agreement(s)
103   Allied Precision Ind                     $             -   MSC Program Agreement(s)


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                                                   Amount (1)
                                                                MSC Program Agreement(s)
104   Allied Tube & Conduit                    $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Goods Purchase Agreement (Velocity Labels W9)
105   Allied World Assurance Co (Us) Inc.      $            -   Insurance Policy (Pollution - Policy Number(s): 03141607)
                                                                MSC Program Agreement(s)
                                                                Software Maintenance Agreement (PNC Bank - Commercial Card Program Agreement 2018)
106   Allied World Specialty Insurance Co      $            -   Insurance Policy (Cyber - Policy Number(s): 3138149)
                                                                MSC Program Agreement(s)
107   Allmand Bros. Inc.                       $            -   MSC Program Agreement(s)
                                                                Master Services Agreement (Allo Communications LLC MSA)
108   Allo Communications LLC                  $            -
                                                                Professional Services Agreement (ALLO Communications - DIA 300 Mbps Circuit – Kingman)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
109   Allsop Inc                               $            -
                                                                MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
110   Allstar Marketing Group LLC              $            -
                                                                MSC Program Agreement(s)
111   Allstar Products Group LLC               $            -   MSC Program Agreement(s)
112   Allstate Floral & Craft                  $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
113   Alltrade Tools                           $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
114   Allway Tool Inc                          $            -   Retail Marketing Fund Agreement(s)
                                                                Conversion Agreement(s)
115   Almo Distributing Wisconsin Inc          $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
116   Alpha Assembly Solutions Inc             $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
117   Alpha Protech Engineered Products I      $            -   MSC Program Agreement(s)
                                                                Professional Services Agreement (Alphabet INC (Google Parent) - GCP Extended Support
118   Alphabet Inc (Google Parent)             $      68,949.46
                                                                2024-2025)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
119   Alpine Corporation                       $            -
                                                                MSC Program Agreement(s)
120   Alsons Corp                              $            -   MSC Program Agreement(s)
121   Alta 360 Research                        $            -   Marketing Services Agreement (Alta 360 Research - Mystery Shopping Agreement 2018)
122   Alta Industries                          $            -   MSC Program Agreement(s)
123   Alterra Tools Ltd-Import                 $            -   MSC Program Agreement(s)
                                                                Order Form (Alteryx Server & User License Renewal 2024)
124   Alteryx, Inc.                            $            -
                                                                Software Agreement (Alteryx Designer Licenses)
125   Altman Plants                            $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
126   Alton Intl Enterprises Limited           $            -
                                                                Retail Marketing Fund Agreement(s)
127   Amana Tool Co.                           $            -   MSC Program Agreement(s)
128   Amano Pioneer Eclipse Corp               $            -   MSC Program Agreement(s)
                                                                Building Maintenance & Services Agreement (Allied Security Services Amendment 2025)
                                                                Software Maintenance Agreement (Allied - COVID Addendum 2021)
129   Amarok Security                          $            -   Building Maintenance & Services Agreement (Amarok Security Services Agreement ATL RDC 2024)
                                                                MSC Program Agreement(s)

130   Amax Incorporated                        $            -   MSC Program Agreement(s)
                                                                Hosting Agreement (Amazon Web Services – Hosting Services for Netwarehouse 2023)
                                                                Hosting Agreement (Amazon Web Services – Hosting Services for Business Projects and RHAI
131   Amazon Services                          $      81,210.87 2024)
                                                                Professional Services Agreement (AWS Enterprise Agreement)
132   American Air Filter Co                   $            -   MSC Program Agreement(s)
133   American Beverage Marketers              $            -   Reunion Market Special/Retail Assortment Agreement(s)
134   American Biophysics Corp                 $            -   MSC Program Agreement(s)
135   American Central Transport Inc.          $            -   Software Maintenance Agreement (American Central Transport Inc. Carrier Agreement)
                                                                Conversion Agreement(s)
136   American Covers Inc                      $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
137   American Deer Proofing Inc               $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
138   American Distribution & Mfg Co           $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
139   American Gardenworks Inc                 $            -
                                                                MSC Program Agreement(s)
140   American Gypsum Marketing Co             $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
141   American Home Foods                      $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
142   American Honda Motor Company Inc.        $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
143   American Metal Products                  $            -
                                                                MSC Program Agreement(s)
144   American Moda                            $            -   Conversion Agreement(s)


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                                                      Est. Cure
ID               Counterparty Name                                                        Summary of Contracts / Descriptions (2)(3)
                                                      Amount (1)
                                                                   Conversion Agreement(s)
145   American Outdoor Brands Products Co         $           -
                                                                   MSC Program Agreement(s)
146   American Pneumatic Tool                     $           -    MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
147   American Power Pull                         $           -    Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
      American Registry For Internet Numbers                       Master Services Agreement (ARIN Annual Fee for Registration Services Plan 2024)
148                                               $           -
      (Arin)
149   American Rental Association Ara             $           -    Professional Services Agreement (American Rental Association ARA Membership Agreement)
150   American Rod & Gun                          $           -    MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Retail Marketing Fund Agreement(s)
151   American Saw & Mfg Co                       $           -    MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
152   American Specialty Mfg.                     $           -    MSC Program Agreement(s)
153   American Sportworks                         $           -    MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
154   American Standard Brands                    $           -
                                                                   Conversion Agreement(s)
155   American Wood Fibers                        $           -    MSC Program Agreement(s)
156   American Wood Moulding                      $           -    MSC Program Agreement(s)
157   AmeriGas Propane Bulk                       $           -    MSC Program Agreement(s)
158   Amerigas Propane L.P.                       $           -    MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Retail Marketing Fund Agreement(s)
159   Amerimax Home Products                      $           -    MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
160   Amerock                                     $           -
                                                                   Conversion Agreement(s)
                                                                   Retail Marketing Fund Agreement(s)
161   Amertac-Westek                              $           -    MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   Vendor Buying Agreement
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
162   Ames Companies, The                         $           -    Retail Marketing Fund Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
163   Ames Companies, The-Import                  $           -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
164   Ames Research Laboratories                  $            -   MSC Program Agreement(s)
165   Ames True Temper                            $            -   MSC Program Agreement(s)
166   Amitha Verma                                $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
167   Ammex Corporation                           $            -
                                                                   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
168   Ampac L.L.C.                                $            -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
169   Amplivox Sound Systems                      $            -   MSC Program Agreement(s)
170   Amscan                                      $            -   MSC Program Agreement(s)
171   Amturf, LLC                                 $            -   MSC Program Agreement(s)
172   Amy Howard At Home                          $            -   MSC Program Agreement(s)
173   Ana Cecilia Morales                         $            -   Professional Services Agreement (Customer Focus Vision program)
174   Anaheim Manufacturing Co.                   $            -   MSC Program Agreement(s)
175   Anchor Audio Inc.                           $            -   MSC Program Agreement(s)
176   Anchor Hocking Operating Co                 $            -   MSC Program Agreement(s)
177   Anchor Industries, Inc                      $            -   MSC Program Agreement(s)
178   Anchor Sign Inc                             $            -   MSC Program Agreement(s)
179   Anchor Wire/Hillman Group                   $            -   MSC Program Agreement(s)
180   Ancient Graffiti                            $            -   MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (Andersen Handling Materials Maintenance -
181   Andersen Material Handling                  $      33,280.47
                                                                   Cleveland RDC 2024)
                                                                   Conversion Agreement(s)
182   Anderson Metals Corp                        $            -
                                                                   MSC Program Agreement(s)
183   Angela'S Garden                             $            -   MSC Program Agreement(s)
184   Animal Health International                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
185   Anne Taintor Inc                            $            -   MSC Program Agreement(s)
186   Annin Flagmakers                            $            -   MSC Program Agreement(s)
187   Anti Seize Technology                       $            -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
188   Anvil International Inc                     $            -
                                                                   Conversion Agreement(s)
189   Anviz Biometric Inc                         $            -   MSC Program Agreement(s)
                                                                   Retail Marketing Fund Agreement(s)
                                                                   Conversion Agreement(s)
190   Ap & G Co Inc                               $            -   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)

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                                              Est. Cure
ID                Counterparty Name                                                 Summary of Contracts / Descriptions (2)(3)
                                              Amount (1)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
191   Apache Hose & Belting Inc           $            -     MSC Program Agreement(s)
                                                             Conversion Agreement(s)
                                                             Building Maintenance & Services Agreement (Apex Pest Control Cleveland Agreement 2023)
192   Apex Pest Control                   $      36,782.17   Building Maintenance & Services Agreement (Apex Pest Control Services Atlanta 2024)
                                                             Building Maintenance & Services Agreement (Apex Pest Control Corsicana Agreement 2023)
193   Apex Products LLC                   $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                             Vendor Buying Agreement
                                                             MSC Program Agreement(s)
194   Apex Tool Group                     $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
                                                             MSC Program Agreement(s)
195   Apex Tools Group LLC                $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
196   Apgr Green Inc                      $            -     MSC Program Agreement(s)
                                                             Professional Services Agreement (API Wizard -Maintenance for Application build For Oracle AP
197   Api Wizard, LLC                     $            -
                                                             2024)
198   Apisero, Inc.                       $            -     Professional Services Agreement (Apisero Master Services Agreement 2020)
199   Apollo Exports Intl Inc             $            -     MSC Program Agreement(s)
200   Apple                               $            -     Software Subscription Agreement (Apple Developer Program - Membership for one year)
201   Apple Industries Inc                $            -     MSC Program Agreement(s)
202   Applegate Livestock Equipment       $            -     MSC Program Agreement(s)
203   Appleton Supply Company             $            -     MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
204   Applica/Spectrum Brands             $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Professional Services Agreement (Apps IT Agency & Recruiting Agreement)
205   Apps It America LLC                 $            -
                                                             Software Agreement (BeRocket Plugins AJAX Products Filter 3)
206   Aptitive Corp                       $            -     Professional Services Agreement (Aptitive Corp MSA)
                                                             MSC Program Agreement(s)
207   Aqua Leisure Ind Inc                $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
208   Aqua Tite Innovative Solutions      $            -     MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
209   Aquamor LLC                         $            -
                                                             Conversion Agreement(s)
210   Arag Insurance Company              $       3,776.00   HR Services Agreement (ARAG - Group Life Legal Expense Insurance Policy)
                                                             Master Services Agreement (Arbor Solutions MSA)
                                                             Professional Services Agreement (Arbor Solutions SOW 1 Shurline Support Services)
211   Arbor Solutions                     $       8,252.00
                                                             Software Maintenance Agreement (Arbor Solutions Shurline IBM 8202 SW Maintenance Renewal for
                                                             Cary)
                                                             Equipment Lease Agreement (ARC Equipment Finance - Leasing Refresh Surface Pro's and i7
212   Arc Equipment Finance               $     190,089.57   Laptops)
                                                             Lease Agreement (Equipment Lease)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
213   Arch Chemical                       $            -
                                                             MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
214   Architectural Mailboxes             $            -     Conversion Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
215   Ardex LP                            $            -
                                                             MSC Program Agreement(s)
216   Ardisam                             $            -     MSC Program Agreement(s)
217   Ariens Company                      $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
218   Aries Mfg                           $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
                                                             Consulting Agreement (Arisant NDA 20211104)
219   Arisant LLC                         $            -
                                                             Master Services Agreement (Arisant MSA 2022)
220   Arizona East LLC                    $            -     MSC Program Agreement(s)
221   Arkema Coating Resins               $            -     Goods Purchase Agreement (Arkema Coating Resins Agreement TVM)
222   Arkema Inc.                         $      24,639.70   Amendment (Arkema Confidential Disclosure Addendum 2023)
                                                             Conversion Agreement(s)
223   Armaly Brands                       $            -     MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
224   Armor Concepts LLC                  $            -     MSC Program Agreement(s)
                                                             Conversion Agreement(s)
225   Armored Auto Group Sales Inc        $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
226   Armstrong World Industries          $            -     MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
227   Arnold                              $            -     MSC Program Agreement(s)
                                                             Vendor Buying Agreement
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
228   Arrow Fastener Co LLC               $            -     Retail Marketing Fund Agreement(s)
                                                             MSC Program Agreement(s)
229   Arrow Home Products Co              $            -     MSC Program Agreement(s)


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ID                Counterparty Name                                                            Summary of Contracts / Descriptions (2)(3)
                                                         Amount (1)
230   Arrow Shed LLC                                 $            -   MSC Program Agreement(s)
                                                                      MSC Program Agreement(s)
231   Arrowhead Brass & Plumbing                     $            -
                                                                      Conversion Agreement(s)
                                                                      Individual Independent Contractor Agreement (Veronica Micklin - Individual Independent Contractor
232   Art Line Inc                                   $            -   Agreement)
                                                                      MSC Program Agreement(s)
233   Art Supply Enterprises Inc                     $            -   MSC Program Agreement(s)
234   Articulate                                     $            -   Software Agreement (Articulate 360 Teams Plan Renewal 2024)
235   Artificial Turf Supply LLC                     $            -   MSC Program Agreement(s)
236   Artscape Inc                                   $            -   MSC Program Agreement(s)
237   Artu USA Inc                                   $            -   MSC Program Agreement(s)
238   Ascen LLC Dba The Momba Group                  $            -   Professional Services Agreement (Ascen LLC dba The Momba Group)
239   Ashland Specialty Ingredients                  $      57,844.81 Goods Purchase Agreement (Ashland Specialty Ingredients TVM)
                                                                      Reunion Market Special/Retail Assortment Agreement(s)
240   Ashland Water Group                            $            -   Conversion Agreement(s)
                                                                      MSC Program Agreement(s)
241   Aspen                                          $            -   MSC Program Agreement(s)
242   Aspiritech, Nfp                                $            -   Professional Services Agreement (Aspiritech MSA 2022)
243   Asset Panda LLC                                $            -   Software Agreement (Asset Panda - Tracking and Manage Assets 2024)
244   Associated Energy Systems                      $            -   MSC Program Agreement(s)
                                                                      Equipment Repair Agreement (Associated - Maintenance agreement Mankato 2020)
245   Associated Material Handling Industries, Inc   $     447,768.28
246   Asthma & Allergy Foundation                    $            -   Professional Services Agreement (Asthma & Allergy Foundation - Certification Amendment 1)
                                                                      Building Maintenance & Services Agreement (Aston Carter Recruiting Agreement RSC)
247   Aston Carter Inc                               $            -   Retail Marketing Fund Agreement(s)
                                                                      Reunion Market Special/Retail Assortment Agreement(s)
                                                                      Master Services Agreement (AT&T Master Agreement)
248   AT&T Corp.                                     $            -
                                                                      MSC Program Agreement(s)
                                                                      Telecommunications Agreement (Local Telecom Servcies For Kansas City RDC)
249   AT&T Inc.                                      $         665.29
                                                                      Telecommunications Agreement (AT&T PRI for RSC extension - Contract 20130509-3121)
250   Athens Stonecasting Inc                        $            -   MSC Program Agreement(s)
251   Atlanta Special Products Inc                   $            -   MSC Program Agreement(s)
252   Atlantis Valley Foods LLC                      $         500.00 Master Services Agreement (Atlantis Valley Foods Service Agreement 2022)
                                                                      Reunion Market Special/Retail Assortment Agreement(s)
253   Atlas Chemical Corp                            $            -   Conversion Agreement(s)
                                                                      MSC Program Agreement(s)
254   Atlas Homewares                                $            -   MSC Program Agreement(s)
255   Atlas Toyota Material                          $            -   MSC Program Agreement(s)
                                                                      Software Agreement (Atlassian Software Subscription 2024)
256   Atlassian, Inc.                                $            -   Software Agreement (Dogwood Labs, Inc. Atlassian StatusPage Public Business Service Renewal
                                                                      2024)
257   Ats, Inc.                                      $            -   Building Maintenance & Services Agreement (ATS, Inc. Carrier Agreement)
                                                                      Reunion Market Special/Retail Assortment Agreement(s)
258   Att Southern Inc                               $            -   Conversion Agreement(s)
                                                                      MSC Program Agreement(s)
259   Attentive Mobile Inc.                          $            -   Software Agreement (Attentive Mobile Order Form)
                                                                      Marketing Services Agreement (Audio Eye Consulting and Scanning for ADA Compliance)
260   Audioeye, Inc.                                 $            -
                                                                      Master Services Agreement (Audio Eye Inc. Master Terms of Service)
                                                                      Retail Marketing Fund Agreement(s)
                                                                      Conversion Agreement(s)
261   Audiovox                                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                      MSC Program Agreement(s)
262   AudioVox Corporation                           $            -   MSC Program Agreement(s)
263   Aunt Fannie Inc                                $            -   MSC Program Agreement(s)
264   Aunt Jill Earthy Products                      $            -   MSC Program Agreement(s)
265   Austram Inc                                    $            -   MSC Program Agreement(s)
                                                                      MSC Program Agreement(s)
266   Auto Expressions LLC                           $            -
                                                                      Reunion Market Special/Retail Assortment Agreement(s)
                                                                      Master Services Agreement (Automation Anywhere Cloud Automation MASTER Agreement)
                                                                      Order Form (Automation Anywhere BOT SW Support Renewal 2024)
267   Automation Anywhere, Inc                       $            -   Subscription Service Agreement (Automation 360 Pure Cloud - Bot Runner Unattended)
                                                                      Subscription Service Agreement (Automation 360 Pure Cloud - Additional Bot Runner Unattended
                                                                      Licenses)
268   Avani Sales LLC                                $            -    MSC Program Agreement(s)
269   Avanti Products                                $            -    MSC Program Agreement(s)
270   Avenue Innovations Inc                         $            -    MSC Program Agreement(s)
                                                                       Retail Marketing Fund Agreement(s)
271   Avera Home Goods LLC                           $            -    MSC Program Agreement(s)
                                                                       Conversion Agreement(s)
                                                                       MSC Program Agreement(s)
272   Avery Products Corporation                     $            -
                                                                       Reunion Market Special/Retail Assortment Agreement(s)
273   Aviatrix Systems, Inc                          $            -    Software Agreement (Aviatrix LLC NDA)
274   Aviva Insurance Ltd (5%)                       $            -    Insurance Policy (Property - Policy Number(s): PTNAM2412965)
275   Avw/Max Professional                           $            -    Reunion Market Special/Retail Assortment Agreement(s)

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                                                   Est. Cure
ID              Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
                                                                MSC Program Agreement(s)
276   Axiom Products                           $            -
                                                                Conversion Agreement(s)
277   Ayp                                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
278   A-Z Industries Inc                       $            -   MSC Program Agreement(s)
279   Aztec Tents                              $            -   MSC Program Agreement(s)
280   B & B Bedding Inc                        $            -   MSC Program Agreement(s)
281   B & C Mortensen                          $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
282   B & K/Mueller Industries (Import)        $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
283   B Erickson Mfg. Ltd                      $            -   MSC Program Agreement(s)
284   B&G Equipment                            $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
285   B&G Foods Inc                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
286   B. Erickson Manufacturing Ltd            $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
287   B3C Fuel Solutions Inc                   $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
288   B4Adventure                              $            -   MSC Program Agreement(s)
289   Bac Industries Inc                       $            -   MSC Program Agreement(s)
290   Bac Sales Inc                            $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
291   Baccus Global LLC Imp                    $            -
                                                                MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
292   Baccus Global, LLC                       $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
293   Back To The Roots                        $            -   MSC Program Agreement(s)
294   Backyard Nature Products                 $            -   MSC Program Agreement(s)
295   Backyard Xscapes Inc                     $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
296   Bacova Guild                             $            -   Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
297   Bactronix Corp                           $            -   MSC Program Agreement(s)
298   Bailey International LLC                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
299   Bailey Nurseries, Inc.                   $            -   MSC Program Agreement(s)
300   Bainbridge Mfg. Inc                      $            -   MSC Program Agreement(s)
                                                                Software Maintenance Agreement (P.A.M. Transport Inc - Transportation Agreements Contracted
301   Bakerstone International                 $            -   Carrier)
                                                                MSC Program Agreement(s)
302   Ball Horticultural Company               $            -   MSC Program Agreement(s)
303   Ball Packaging, LLC                      $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
304   Barenbrug Usa                            $            -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
305   Bargain Hunt                             $            -   Master Services Agreement (Bargain Hunt Terms of Sale Agreement)
                                                                Professional Services Agreement (Barkat Consulting Master Services Agreement)
306   Barkat Consulting Inc.                   $       3,000.00 Statement of Work (Barkat Consulting SOW 22 - Network Support)
                                                                Statement of Work (Barkat Consulting SOW 22 CO 1 - Network Support)
307   Barnel International                     $            -   MSC Program Agreement(s)
308   Barr Evergreens Of North Carolina L      $            -   MSC Program Agreement(s)
309   Barreto Manufacturing Inc.               $            -   MSC Program Agreement(s)
310   Basalite Concrete Products Inc           $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
311   Basch George Co Inc                      $            -
                                                                MSC Program Agreement(s)
312   Bates Sons & Daughters Inc               $            -   MSC Program Agreement(s)
313   Batten Industries Inc                    $            -   MSC Program Agreement(s)
314   Bay Baby Produce Inc                     $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
315   Bayco Product Inc                        $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
316   BazaarVoice, Inc.                        $            -   Marketing Services Agreement (BazaarVoice Inc. - Service Renewal 2023)
317   Bb Designs USA LLC                       $            -   MSC Program Agreement(s)
318   Bcs International Inc.                   $            -   Conversion Agreement(s)
319   BDO USA, Llp                             $            -   Master Services Agreement (BDO USA, Llp - MSA)
320   Be Empowered International LLC           $            -   MSC Program Agreement(s)
321   Bear Down Brands LLC                     $            -   Conversion Agreement(s)
322   Beaumont Products, Inc.                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                Consulting Agreement (RXO Managed Transport Master Consulting Agreement 2023)
                                                                Master Services Agreement (RXO Managed Transport - Management Services Agreement)
323   Beazley Insurance Company Inc            $            -   Statement of Work (RXO Managed Transport SOW)
                                                                Insurance Policy (Crime - Policy Number(s): V36345230101)
324   Beckett Corp                             $            -   MSC Program Agreement(s)
325   Beckett Corporation                      $            -   MSC Program Agreement(s)

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                                                      Est. Cure
ID               Counterparty Name                                                         Summary of Contracts / Descriptions (2)(3)
                                                      Amount (1)
                                                                  Software Subscription Agreement (Bee Content Design, Inc. - Software Subscription)
326   Bee Content Design, Inc.                    $           -
                                                                  MSC Program Agreement(s)
                                                                  Master Services Agreement (Beecker L.L.C Master Services Agreement)
327   Beecker L.L.C.                              $        990.00 Statement of Work (Beecker LLC SOW 1 Vendor Inquiry Automation)
                                                                  Statement of Work (Beecker SOW 2 Customer Inquiry Automation)
                                                                  Conversion Agreement(s)
328   Behlen Country                              $           -
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
329   Behrens Inc                                 $           -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
330   Beistle Co., The                            $           -   MSC Program Agreement(s)
331   Bekaert Corporation                         $           -   Conversion Agreement(s)
332   Belkin Components                           $           -   MSC Program Agreement(s)
333   Belkin International                        $           -   Reunion Market Special/Retail Assortment Agreement(s)
334   Belkin Intl/Linksys                         $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  MSC Program Agreement(s)
335   Bell Sports Inc                             $           -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
336   Belmont Nursery                             $           -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
337   Belstra Milling Company                     $           -
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
338   Belwith Products LLC                        $           -
                                                                  MSC Program Agreement(s)
339   Bemis Mfg. Co                               $           -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
340   Bemis Mfg. Co.                              $           -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
341   Bench System L.L.C.                         $           -   MSC Program Agreement(s)
342   Benefited LLC                               $        520.00 Master Services Agreement (BenefitED Professional Services Agreement)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
343   Bengal Chemical Inc                         $           -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
344   Bercom Inc                                  $           -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  Insurance Policy (Directors & Officers - Policy Number(s): 47-EMC-325690-02)
      Berkshire Hathaway Specialty Insurance                      Insurance Policy (Directors & Officers - Policy Number(s): 47-EMC-332324-01)
345                                               $           -   Conversion Agreement(s)
      Company
                                                                  MSC Program Agreement(s)
346   Bernecker's Nursery, Inc.                   $           -   MSC Program Agreement(s)
                                                                  Professional Services Agreement (Apps IT Agency & Recruiting Agreement)
347   Berocket                                    $           -
                                                                  Software Agreement (BeRocket Plugins AJAX Products Filter 3)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Retail Marketing Fund Agreement(s)
348   Berry Global                                $           -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Retail Marketing Fund Agreement(s)
349   Berry Plastics Corp                         $           -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
350   Berwick Offray LLC                          $           -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
351   Bessey Tools Inc                            $           -
                                                                  MSC Program Agreement(s)
352   Best Bee Brothers                           $           -   MSC Program Agreement(s)
353   Bethel Farms, Lllp                          $           -   MSC Program Agreement(s)
354   Better Bilt Products Inc                    $           -   MSC Program Agreement(s)
355   BetterCloud, Inc.                           $           -   Software Maintenance Agreement (BetterCloud Master Subscription Agreement)
356   Beyond Paint                                $           -   MSC Program Agreement(s)
357   Bia Cordon Bleu Inc                         $           -   MSC Program Agreement(s)
358   Bic Corporation                             $           -   MSC Program Agreement(s)
359   Big Art Graphics LLC                        $           -   MSC Program Agreement(s)
360   Big Green Egg Inc                           $           -   Vendor Buying Agreement
361   Big John Products Inc                       $           -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
362   Big Rock Sports LLC                         $           -
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
363   Big Time Products LLC                       $           -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
364   Bil-Jax                                     $           -   MSC Program Agreement(s)
365   Bill Napleton National Fleet Sales          $           -   MSC Program Agreement(s)
366   Billy Bob Teeth, Inc                        $           -   MSC Program Agreement(s)
367   Billy Goat Ind. Inc.                        $           -   MSC Program Agreement(s)
368   Binclaw Inc.                                $           -   MSC Program Agreement(s)


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ID                Counterparty Name                                               Summary of Contracts / Descriptions (2)(3)
                                              Amount (1)
                                                           MSC Program Agreement(s)
369   Bio Clean Products                  $           -
                                                           Conversion Agreement(s)
370   Biolite Inc                         $           -    Reunion Market Special/Retail Assortment Agreement(s)
371   Bionic Products Of America          $           -    MSC Program Agreement(s)
372   Bioz Agri Products Inc              $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
373   Bird B Gone Inc                     $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
374   Bird Brain Inc                      $           -    MSC Program Agreement(s)
375   Bird Brain, Inc.                    $           -    MSC Program Agreement(s)
376   Birdola Products                    $           -    MSC Program Agreement(s)
377   Bird-X                              $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
378   Bissell Homecare International      $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           MSC Program Agreement(s)
379   Bissell Rental LLC                  $           -    MSC Program Agreement(s)
380   Bistro Systems LLC                  $           -    MSC Program Agreement(s)
381   Bite Lite LLC                       $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
382   Black & Decker                      $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Vendor Buying Agreement
                                                           Reunion Market Special/Retail Assortment Agreement(s)
383   Black & Decker/Dewalt               $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
384   Black Diamond Charwood              $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
385   Black Gold Compost Co               $           -    MSC Program Agreement(s)
386   Black Rifle Coffee Company          $           -    MSC Program Agreement(s)
                                                           Master Services Agreement (Blackline MSA)
387   Blackline                           $           -
                                                           Software Agreement (Okta Master Subscription Agreement)
388   Blaklader LLC                       $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
389   Blaster Chemical Company            $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           MSC Program Agreement(s)
                                                           Software Maintenance Agreement (P.A.M. Transport Inc - Transportation Agreements Contracted
390   Blitz USA                           $           -    Carrier)
                                                           MSC Program Agreement(s)
391   Blockhouse Barrier Systems          $           -    MSC Program Agreement(s)
                                                           Retail Marketing Fund Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
392   Bloem LLC                           $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
393   Blonder Company, The                $           -    MSC Program Agreement(s)
394   Bloom Pad North America             $           -    MSC Program Agreement(s)
395   Bloomers Edutainment LLC            $           -    MSC Program Agreement(s)
396   Bloomingville Us                    $           -    MSC Program Agreement(s)
397   Blubandoo Inc                       $           -    MSC Program Agreement(s)
398   Blue Lance                          $           -    Software Agreement (Blue Lance LT AUDITOR Software License Agreement Renewal 2024)
                                                           MSC Program Agreement(s)
                                                           Conversion Agreement(s)
399   Blue Magic Inc                      $           -    Retail Marketing Fund Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
400   Blue Mountain Arts Inc              $           -    MSC Program Agreement(s)
                                                           Building Maintenance & Services Agreement (Blue Planet Earth Woodland LED Replacement
401   Blue Planet Earth                   $           -
                                                           Agreement)
402   Blue Q                              $           -    MSC Program Agreement(s)
403   Blue Rhino Corporation              $           -    MSC Program Agreement(s)
404   Blue Rhino Global Sourcing          $           -    Reunion Market Special/Retail Assortment Agreement(s)
405   Blue Rhino Global Sourcing Inc      $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           MSC Program Agreement(s)
406   Blue Ribbon Products Inc            $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
407   Blue Ridge Fish Hatchery Inc        $           -    MSC Program Agreement(s)
408   Blue Sky Clayworks                  $           -    MSC Program Agreement(s)
                                                           Master Services Agreement (Blue Yonder MSA Amendment Maintenance)
                                                           Professional Services Agreement (JDA Software - 2013 SOW)
                                                           SaaS Agreement (Blue Yonder Planogram Space Planning Cloud SaaS Platform Subscription)
409   Blue Yonder, Inc.                   $           -    SaaS Agreement (Blue Yonder Master SAAS AND PROFESSIONAL SERVICES AGREEMENT)
                                                           Software Agreement (JDA Software, Inc Initial Software and Maintenance Schedule)
                                                           Software Agreement (Blue Yonder /JDA Annual Maintenance Renewal 2024)
                                                           Software Agreement (Purchase of E3 System (JDA Software Group, Inc.))
410   Bluebird Turf Products              $           -    MSC Program Agreement(s)
411   Bluelinx Corporation                $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
412   Blues Hog, LLC                      $           -
                                                           Conversion Agreement(s)

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ID              Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
413   Blufixx 3D Systems                       $            -   MSC Program Agreement(s)
414   Blumengarten Greenhouses Inc             $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
415   Blumenthal Brands Integrated             $            -
                                                                Retail Marketing Fund Agreement(s)
416   BMC Software                             $            -   Software Agreement (BMC Trackit Renewal 2023)
                                                                Equipment Lease Agreement (Material Handling Equipment from Associated (CER 2017-50-001))
                                                                Equipment Lease Agreement (MHE equipment (part of CER 2017-50-004))
                                                                Equipment Lease Agreement (Material Handling Equipment (CER 2017-50-001))
417   BMO Harris Equipment Finance             $     352,865.66 Equipment Lease Agreement (Various Material Handling Equipment (Part 2 of CER 2018-50-004))
                                                                Lease Agreement (Equipment Lease)
                                                                Lease Agreement (Trailer Equipment Lease)
418   Bmp America Inc                          $            -   MSC Program Agreement(s)
419   Bnc Logistics & Services LLC             $            -   MSC Program Agreement(s)
420   Bobbi Panter Pet Products                $            -   Reunion Market Special/Retail Assortment Agreement(s)
421   Bobcat Company                           $            -   MSC Program Agreement(s)
422   Bodum, Inc.                              $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
423   Bojobo LLC                               $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
424   Bolster America Inc                      $            -   MSC Program Agreement(s)
425   Bon Tool Co                              $            -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
426   Bona Kemi USA Inc                        $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
                                                                MSC Program Agreement(s)
427   Bond Manufacturing Co                    $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
428   Bond Manufacturing Company               $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
429   Bondhus Corporation                      $            -   MSC Program Agreement(s)
430   Boneco North America Corp                $            -   MSC Program Agreement(s)
431   Bonfire Production Corp                  $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
432   Bonide Products Inc                      $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
433   Bonnie Plants Inc                        $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
434   Bootz Industries                         $            -
                                                                Conversion Agreement(s)
                                                                MSC Program Agreement(s)
435   Border Concepts                          $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
436   Bosch Automotive Service Solutions       $            -   MSC Program Agreement(s)
437   Bosch Thermotechnology Corporation       $            -   MSC Program Agreement(s)
438   Bosmere Inc.                             $            -   MSC Program Agreement(s)
439   Bosque Products LLC                      $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
440   Boss Mfg Company                         $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
441   Boss Pet Products                        $            -   MSC Program Agreement(s)
442   Botanical Interests, Inc.                $            -   MSC Program Agreement(s)
443   Botany Lane Greenhouse                   $            -   MSC Program Agreement(s)
444   Bougainvillea Growers International      $            -   MSC Program Agreement(s)
445   Boulder Innovations                      $            -   MSC Program Agreement(s)
446   Bovens Quality Plants Inc                $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
447   Bp Lubricants USA Inc                    $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
448   Bradley Smoker USA Inc                   $            -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
449   Bradshaw International                   $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
450   Brainchild Inc                           $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
451   Brainerd Mfg. Co/Liberty Hdw.            $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
452   Brand Buzz Consumer Products LLC         $            -   MSC Program Agreement(s)
453   Brand Node Inc                           $            -   MSC Program Agreement(s)
454   Brandify                                 $            -   Professional Services Agreement (Brandify Master Services Agreement Amendment 1)
455   Brantley Nurseries                       $            -   MSC Program Agreement(s)
456   Brass Baron                              $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
457   Brass Craft                              $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
458   Brass Craft Service Parts                $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
459   Braun Horticulture, Inc.                 $            -   MSC Program Agreement(s)
460   Brave Products Inc.                      $            -   MSC Program Agreement(s)

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ID                Counterparty Name                                                        Summary of Contracts / Descriptions (2)(3)
                                                      Amount (1)
                                                                   Master Services Agreement (Breakthrough Master Agreement)
461   Breakthroughfuel LLC                        $      44,771.72
                                                                   Statement of Work (Breakthrough SOW Fuel Recovery Program)
462   Brewster Home Fashions                      $            -   MSC Program Agreement(s)
463   Brickenmore                                 $            -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
464   Bridgford Marketing Company                 $            -
                                                                   Conversion Agreement(s)
465   Bridon Cordage LLC                          $            -   MSC Program Agreement(s)
466   Briggs & Stratton Power Prod                $            -   MSC Program Agreement(s)
467   Bright Green Usa                            $            -   MSC Program Agreement(s)
468   Bright Venture Inc                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
469   Brightstar Us Inc                           $            -   MSC Program Agreement(s)
470   Brightz Ltd                                 $            -   MSC Program Agreement(s)
471   Brilliant Technology                        $            -   HR Services Agreement (Brilliant Partners - Agency and Recruiting Agreement 2020)
472   Brilong                                     $            -   MSC Program Agreement(s)
473   Brinkmann Corporation                       $            -   MSC Program Agreement(s)
474   Brinly Hardy Company                        $            -   MSC Program Agreement(s)
475   Brinsea Products Inc                        $            -   MSC Program Agreement(s)
                                                                   Master Services Agreement (Briotix Health MSA)
                                                                   Statement of Work (Briotix Ergo-Plus Software + Support Wilkes Barre 2024)
476   Briotix Health                              $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
477   Briskheat Corporation                       $            -   MSC Program Agreement(s)
478   Brit Syndicates (London)                    $            -   Insurance Policy (Umbrella Liability - Policy Number(s): XS1125724)
479   Brite Star Manufacturing                    $            -   MSC Program Agreement(s)
480   Brite Star Manufacturing Co                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Master Services Agreement (Broadcom / CA Master Licensing Agreement)
481   Broadcom         Ca, Inc.                   $            -   Software Agreement (Broadcom - Universal Job Mgmt & Automic One Software Subscription
                                                                   Renewal 2024)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
482   Broan-Nutone LLC                            $            -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
483   Brome Bird Care Inc                         $            -   MSC Program Agreement(s)
484   Brooke And Dylan LLC                        $            -   MSC Program Agreement(s)
485   Brownie Brittle LLC                         $            -   Conversion Agreement(s)
486   Browns Omaha Plant Farms Inc                $            -   MSC Program Agreement(s)
487   BrowserStack, Inc                           $            -   Software Agreement (BrowserStack Renewal Automate Mobile Renewal 3 Year)
488   Bruder Toys America Inc                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
489   Brunner & Lay, Inc.                         $            -   MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
490   Bryson Industries Inc                       $            -   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
491   BT&F LLC                                    $            -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
492   Bti Tools                                   $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
493   Btm Equipment Inc                           $            -   MSC Program Agreement(s)
494   Buchheit Enterprises Inc                    $            -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
495   Buck Bomb                                   $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
496   Bucked Up                                   $            -   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
497   Buddeez Inc                                 $            -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
498   Buddy Prod                                  $            -   MSC Program Agreement(s)
499   Budge Industries LLC                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
500   Buds & Blooms Nursery                       $            -   MSC Program Agreement(s)
501   Buffalo Batt & Felt                         $            -   MSC Program Agreement(s)
502   Bugg Products LLC                           $            -   MSC Program Agreement(s)
503   Builders Edge Inc                           $            -   MSC Program Agreement(s)
504   Buildingfixer Inc                           $            -   MSC Program Agreement(s)
505   Bullseye Enterprises                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
506   Bully Tools                                 $            -
                                                                   MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
507   Bunn-O-Matic                                $            -
                                                                   MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (Buntjer's Cleaning Janitorial Services
508   Buntjer's Cleaning Service                  $      15,749.76
                                                                   Amendment Mankato 2024)
509   Burcam Pumps Inc                            $            -   MSC Program Agreement(s)
510   Bureau of Internet Accessibility, Inc.      $            -   Marketing Services Agreement (Bureau of Internet Accessibility - SOW3)
511   Burley Clay Products                        $            -   MSC Program Agreement(s)
512   Burpee Garden Products                      $            -   MSC Program Agreement(s)
513   Burr Distribution LLC                       $            -   MSC Program Agreement(s)
514   Burro Creative Solutions LLC                $            -   MSC Program Agreement(s)
515   Burton & Burton                             $            -   MSC Program Agreement(s)
516   Burwell Industries Inc                      $            -   MSC Program Agreement(s)

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ID                Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                  Amount (1)
                                                               Hardware Agreement (Business IT Source AudioCodes MediaPack Series Support and Maintenance
                                                               - RSC)
                                                               Hardware Agreement (Business IT Source AudioCodes MediaPack Series Support and Maintenance
                                                               -RSC)
                                                               Hardware Agreement (Business IT Source AudioCodes MediaPack Series Support and
                                                               Maintenance)
                                                               Hardware Agreement (Business IT Source AudioCodes MediaPack Series Support and Maintenance
517   Business IT Source (Bits)               $           -    Springfield)
                                                               Hardware Agreement (Business IT Source AudioCodes MediaPack Series Support and Maintenance
                                                               RSC)
                                                               Hardware Agreement (Business IT Source - Cisco Catalyst C1000 Ethernet Switches - Corsicana)
                                                               Hardware Agreement (Business IT Source - Cisco Catalyst C1000 Ethernet Switches - Springfield)
                                                               Hardware Agreement (Business IT Source - Cisco Catalyst C1000 Ethernet Switches - Harvard)



518   businessolver.com, Inc.                 $      21,833.17 HR Services Agreement (Businessolver - Service Agreement)
                                                               MSC Program Agreement(s)
519   Butler Home Products LLC                $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
520   Buyers Direct Inc                       $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
521   Buzzy Inc                               $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
522   BW Creative Wood Ind Intl               $            -   MSC Program Agreement(s)
523   Bway Corporation                        $     392,241.22 Goods Purchase Agreement (BWAY Corporation Supply Agreement TVM Cary 2024)
524   Bwf Enterprises Inc                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
525   Bwt Inc                                 $            -
                                                               MSC Program Agreement(s)
526   Bye Bye Fruit Fly                       $            -   MSC Program Agreement(s)
527   Bylands Nurseries Ltd                   $            -   MSC Program Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
528   C & S Products Co Inc                   $            -
                                                               MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
529   C D Ford & Sons Inc                     $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
530   C F Enterprises LLC                     $            -   MSC Program Agreement(s)
531   C R Plastic Products Inc                $            -   MSC Program Agreement(s)
532   C.W. Lint Company                       $            -   MSC Program Agreement(s)
533   Ca Aquisition LLC                       $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
534   Cabot/Valspar Corp                      $            -
                                                               Conversion Agreement(s)
535   Caddyshack Golf Co Inc                  $            -   MSC Program Agreement(s)
536   Cadet Manufacturing Co                  $            -   MSC Program Agreement(s)
537   Caffco International                    $            -   MSC Program Agreement(s)
538   Cal Color Growers LLC                   $            -   MSC Program Agreement(s)
539   Calculated Industries Inc               $            -   MSC Program Agreement(s)
540   Cali Bamboo LLC                         $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
541   Calico Brands                           $            -   Conversion Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
542   Calico Cottage Inc                      $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
543   Calidad Total En Ceramica Sapidecv      $            -
                                                               MSC Program Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
544   California Air Tools                    $            -
                                                               MSC Program Agreement(s)
545   California Hot Wood Inc                 $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
546   California Scents                       $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
547   Cal-Term Products Inc                   $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
548   Calumet Branded Products, LLC           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
                                                               Conversion Agreement(s)
549   Cal-Van Tools                           $            -
                                                               MSC Program Agreement(s)
550   Cam Too Camellia Nursery Inc            $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
551   Camco Mfg                               $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
552   Camp Chef                               $            -   MSC Program Agreement(s)
553   Campania International Inc.             $            -   MSC Program Agreement(s)
554   Campbell Hausfeld                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
555   Campus Products Inc                     $            -   MSC Program Agreement(s)
556   Canaima Outdoors Inc                    $            -   MSC Program Agreement(s)
557   Can-Am Pepper Company Limited           $            -   MSC Program Agreement(s)
558   Candle Lamp Co                          $            -   MSC Program Agreement(s)



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                                                    Est. Cure
ID              Counterparty Name                                                          Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
559   Candle Lite                               $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   Conversion Agreement(s)
560   Candle Warmers Etc                        $            -
                                                                   MSC Program Agreement(s)
561   Canine Hardware Inc                       $            -     MSC Program Agreement(s)
562   Canterbury Enterprises                    $            -     MSC Program Agreement(s)
563   Cantex Industries                         $            -     MSC Program Agreement(s)
564   Canva Us, Inc.                            $            -     Software Agreement (Canva USA, Inc. - Marketing)
565   Cape Cod Polish Co., Inc.                 $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Professional Services Agreement (CapGemini Master Service Agreement)
566   Capgemini America, Inc.                   $            -
                                                                   Master Services Agreement (SECO Cross Dock Service Agreement with 2 SOWs)
567   Capitol Earth Rugs                        $            -     MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
568   Car Freshner Corp                         $            -
                                                                   Conversion Agreement(s)
569   Caravan International                     $            -     MSC Program Agreement(s)
                                                                   HR Services Agreement (Career Builder MSA - Human Resources)
570   CareerBuilder, LLC                        $            -
                                                                   HR Services Agreement (CareerBuilder Order form Renewal for HR 2024-2026)
571   Caren Products LLC                        $            -     MSC Program Agreement(s)
572   Cargill Inc                               $            -     MSC Program Agreement(s)
573   Cargo Solution Express Inc.               $            -     Software Maintenance Agreement (Cargo Solution Express Inc. Carrier Agreement)
574   Carhartt Inc                              $            -     Vendor Buying Agreement
575   Carlisle Carrier Corp                     $            -     Software Maintenance Agreement (Carlisle Carrier Corp Carrier Agreement)
576   Carlisle Enterprises Inc                  $            -     Professional Services Agreement (Provide maintenance and repairs for 104 HP Printers at RSC.)
577   Carlisle Foodservice Product              $            -     MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (Jonesboro Fleet Service Maintenance
578   Carolina Handling                         $     270,055.59
                                                                   Agreement)
579   Carolina North Mfg Inc                    $            -     MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (Carroll Fulmer Logistics Carrier Agreement)
580   Carroll Fulmer Logistics Corporation      $     147,100.00
                                                                   Building Maintenance & Services Agreement (Carroll Fulmer Logistics Carrier Amendment 2025)
581   Carry-On Trailer, Inc.                    $            -     MSC Program Agreement(s)
582   Carson                                    $      93,874.98   Transportation Services Agreement (Carson Bulk Fuel Renewal 2024)
583   Carter Hoffmann LLC                       $            -     MSC Program Agreement(s)
584   Cat Footwear                              $            -     Reunion Market Special/Retail Assortment Agreement(s)
585   Caulk Savers/Pm Molding/Saver Prod        $            -     MSC Program Agreement(s)
                                                                   Software Agreement (MSA for License, Support & Maintenance for POS credit card system for retail
586   Cayan                                     $            -
                                                                   stores)
                                                                   Professional Services Agreement (CFV-CDI-CBIG Extension 2 - CDW Interfaces.Extension)
587   Cbig Recruiting & Staffing                $            -
                                                                   MSC Program Agreement(s)
588   Cbk Global Enterprises Inc                $            -     Reunion Market Special/Retail Assortment Agreement(s)
589   CBS Translation                           $            -     Professional Services Agreement (CBS Translation NDA)
                                                                   Building Maintenance & Services Agreement (AT&T Dedicated Internet - CARY)
590   CC3 Solutions C/O AT&T                    $            -     Professional Services Agreement (Kelly-Moore Toll Manufacturing)
                                                                   Professional Services Agreement (Shopify Master Agreement for Cary Paint Store)
                                                                   Master Services Agreement (AT&T Master Agreement)
591   CCSI International Inc                    $            -
                                                                   MSC Program Agreement(s)
                                                                   Master Services Agreement (CDW MSPSA Amendment)
592   Cdw Direct LLC                            $       2,329.30   Hardware Agreement (CDW - Harvard+Central Ship Ceiling Switch Replacement)
                                                                   Software Agreement (CDW Camtasia Snagit Bundle License and Maintenance 2023)
593   Center Greenhouse Inc                     $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
594   Central Garden & Pet Co                   $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
595   Central Garden Brands                     $            -     Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
596   Central Life Science                      $            -
                                                                   MSC Program Agreement(s)
597   Central Power Distributors                $            -     MSC Program Agreement(s)
598   Centurion Inc                             $            -     MSC Program Agreement(s)
                                                                   Transportation Services Agreement (Century Distribution Systems - Master Logistics
599   Century Distribution Systems, Inc.        $      43,948.26   Agreement
                                                                   + Rate Card 2024-2028)
                                                                   MSC Program Agreement(s)
600   Century Drill & Tool Co Inc               $            -
                                                                   Conversion Agreement(s)
601   Century Group Inc                         $            -     MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
602   Century Spring Corp                       $            -
                                                                   MSC Program Agreement(s)
603   Century Wire & Cable                      $            -     Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
604   Ceramo Company Inc                        $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
605   Cerro Flow Products LLC                   $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Conversion Agreement(s)

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                                                  Est. Cure
ID                 Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                  Amount (1)
606   Certainteed                             $            -   MSC Program Agreement(s)
607   Certainteed Gypsum                      $            -   MSC Program Agreement(s)
                                                               Building Maintenance & Services Agreement (CertaPro Painters Pedestrian Walk Manchester 2023)
608   Certapro Painters                       $            -
609   Certified Rose Growers                  $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
610   Certol International LLC                $            -
                                                               MSC Program Agreement(s)
611   Cestusline Inc                          $            -   MSC Program Agreement(s)
                                                               Consulting Agreement (CFO Solutions MSA)
612   CFO Solutions LLC.                      $            -
                                                               Professional Services Agreement (CFO Solutions CO 3 Oracle Connection to Host)
613   Chaby International Inc                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
614   Chain Store Guide                       $            -   Statement of Work (Chain Store Guide 2024)
                                                               Professional Services Agreement (Challenger, Gray & Christmas Consulting Services
615   Challenger, Gray & Christmas, Inc.      $      60,000.00
                                                               Agreement)
                                                               MSC Program Agreement(s)
616   Chamberlain Corp                        $            -   Retail Marketing Fund Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
617   Champion Cooler                         $            -   MSC Program Agreement(s)
618   Champion Packaging & Distribution       $            -   MSC Program Agreement(s)
619   Champion-A Gardner Denver Co            $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
620   Chaney Instrument Co                    $            -
                                                               MSC Program Agreement(s)
621   Changzhou Pengsheng Yida Tools Co.      $            -   MSC Program Agreement(s)
622   Channel Master                          $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
623   Channellock Inc                         $            -
                                                               MSC Program Agreement(s)
624   Chant Kitchen Equipment Ltd             $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
625   Chapin R E Mfg Works                    $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
626   Char-Broil                              $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
627   Char-Broil/New Braunfels                $            -
                                                               MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
628   Charlotte Pipe & Foundry Co.            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Conversion Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
629   Chase Products Co                       $            -
                                                               MSC Program Agreement(s)
630   Chateau Bodywear USA Inc                $            -   MSC Program Agreement(s)
631   Checkerboard Ltd                        $            -   MSC Program Agreement(s)
632   Cherryhill Mfg Corp                     $            -   MSC Program Agreement(s)
633   Chesapeake Bay Candle                   $            -   MSC Program Agreement(s)
634   Chevron Na/Skil                         $            -   MSC Program Agreement(s)
635   Chicago Die Casting                     $            -   MSC Program Agreement(s)
636   Chicago Hardware & Fixture              $            -   MSC Program Agreement(s)
637   Chicago Hdwe & Fixture Co               $            -   MSC Program Agreement(s)
638   Chicago Heights Steel                   $            -   MSC Program Agreement(s)
639   Chicago Pneumatic                       $            -   MSC Program Agreement(s)
640   Chicago Wicker & Trading Co             $            -   MSC Program Agreement(s)
                                                               Professional Services Agreement (Independent Contractor Agreement Addendum 1 HRIS - Jill
                                                               Clarke)
641   Chicken Poop                            $            -   Conversion Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
642   Chillin' Products, Inc.                 $            -   MSC Program Agreement(s)
643   Choice Party Linens Inc                 $            -   MSC Program Agreement(s)
644   Christian Brands Inc                    $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
645   Christmas By Krebs                      $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
646   Christmas House Taiwan Co Ltd           $            -   Reunion Market Special/Retail Assortment Agreement(s)
647   Chums Ltd.                              $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
648   Church & Dwight                         $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
649   Ciao Imports                            $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
650   Cinco Plastics Inc                      $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               MSC Program Agreement(s)
651   Cinsa Usa                               $            -
                                                               Conversion Agreement(s)



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                                                  Est. Cure
ID               Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                  Amount (1)
                                                               Building Maintenance & Services Agreement (Cintas National Agreement)
652   Cintas                                  $      21,176.80
                                                               Building Maintenance & Services Agreement (Cintas Local Agreement Kingman 2022)
                                                               Lease Agreement (IT Equipment Lease)
653   Cisco Systems Capital Corporation       $      54,382.85 Equipment Lease Agreement (Cisco Systems Capital Lease for RDC Equipment 2023-2026)
                                                               Hardware Agreement (Cisco Systems Capital Lease for Ceiling Switches - Kingman)
                                                               Master Services Agreement (Cisco Enterprise Agreement - Switching)
                                                               Master Services Agreement (Cisco Enterprise Agreement - Switching Amendment 1)
654   Cisco Systems, Inc.                     $            -   Professional Services Agreement (Cisco EUIFEA 20210727)
                                                               Professional Services Agreement (Cisco Business Downturn Letter 2021.07.23 WebEx Calling
                                                               Initiative)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
655   CIT                                     $            -     Retail Marketing Fund Agreement(s)
                                                                 Conversion Agreement(s)
                                                                 Lease Agreement (Equipment Lease)
656   CIT Bank                                $            -
657   Citgo Petroleum Corporation             $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               MSC Program Agreement(s)
658   Citi Talent Ltd                         $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Lease Agreement (Equipment Lease)
                                                               Equipment Lease Agreement (Paint Equipment from CERs 2016-22 and 2016-33)
659   Citizens Asset Finance, Inc.            $      48,800.41 Equipment Lease Agreement (Aerosol Tippers and Conveyor: Paint CER 2017-44)
                                                               Equipment Lease Agreement (Racking and Labeling Machine: CER #2016-12-001)
                                                               Lease Agreement (Trailer Equipment Lease)
                                                               MSC Program Agreement(s)
660   Citra Solv LLC                          $            -
                                                               Conversion Agreement(s)
661   City Of Chicago Dept. Of Finance        $            -   Master Services Agreement (Chicago Department of Finance Tax Certificate)
662   Claber, Inc.                            $            -   MSC Program Agreement(s)
663   Clam Corporation                        $            -   MSC Program Agreement(s)
                                                               Consulting Agreement (a data warehouse consultancy with expertise in Teradata)
                                                               Professional Services Agreement (Vertex Indirect Tax - Public Cloud Tax Accelerator - 2024)
664   Clarity Solution Group                  $            -   Professional Services Agreement (Vertex Indirect Tax - Public Cloud Calculation Solution 2024)
                                                               Professional Services Agreement (Vertex, Inc. Professional Service Agreement)
665   Clark Security Products                 $            -   MSC Program Agreement(s)
666   Clarke                                  $            -   MSC Program Agreement(s)
667   Classic Accessories                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
668   Classic Baluster LLC                    $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
669   Classic Brands LLC                      $            -   Retail Marketing Fund Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
670   Classic Home & Garden                   $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
671   Clean Control Corporation               $            -
                                                               MSC Program Agreement(s)
                                                               Building Maintenance & Services Agreement (Clean Earth Haz Waste Amendment 3)
672   Clean Earth Environmental Services      $      36,447.10
                                                               Software Maintenance Agreement (Clean Earth Environmental Services - Addendum 2020)
                                                               Conversion Agreement(s)
673   Clean Tools Inc                         $            -
                                                               MSC Program Agreement(s)
674   Clean Water Services                    $            -   MSC Program Agreement(s)
                                                               Building Maintenance & Services Agreement (Clearwater Natural Gas Agreement 2024 - Kansas
675   Clearwater Enterprises                  $            -
                                                               City)
676   Cleo Wrap                               $            -   MSC Program Agreement(s)
677   Cleva Hong Kong                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
678   Cleva Hong Kong Limited                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
679   Cleva International Trading Ltd         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
680   Cleva Int'L Trading Ltd                 $            -
                                                               Conversion Agreement(s)
                                                               Software Maintenance Agreement (Salesforce - Mulesoft Real Time Integration Software Renewal
                                                               2022)
681   Cleva North America Inc                 $            -   Software Maintenance Agreement (Salesforce - Mulesoft Subscription extension to support OMS
                                                               Integration)
                                                               MSC Program Agreement(s)
682   Cleva North America, Inc.               $            -     Conversion Agreement(s)
683   Cleveland Tubing Inc                    $            -     MSC Program Agreement(s)
                                                                 Software Agreement (Cleverbridge Inc. - Parallels Toolbox for Mac 2024)
684   Cleverbridge, Inc.                      $            -
                                                                 Software Agreement (Cleverbridge UltraEdit Subscription Renewal 2024)
                                                                 Conversion Agreement(s)
685   Clevermade LLC                          $            -
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
686   Clorox Company, The                     $            -     Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
687   Clorox Sales Co Brita                   $            -
                                                                 MSC Program Agreement(s)



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                                                       Est. Cure
ID              Counterparty Name                                                           Summary of Contracts / Descriptions (2)(3)
                                                       Amount (1)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
688   Closetmaid                                   $            -
                                                                    MSC Program Agreement(s)
689   Clover Electronics                           $            -   MSC Program Agreement(s)
690   Cm National Inc                              $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                    MSC Program Agreement(s)
691   Cmd Products Inc                             $            -
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
692   Cmi Incorporated                             $            -   MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
693   Cmt Usa                                      $            -
                                                                    Conversion Agreement(s)
694   Cnh Construction                             $            -   MSC Program Agreement(s)
695   Coach's Cedar Creek Farm                     $            -   MSC Program Agreement(s)
696   Coast Cutlery                                $            -   MSC Program Agreement(s)
697   Coast Of Maine Inc                           $            -   MSC Program Agreement(s)
698   Coast Tape Co.                               $            -   MSC Program Agreement(s)
699   Coastal Nursery                              $            -   MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
700   Coastal Pet Products, Inc.                   $            -
                                                                    MSC Program Agreement(s)
                                                                    Building Maintenance & Services Agreement (Clean Team Janitorial Services for Cleveland Ohio
701   Coatings Research Group, Inc.                $            -   2022)
                                                                    R&D Services Agreement (CRGI License for Certification Seal)
702   Cobra Anchors Co Ltd                         $            -   MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
703   Cobra Products Co                            $            -
                                                                    MSC Program Agreement(s)
704   Cobraco Mfg. Inc                             $            -   MSC Program Agreement(s)
705   Cocam Intl Enterprises                       $            -   MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
706   Coco Products LLC                            $            -
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
707   Coda Resources Ltd                           $            -   MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
708   Coda Resources Ltd Imp                       $            -
                                                                    Conversion Agreement(s)
                                                                    Professional Services Agreement (Codal Inc. Master Service Agreement)
709   Codal, Inc.                                  $            -
                                                                    Software Agreement (Tabular Editor ApS Software Subscription 2024)
                                                                    Conversion Agreement(s)
710   Cofair Products Inc                          $            -
                                                                    MSC Program Agreement(s)
711   Cogensia - 110 West Hillcrest Boulevard      $            -   Consulting Agreement (SAS Programing to Support the CFV program)
                                                                    MSC Program Agreement(s)
712   Coghlans Ltd                                 $            -
                                                                    Conversion Agreement(s)
713   Coilhose Pneumatics                          $            -   MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
714   Coleman Co-Fuel                              $            -
                                                                    MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
715   Coleman Company                              $            -   MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
716   Coleman Company Inc                          $            -   MSC Program Agreement(s)
                                                                    Goods Purchase Agreement (EH Mechanical - TVM Toll Filling Agreement)
717   Coleman Powermate Inc                        $            -
                                                                    MSC Program Agreement(s)
718   Coles Wild Bird Products Inc                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
719   Colgate Palmolive Co                         $            -   Retail Marketing Fund Agreement(s)
                                                                    MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
720   Collier Mfg. LLC                             $            -   Conversion Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
721   Color Putty                                  $            -
                                                                    MSC Program Agreement(s)
722   Columbia Casualty Company (Cna) (6%)         $            -   Insurance Policy (Property - Policy Number(s): 7034966488)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
723   Columbian Home Products                      $            -
                                                                    MSC Program Agreement(s)
724   Comarch Inc                                  $            -   Software Agreement (Software License Agreement)
                                                                    Professional Services Agreement (Comcast Service Order (SOA) Circuit Upgrade - Cary)
                                                                    Professional Services Agreement (COMCAST for the SD-WAN circuit for the Shur-Line Freeport
725   Comcast Business- Enterprise Sales           $      14,216.40 location.)
                                                                    Professional Services Agreement (Comcast Service Order (SOA) Circuit Upgrade - Springfield)
                                                                    Professional Services Agreement (Comcast Service Order (SOA) Circuit Upgrade - Cleveland)
726   Comdata Network Inc.                         $      43,020.97 Transportation Services Agreement (Comdata Transportation Services Agreement)
      Commerce & Industry Insurance Company                         Insurance Policy (Umbrella Liability - Policy Number(s): 38178911)
727                                                $            -
      (Aig)
728   Commercial Christmas Hardware                $            -   Reunion Market Special/Retail Assortment Agreement(s)
729   Commodore Mfg.                               $            -   MSC Program Agreement(s)
730   Commonwealth Wood Preservers                 $            -   MSC Program Agreement(s)
                                                                    Professional Services Agreement (Communique Conferencing Inc. Master Service and SaaS
731   Communique Conferencing, Inc.                $            -
                                                                    Agreement)
732   Community Coffee LLC                         $            -   MSC Program Agreement(s)


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                                                   Est. Cure
ID                Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
                                                                  Building Maintenance & Services Agreement (Compactor Rentals of America Rental Agreement
                                                                  Harvard 2022)
733   Compactor Rentals Of America, LLC        $            -     Goods Purchase Agreement (Compactor Rentals of America Rental Agreement Cary 2022)
                                                                  Contract Manufacturing Agreement (Missouri Turf Toll Manufacturing)
734   Compass Health Brands                    $            -     MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
735   Compass Minerals                         $            -     MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
736   Conair Corp Pers Care                    $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
737   Conair Corp Pollenex                     $            -     MSC Program Agreement(s)
738   Conbraco Industries Inc.                 $            -     MSC Program Agreement(s)
                                                                  Building Maintenance & Services Agreement (Concord Building Services - Manchester Selective
739   Concord Building Services                $            -
                                                                  Demolition 2021)
740   Concord USA LLC (Evolytics)              $      52,450.00   Marketing Services Agreement (Evolytics Analytics Support Retainer SOW 2024)
741   Concur Technologies, Inc.                $            -     SaaS Agreement (SAP Concur Services Renewal 2024)
                                                                  Professional Services Agreement (Conductor MSA and other Security documents)
742   Conductor                                $            -
                                                                  Professional Services Agreement (Conductor Subscription Renewal)
                                                                  Equipment Lease Agreement (Equipment for TSL @320 S. Division St (Harvard))
743   Confluence Energy LLC                    $            -     Equipment Lease Agreement (MB Equipment Finance LLC - Master Lease Agreement 2017)
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
744   Connecticut Elec/View-Pak                $            -
                                                                  MSC Program Agreement(s)
745   Connecticut Trade Company Inc            $            -     MSC Program Agreement(s)
746   Conrad Fafard Inc                        $            -     MSC Program Agreement(s)
747   Conservco Water Conservation             $            -     MSC Program Agreement(s)
                                                                  Professional Services Agreement (Consolidated Communications Circuit Upgrade - Mankato)
748   Consolidated Communications              $        115.65
                                                                  Professional Services Agreement (Consolidated Communications Circuit Upgrade - RSC)
749   Construction Metals Inc                  $            -     MSC Program Agreement(s)
750   Contech Enterprises Inc                  $            -     MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
751   Contico Mfg. Co                          $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Amendment (Quest Diagnostics Health and Wellness Amendment)
752   Continental Casualty Company             $            -
                                                                  Insurance Policy (Excess Fiduciary - Policy Number(s): 768754640)
753   Continental Commercial Prod              $            -     MSC Program Agreement(s)
754   Continental Concession Supplies Inc      $            -     MSC Program Agreement(s)
755   Continental Studios Inc                  $            -     MSC Program Agreement(s)
                                                                  Master Services Agreement (Briotix Health MSA)
                                                                  Statement of Work (Briotix Ergo-Plus Software + Support Wilkes Barre 2024)
756   Convenience Prod Inc                     $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
757   Cool Smoke LLC                           $            -
                                                                  Conversion Agreement(s)
                                                                  Conversion Agreement(s)
758   Cooper Bussmann                          $            -     MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Retail Marketing Fund Agreement(s)
                                                                  MSC Program Agreement(s)
759   Cooper Lighting                          $            -     Conversion Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
760   Cooper Wiring Devices Inc                $            -     MSC Program Agreement(s)
761   Corbitt Manufacturing                    $            -     MSC Program Agreement(s)
                                                                  Professional Services Agreement (Corcentric (Vendorin) Electronic Payment Enablement
762   Corcentric, LLC.                         $      59,500.00   Agreement)
                                                                  Statement of Work (Corcentric (Vendorin) Virtual Card SOW)
                                                                  Conversion Agreement(s)
763   Core Home                                $            -
                                                                  MSC Program Agreement(s)
764   Corelle Brands                           $            -     MSC Program Agreement(s)
                                                                  Order Form (Cornerstone SOW - SSO + Edge Implementation)
765   Cornerstone OnDemand, Inc.               $            -
                                                                  Professional Services Agreement (CornerStone OnDemand Renewal 2023)
766   Cornhusker Kitchen                       $            -     MSC Program Agreement(s)
767   Corob North America Inc                  $            -     MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
768   Corona Clipper                           $            -
                                                                  MSC Program Agreement(s)
                                                                  Software Agreement (Corra Technology - Total Care TV.Com Magento 2.4.5 Upgrade Scope)
769   Corra Technology Inc.                    $            -
                                                                  Software Maintenance Agreement (Corra Technology - Master Agreement)
                                                                  Conversion Agreement(s)
770   Corrosion Technologies Corp              $            -     MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
771   Cortina Safety Products                  $            -     MSC Program Agreement(s)
                                                                  Master Services Agreement (CorVel Enterprise Comp. - Claims Administration and Managed
772   Corvel Enterprise Comp, Inc.,            $      24,594.06
                                                                  Care Services)
773   Cosco Inc                                $            -     MSC Program Agreement(s)


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                                                     Est. Cure
ID              Counterparty Name                                                         Summary of Contracts / Descriptions (2)(3)
                                                     Amount (1)
774   Cottage Gardens Inc., The                  $            -   MSC Program Agreement(s)
775   Country Craft                              $            -   MSC Program Agreement(s)
776   Country Fare LLC                           $            -   MSC Program Agreement(s)
777   Courtyard By Marriott Cleveland Westlake   $            -   Events & Meetings Services Agreement (Courtyard by Marriott Westlake Hotel Agreement 2024)
778   Covanta Environmental Solutions            $            -   Master Services Agreement (Covanta Environmental Solutions MSA 2023)
779   Cowpots LLC                                $            -   MSC Program Agreement(s)
780   Coynes & Company                           $            -   MSC Program Agreement(s)
781   Cp Industries                              $            -   MSC Program Agreement(s)
782   Cpa Pool Products Inc                      $            -   MSC Program Agreement(s)
783   Cq Products                                $            -   MSC Program Agreement(s)
784   Craftware                                  $            -   MSC Program Agreement(s)
785   Craig Electronics Inc                      $            -   MSC Program Agreement(s)
786   Crane Composites Inc                       $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
787   Crane USA Inc                              $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
788   Crawford Products                          $            -
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
789   Crayola LLC                                $            -
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
790   Crc Industries                             $            -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
791   Creative Co Op Inc                         $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  MSC Program Agreement(s)
792   Creative Concepts Usa                      $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
793   Creative Consumer Products Inc             $            -   MSC Program Agreement(s)
794   Creative Converting                        $            -   MSC Program Agreement(s)
795   Creative Financial Staffing                $            -   HR Services Agreement (Creative Financial Staffing Agreement)
                                                                  Master Services Agreement (Creative Group, Inc. - MSA)
796   Creative Group, Inc.                       $       8,640.00 Master Services Agreement (Creative Group, Inc. - Letter of Intent 2023 (LOI))
                                                                  Order Form (Creative Group Renewal Work Order – Momentum Project)
797   Creative Outdoor Distributor               $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
798   Creative Plastic Concepts LLC              $            -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
799   Creative Publishing Intl                   $            -   MSC Program Agreement(s)
800   Creative Solutions LLC                     $            -   MSC Program Agreement(s)
801   Creative Specialties Int'L.                $            -   Conversion Agreement(s)
802   Creedence Holdings LLC/Wcn Group           $            -   MSC Program Agreement(s)
803   Crete Crcr                                 $            -   Software Maintenance Agreement (Crete CRCR Carrier Agreement)
804   Cri Sales                                  $            -   MSC Program Agreement(s)
805   Critter Corn                               $            -   MSC Program Agreement(s)
806   Crocodile Cloth                            $            -   Conversion Agreement(s)
807   Crocs Inc                                  $            -   MSC Program Agreement(s)
808   Croft Metals Inc                           $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
809   Croix Valley Foods                         $            -   Conversion Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
810   Cronkhite Industries                       $            -   MSC Program Agreement(s)
811   Crosley Corporation                        $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
812   Crosman Air Guns                           $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
813   Crossnet LLC                               $            -   Conversion Agreement(s)
814   Crown Matting Technologies                 $            -   MSC Program Agreement(s)
815   Crown Verity Inc                           $            -   MSC Program Agreement(s)
816   Crushproof Tubing                          $            -   MSC Program Agreement(s)
817   Crw3 LLC                                   $            -   MSC Program Agreement(s)
818   Css International Inc.                     $            -   Professional Services Agreement (CSS International MSA & PII Policy)
                                                                  MSC Program Agreement(s)
819   Ctek Power Inc                             $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
820   Ctg Tools Intl Co Ltd                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Conversion Agreement(s)
821   Cuisinart Corp                             $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
822   Culligan Inc                               $            -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
823   Cupecoy Home Fashion Inc                   $            -   MSC Program Agreement(s)
824   Curbside Inc.                              $            -   Software Agreement (Curbside SaaS Master Agreement)
                                                                  MSC Program Agreement(s)
825   Curt Manufacturing, LLC                    $            -
                                                                  Conversion Agreement(s)
826   Curv Group LLC                             $            -   MSC Program Agreement(s)
827   Curv-Rite, Inc.                            $            -   MSC Program Agreement(s)

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ID                Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                  Amount (1)
                                                               Conversion Agreement(s)
828   Custom Accessories                      $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
829   Custom Bldg. Products                   $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
830   Custom Leathercraft                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Master Services Agreement (CX Advanced Solutions LLC - MSA)
831   Cx Advanced Solutions LLC,              $            -   Statement of Work (CX Advanced Solutions SOW 2024-01 WebEx Consulting Services)
                                                               MSC Program Agreement(s)
832   CyberSource Corporation                 $            -   Goods Purchase Agreement (CyberSource Corporation - Agreement 2018 Tokenization Renewal)
833   Cyclo Industries Inc                    $            -   MSC Program Agreement(s)
834   Cyron Inc                               $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
835   D & D Commodities Ltd                   $            -
                                                               MSC Program Agreement(s)
836   D&D Technologies (Usa) Inc              $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
837   D.M. Merchandising Inc                  $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
838   Dac Group                               $            -   Marketing Services Agreement (DAC Group - Master Agreement)
839   Daich Coatings Corporation              $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
840   Daido Corporation                       $            -
                                                               MSC Program Agreement(s)
841   Dairy Association Company Inc           $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
842   Daisy Mfg                               $            -
                                                               MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
843   Dalen Products Co Inc                   $            -
                                                               MSC Program Agreement(s)
844   Dalton Enterprises                      $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
845   Danco Company                           $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
846   Dando Chemicals                         $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
847   Dane Elec                               $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
848   Danish Import Inc                       $            -   MSC Program Agreement(s)
849   Danner Manufacturing                    $            -   MSC Program Agreement(s)
850   Danson Decor Inc                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
851   Dansons Inc                             $            -   MSC Program Agreement(s)
852   Danze Inc                               $            -   MSC Program Agreement(s)
                                                               Vendor Buying Agreement
853   Dap Global Inc                          $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
854   Dap Global Inc. (Touch N Foam)          $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
855   Dap Inc                                 $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Conversion Agreement(s)
856   Dare Products Inc                       $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
857   Darex LLC                               $            -   MSC Program Agreement(s)
858   Dart Container                          $            -   MSC Program Agreement(s)
859   Dart Transportation                     $       3,720.00 Software Maintenance Agreement (DART Carrier Agreement)
                                                               Building Maintenance & Services Agreement (Dart Warehouse Corporation Agreement 2023)
860   Dart Warehouse Corporation              $      55,339.27
861   Das Companies Inc                       $            -   MSC Program Agreement(s)
                                                               Hosting Agreement (Databank zColo - Production Data Center MSA 2021-2026)
862   Databank-Zcolo LLC                      $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
863   Datamars Inc                            $            -
                                                               MSC Program Agreement(s)
864   Dave & Matts Chicken Stuff, LLC         $            -   MSC Program Agreement(s)
865   David's Patio Ltd.                      $            -   MSC Program Agreement(s)
866   Davidson's Inc                          $            -   MSC Program Agreement(s)
                                                               Software Maintenance Agreement (Dayton Freight Lines - Agreements LTL)
867   Dayton Freight Lines Inc.               $            -
                                                               HR Services Agreement (Savings and Compensation Deferral Plan Ammendment 2020)
868   Dbarro Commerce Corporation             $            -   MSC Program Agreement(s)
                                                               Master Services Agreement (DBC Software Consulting, LLC MSA)
869   Dbc Software Consulting, LLC            $            -
                                                               Statement of Work (DBC Software Consulting SOW 1 Shurline Support Services - Cary 2023)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
870   Ddme Inc                                $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
871   Ddp Specialty Electronic Materials      $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
872   De Groot Inc                            $            -   MSC Program Agreement(s)

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ID                Counterparty Name                                               Summary of Contracts / Descriptions (2)(3)
                                              Amount (1)
                                                           MSC Program Agreement(s)
873   Decker Mfg. Company                 $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
874   Decko Bath Products                 $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
875   Deco Art                            $           -    Reunion Market Special/Retail Assortment Agreement(s)
876   Decobusiness Inc                    $           -    MSC Program Agreement(s)
877   Decor International LLC             $           -    MSC Program Agreement(s)
878   Decorative Novelty Co               $           -    MSC Program Agreement(s)
                                                           Professional Services Agreement (Matterport Annual Professional Plus Subscription 2024)
879   Decorative Panels Intl Inc          $           -
                                                           MSC Program Agreement(s)
880   Deer Park Ironworks LLC             $           -    MSC Program Agreement(s)
881   Defa                                $           -    MSC Program Agreement(s)
882   Deflect-O Corporation               $           -    MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
883   Deft/Ppg Architectural Fin          $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           Conversion Agreement(s)
884   Dejnos Inc                          $           -    MSC Program Agreement(s)
885   Dekor Products Iintl                $           -    MSC Program Agreement(s)
886   Delavan Ag Pumps Inc                $           -    MSC Program Agreement(s)
887   Deli Inc                            $           -    MSC Program Agreement(s)
888   Delta Associates                    $           -    HR Services Agreement (Delta Associates - Business Insights Workshop)
                                                           Conversion Agreement(s)
889   Delta Brands, Inc.                  $           -
                                                           MSC Program Agreement(s)
                                                           Conversion Agreement(s)
890   Delta Carbona LP                    $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
891   Delta Faucet Company                $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
892   Delta Marketing Intl                $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
893   Delta Sports Products LLC           $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           Conversion Agreement(s)
894   Deltran USA LLC                     $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
895   Dennis East International           $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
896   Deroma                              $           -
                                                           MSC Program Agreement(s)
                                                           Professional Services Agreement (Descartes Datamyne, Non-Disclosure Agreement)
897   Descartes Datamyne                  $           -    Professional Services Agreement (ProcessWeaver, Inc. Rackspace Master Software Service
                                                           Agreement)
898   Design House                        $           -    Reunion Market Special/Retail Assortment Agreement(s)
899   Design Molding                      $           -    MSC Program Agreement(s)
                                                           Software Maintenance Agreement (Determine Fifth Amendment Subscription Term Renewal 2024)
900   Determine                           $           -
901   Devault Enterprises                 $           -    MSC Program Agreement(s)
902   Devroomen Garden Products           $           -    MSC Program Agreement(s)
903   Dewar Nurseries, Inc.               $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
904   Dewitt Company                      $           -
                                                           MSC Program Agreement(s)
905   Dewitt Company Inc                  $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
906   Dfp Safety Corporation              $           -
                                                           MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
907   Dial Corporation                    $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
908   Dial Industries Inc                 $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
909   Dial Mfg Inc                        $           -
                                                           MSC Program Agreement(s)
910   Diamabrush                          $           -    MSC Program Agreement(s)
911   Diamatic Management Services        $           -    MSC Program Agreement(s)
912   Diamond Farrier Co                  $           -    Conversion Agreement(s)
913   Diamond King Smoker Inc             $           -    MSC Program Agreement(s)
914   Diamond Pet Foods                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
915   Diamond Products                    $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
916   Diamond Visions Inc                 $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
917   Dig Corporation                     $           -
                                                           MSC Program Agreement(s)
918   Diggers Product Development Co      $           -    MSC Program Agreement(s)


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ID               Counterparty Name                                                Summary of Contracts / Descriptions (2)(3)
                                              Amount (1)
                                                           Software Agreement (Digicert Security Cert Renewal for Afaria POS System 2023)
                                                           MSC Program Agreement(s)
919   Digicert, Inc.                      $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           Conversion Agreement(s)
920   Dillion Transportation LLC          $           -    Software Maintenance Agreement (Dillion Transportation LLC Carrier Agreement)
921   Dillon Group                        $           -    MSC Program Agreement(s)
                                                           Software Maintenance Agreement (Dayton Freight Lines - Agreements LTL)
922   Dimeo Schneider & Associates        $           -
                                                           HR Services Agreement (Savings and Compensation Deferral Plan Ammendment 2020)
923   Dimex LLC                           $           -    Conversion Agreement(s)
924   Dimplex North America, Ltd.         $           -    Reunion Market Special/Retail Assortment Agreement(s)
925   Dippin' Dots LLC                    $           -    MSC Program Agreement(s)
926   Dirt Killer Pressure Washers        $           -    MSC Program Agreement(s)
927   Display Advantage Inc               $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Retail Marketing Fund Agreement(s)
928   Disston Company                     $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
929   Ditch Witch                         $           -    MSC Program Agreement(s)
930   Diteq Corp                          $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
931   Diversitech Corporation             $           -
                                                           MSC Program Agreement(s)
                                                           Consulting Agreement (Divihn Consulting and Recruiting Agency AgreementITPR-1245976)
932   Divihn Integration Inc              $           -
                                                           Professional Services Agreement (Atlassian Configuration Consultant)
933   Dixie Diamond Mfg.                  $           -    MSC Program Agreement(s)
934   Dixon Ticonderoga Company           $           -    MSC Program Agreement(s)
935   Dixondale Farms LLC                 $           -    MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
936   Dlf                                 $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
937   Dlk Medical Technologies, Inc.      $           -    MSC Program Agreement(s)
938   D'Marie Inc                         $           -    MSC Program Agreement(s)
939   Dmc Products Inc                    $           -    MSC Program Agreement(s)
940   Dmd Products LLC                    $           -    MSC Program Agreement(s)
941   Dobi & Associates Inc               $           -    MSC Program Agreement(s)
942   Docuprint Forms & Signs Inc         $           -    MSC Program Agreement(s)
                                                           Software Agreement (DocuSign Master Service Agreement)
                                                           Software Agreement (DocuSign - Electronic Signature subscription Renewal (CRM, IT and Bus
943   DocuSign                            $           -    areas).)
                                                           Software Agreement (DocuSign -eSign Business Pro Agreement and Support - Added 5)
                                                           Software Agreement (DocuSign - Electronic Signature Subscription Renewal 2024)
944   Dog Is Good                         $           -    MSC Program Agreement(s)
945   Dog Speak                           $           -    MSC Program Agreement(s)
946   Dojiggy                             $           -    Software Agreement (DOJIGGY Golf Pro Software - Events and Meetings)
947   Dolle Shelving LLC                  $           -    MSC Program Agreement(s)
948   Dolly Pal & Co                      $           -    MSC Program Agreement(s)
949   Dome Companies, The                 $           -    MSC Program Agreement(s)
950   Donald A. Walsh (Gond Train)        $           -    MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
951   Dorcy International                 $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Conversion Agreement(s)
952   Dorel Home Furnishings              $           -
                                                           MSC Program Agreement(s)
953   Dorfman Pacific Co Inc              $           -    MSC Program Agreement(s)
954   Dosko                               $           -    MSC Program Agreement(s)
955   Dotchi LLC Dba Crescent Garden      $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
956   Double Hh Mfg                       $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           MSC Program Agreement(s)
                                                           Master Services Agreement (CX Advanced Solutions LLC - MSA)
957   Dow Chemical                        $           -    Statement of Work (CX Advanced Solutions SOW 2024-01 WebEx Consulting Services)
                                                           MSC Program Agreement(s)
958   Down To Earth Distributors Inc      $           -    MSC Program Agreement(s)
959   Dpi Inc                             $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
960   Dr Earth Inc                        $           -
                                                           MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
961   Dr. Bronner'S                       $           -
                                                           Conversion Agreement(s)
962   Drainbo                             $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
963   Dramm Company                       $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
964   Dramm Corporation                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
965   Drapery Hardware LLC                $           -    MSC Program Agreement(s)
966   Dream With Colors Inc               $           -    MSC Program Agreement(s)
967   Drift Hero LLC                      $           -    MSC Program Agreement(s)
968   Drillforce Qianjun USA LLC          $           -    MSC Program Agreement(s)

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 ID                 Counterparty Name                                              Summary of Contracts / Descriptions (2)(3)
                                               Amount (1)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
969    Droll Yankees Inc                   $           -    MSC Program Agreement(s)
                                                            Conversion Agreement(s)
970    Dronco America                      $           -    MSC Program Agreement(s)
971    Drop In The Bucket Inc              $           -    Conversion Agreement(s)
972    Dropbox, Inc.                       $           -    Software Agreement (Dropbox Advanced User License Renewal 2023)
973    Drouin Distribution Ltd             $           -    MSC Program Agreement(s)
974    Dsi Security Services               $           -    Building Maintenance & Services Agreement (DSI Security Services ATL RDC 2024)
                                                            MSC Program Agreement(s)
975    Duke Cannon Supply Company          $           -
                                                            Conversion Agreement(s)
976    Duke Company                        $           -    MSC Program Agreement(s)
977    Dumond Chemicals                    $           -    Reunion Market Special/Retail Assortment Agreement(s)
978    Duncan Enterprises                  $           -    MSC Program Agreement(s)
979    Dunecraft                           $           -    MSC Program Agreement(s)
980    Durable Office Products             $           -    MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
981    Duracell Distributing Nc            $           -    Conversion Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
982    Duraflame Cowboy Inc                $           -
                                                            MSC Program Agreement(s)
983    Duravent                            $           -    MSC Program Agreement(s)
                                                            Professional Services Agreement (GHC Mechanical HVAC Maintenance Agreement Renewal 2024)
984    Durham Donald Co                    $           -    MSC Program Agreement(s)

985    Durham Mfg Co                       $           -    MSC Program Agreement(s)
986    Durrie Sales                        $           -    MSC Program Agreement(s)
987    Dutchman Tree Farm                  $           -    MSC Program Agreement(s)
988    Dutro Company                       $           -    MSC Program Agreement(s)
                                                            Conversion Agreement(s)
989    Dutton-Lainson Co                   $           -    MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
990    Duval LLC                           $           -    MSC Program Agreement(s)
991    Dymo Corporation                    $           -    MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
992    Dynamic Solutions Worldwide         $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
993    Dynapac North America LLC           $           -    MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
994    Dyno Seasonal Solutions             $           -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
995    Dynomighty Design                   $           -    MSC Program Agreement(s)
996    Dyson Corporation                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
997    E Filliate                          $           -
                                                            Conversion Agreement(s)
                                                            Conversion Agreement(s)
998    E P Minerals LLC                    $           -
                                                            MSC Program Agreement(s)
                                                            Conversion Agreement(s)
999    E.L. Mustee                         $           -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1000 Eab Tool Co USA Inc                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
1001 Eagle Eye Marketing Group Inc         $           -    MSC Program Agreement(s)
                                                            Conversion Agreement(s)
1002 Eagle Mfg Co                          $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1003 Earth Friendly Products               $           -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
1004 Earth Kind Inc                        $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1005 Earthbox Inc                          $           -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1006 Earthly Way Inc, The                  $           -    MSC Program Agreement(s)
1007 Earthstone International              $           -    MSC Program Agreement(s)
1008 Earthtronics Inc                      $           -    MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1009 Earthway Products Inc                 $           -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1010 Earthworm Soil Factory                $           -    MSC Program Agreement(s)
1011 East Penn Mfg                         $           -    MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1012 Easter Unlimited                      $           -
                                                            MSC Program Agreement(s)
1013   Eastern Bag                         $           -    MSC Program Agreement(s)
1014   Eastern Shore Nursery Of Va.        $           -    MSC Program Agreement(s)
1015   Eastman Industries                  $           -    MSC Program Agreement(s)
1016   Easton Baseball/Softball            $           -    MSC Program Agreement(s)

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 ID              Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                Amount (1)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1017 Easy Gardener Inc                      $            -   Retail Marketing Fund Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1018 Easy Heat Inc                          $            -   Conversion Agreement(s)
                                                             MSC Program Agreement(s)
1019   Easy Heat Wood Pellets Inc           $            -   MSC Program Agreement(s)
1020   Easy Treezy LLC                      $            -   MSC Program Agreement(s)
1021   EasyAsk                              $            -   Software Agreement (EasyAsk Technologies Inc. – Software Maintenance Renewal 2024)
1022   Eaton Brothers Corp                  $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1023 Eaton Corporation                      $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1024 Eaton J T                              $            -   Conversion Agreement(s)
                                                             MSC Program Agreement(s)
1025 Eazypower                              $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1026 Eazypower Corp                         $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1027   Eberhard Klemens                     $       5,546.16 Software Agreement (Eberhard Klemens Perpetual Software License Agreement & Pricing List)
1028   Ebsco Signs & Designs                $            -   MSC Program Agreement(s)
1029   Ec Grow Inc                          $            -   MSC Program Agreement(s)
1030   Echo Global Logistics Inc.           $      78,555.30 Software Maintenance Agreement (Echo Global Logistics Carrier Agreement)
1031   Echo Valley                          $            -   MSC Program Agreement(s)
                                                             Professional Services Agreement (SOW - 2022 Marketing Enhancements - Recurring Fees
                                                             Renewal 2024)
1032 Eci Software Solutions, Inc.           $       6,318.66
                                                             Professional Services Agreement (Marketing Agreement )

                                                             Reunion Market Special/Retail Assortment Agreement(s)
1033 Eclectic Products Inc                  $            -
                                                             MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1034 E-Cloth Inc.                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
1035 E-Cloth/Tadgreen Inc                   $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1036 ECM Industries LLC                     $            -
                                                             Retail Marketing Fund Agreement(s)
1037 Ecoclean Solutions Inc                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
1038 Ecoclear Products Inc                  $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1039   Ecologel Solutions LLC               $            -   MSC Program Agreement(s)
1040   Ecological Concepts Inc              $            -   MSC Program Agreement(s)
1041   Ecological Laboratories              $            -   MSC Program Agreement(s)
1042   Ecoscraps Inc                        $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1043 Ecosmart Technologies                  $            -
                                                             MSC Program Agreement(s)
1044 Ecotrend Corporation                   $            -   MSC Program Agreement(s)
1045 Ecowater Systems LLC                   $            -   MSC Program Agreement(s)
                                                             Professional Services Agreement (Global Product Classification (GPC) data mapping to support 12.0
1046 Edgeaq, LLC                            $            -   PIM strategic project)
                                                             Professional Services Agreement (PIM Product Classification)
                                                             Conversion Agreement(s)
1047 Edgewater Industries                   $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
1048 Edgewell Personal Care LLC             $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1049 Edic                                   $            -
                                                             MSC Program Agreement(s)
1050 Edmar Corp Dba Bissell Commercial      $            -   MSC Program Agreement(s)
1051 Edsal Mfg Co Inc                       $            -   MSC Program Agreement(s)
                                                             Professional Services Agreement (Electronic File Solution For Human Resources, Benefits &
1052 Efilecabinet                           $            -
                                                             Payroll)
1053 Egs Hinge LLC                          $            -   MSC Program Agreement(s)
                                                             Goods Purchase Agreement (EH Mechanical - TVM Toll Filling Agreement)
1054 Eh Mechanical Services                 $            -
                                                             MSC Program Agreement(s)
1055 Einflatables                           $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1056 Eklind Tool Co                         $            -
                                                             MSC Program Agreement(s)
1057 Ekos, Inc.                             $            -   Amendment (EKOS License Agreement Amendment Invoicing 2024)
1058 Elanco Us Inc                          $            -   Retail Marketing Fund Agreement(s)
1059 Electric Eel Mfg Co                    $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1060 Electrolux Homecare Products           $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1061 Elegant Garden Design                  $            -   MSC Program Agreement(s)

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 ID              Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
1062 Elementor Ltd                              $            -   Software Agreement (Elementor LTD - Pro Expert Software 2024)
1063 Eliet USA Inc                              $            -   MSC Program Agreement(s)
1064 Elizabeth Keith Designs                    $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1065 Elkay Sales Inc - Sinks                    $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
1066 Ellas Bubbles LLC                          $            -   MSC Program Agreement(s)
1067 Ellery Holdings LLC                        $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1068 Elliott Auto Supply Co Inc                 $            -
                                                                 Retail Marketing Fund Agreement(s)
                                                                 MSC Program Agreement(s)
1069 Elmer's Product Inc                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)
1070   Elmer'S Products                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
1071   Elysa USA LLC                            $            -   MSC Program Agreement(s)
1072   Email On Acid, LLC                       $            -   Software Subscription Agreement (Email On Acid Subscription Renewal 2024)
1073   Emailgistics Corp.                       $            -   Professional Services Agreement (Emailgistics Corp. 2021 Master Services Agreement)
                                                                 Events & Meetings Services Agreement (Embassy Suites Denver Central Park Hotel Agreement)
1074 Embassy Suites Denver Downtown             $            -
                                                                 Equipment Lease Agreement (WB Sonitrol Change Order IDF Cabinets)
1075 Emerald Forest/J&R Foliage                 $            -   MSC Program Agreement(s)
                                                                 Professional Services Agreement (Emerging Technology Group - Amendment to 3rd Party Service
                                                                 Agreement 2023)
       Emerging Technologies Dba Engage                          Software Agreement (Emerging Tech dba Engage SW - DevOps Service Agreement TrueSites.com
1076                                            $            -
       Software                                                  2024)
                                                                 Software Agreement (Emerging Technologies Renewal Engage DNN Evoq)
                                                                 Events & Meetings Services Agreement (Hampton Inn Atlanta Stockbridge Hotel Agreement)
1077 Emerson - White Rodgers                    $            -   Consulting Agreement (VelocityEHS Holdings NDA 2022)
                                                                 Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
1078 Emerson Healthcare                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)
1079 Emi Yoshi Inc                              $            -   MSC Program Agreement(s)
1080 Empire Blended Products Inc                $            -   MSC Program Agreement(s)
1081 Empire Candle Co LLC                       $            -   MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (Employer Solutions Staffing Group Harvard
1082 Employer Solutions Staffing Group LLC      $      44,096.43
                                                                 RDC)
                                                                 Recruiting Services Agreement (Employment Group Inc. Contracting Group 2024-2027)
1083 Employment Group Inc.                      $            -
                                                                 MSC Program Agreement(s)
1084 Empyra.Com, Inc.                           $            -   Professional Services Agreement (Empyra Master Services Agreement)
1085 Emsco Group                                $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1086 Emson Div. Of E. Mishon                    $            -
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1087 Encap LLC                                  $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Insurance Policy (Umbrella Liability - Policy Number(s): AEC252925603)
1088 Encore Plastics Corp                       $            -
                                                                 MSC Program Agreement(s)
1089 Endless Fun LLC                            $            -   MSC Program Agreement(s)
1090 Endot Industries                           $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1091 Energizer                                  $            -   MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
                                                                 MSC Program Agreement(s)
1092 Energizer Battery Company                  $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1093 Energy Curve Technology, LLC               $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1094 Enesco Divisions                           $            -
                                                                 Conversion Agreement(s)
1095 Enfocus Bv                                 $            -   Software Agreement (Enfocus - PitStop Pro Yearly Subscription)
                                                                 Building Maintenance & Services Agreement (Engie Resources - Freeport Electricity Agreement
                                                                 2023)
                                                                 Building Maintenance & Services Agreement (Engie Resources - Corsicana Electricity Agreement
                                                                 2024)
1096 Engie Resources                            $            -   Master Services Agreement (Engie Resources - Electricity ILLINOIS - Master Energy Sales
                                                                 Agreement 2023)
                                                                 Master Services Agreement (Engie Resources - Wilkes Barre Natural Gas Agreement 2023)
                                                                 HR Services Agreement (Kenneth, Nicholas & Associates - Agency and Recruiting Agreement 2020)


1097 Engineered Products Co                     $            -   MSC Program Agreement(s)
1098 England's Stove                            $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1099 Englewood Marketing Group Inc              $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)


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                                               Est. Cure
 ID              Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                               Amount (1)
                                                              MSC Program Agreement(s)
1100 Enroot Products LLC                   $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1101 Enterprise Group/Domtar Paper Co      $            -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1102 Entertainment Publications LLC        $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Master Services Agreement (Entrust General Terms (MSA))
1103 Entrust Corporation                   $            -     Software Agreement (Entrust Corporation SSL Security Renewal 2023)
                                                              Software Agreement (Entrust Corporation ADD 40 SSL Security Renewal + 4YR Support)
1104 Envato Elements Pty Ltd               $            -     Software Agreement (Envato Elements Pty Ltd - Elements Teams Subscription 2024)
1105 Enviro Log Home Products              $            -     MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1106 Enviro Protection Ind Co Inc          $            -
                                                              MSC Program Agreement(s)
1107 Envirocare Corporation                $            -     MSC Program Agreement(s)
1108 Envirocolor                           $            -     MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1109 Envirocon Technologies Inc            $            -     Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Professional Services Agreement (Lumen Technologies Order Form for Circuit - RSC)
                                                              Software Maintenance Agreement (Centurylink Master Telecom Agreement)
1110 Envirohold                            $            -     MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1111 Environmental Solutions Intl          $            -     MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1112 Environmental Technology              $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
1113 Enviro-Safe Laboratories              $            -     MSC Program Agreement(s)
1114 Enviroscent Inc                       $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
1115 Eo Products                           $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1116 Epa Enterprises Inc                   $            -     MSC Program Agreement(s)
1117 Epare LLC                             $            -     MSC Program Agreement(s)
1118 Epes Logistics Services, Inc          $            -     Software Maintenance Agreement (Epes Logistic Services Carrier Agreement)
                                                              Professional Services Agreement (Epicor - Support, Maintenance and Services Agreement)
1119 Epicor Software Corporation           $      26,870.91
1120 Epiroc North America                  $            -     MSC Program Agreement(s)
                                                              Software Agreement (ePlus Master Services Agreement)
                                                              Software Agreement (ePlus-Cisco Umbrella DNS Security Advantage Licenses and Support 2022)
1121 ePlus Technology, Inc.                $            -     Software Agreement (ePlus - Carbon Black Security Virus Protection Subscription Renewal 2023)
                                                              Software Agreement (ePlus - Carbon Black Security Virus Protection Subscription Renewal 2024)

1122   Epoca Inc                           $            -   MSC Program Agreement(s)
1123   Epoch Design LLC                    $            -   MSC Program Agreement(s)
1124   Equifax Workforce Solutions         $            -   Professional Services Agreement (Equifax Workforce Solutions Contracts - HR)
1125   Equinox 2 Inc                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
1126   Equipment Depot                     $            -   Building Maintenance & Services Agreement (Equipment Depot MNDA MHE Services)
                                                            MSC Program Agreement(s)
1127 Era Group                             $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1128   Erg Staffing Service, LLC           $            -   Professional Services Agreement (temporary staffing for warehouse labor)
1129   Ergieshovel LLC                     $            -   MSC Program Agreement(s)
1130   Erico Products Inc.                 $            -   MSC Program Agreement(s)
1131   Esbenshades Greenhouses Inc         $            -   MSC Program Agreement(s)
1132   Escalade Sports                     $            -   MSC Program Agreement(s)
1133   Escogo LLC                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
1134   Eshraghi Nurseries Inc              $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1135 Espoma Company                        $            -   MSC Program Agreement(s)
                                                            Conversion Agreement(s)
1136   Essay Group LLC                     $            -   MSC Program Agreement(s)
1137   Esschert Design USA LLC             $            -   Reunion Market Special/Retail Assortment Agreement(s)
1138   Essco                               $            -   Reunion Market Special/Retail Assortment Agreement(s)
1139   Essendant                           $            -   MSC Program Agreement(s)
1140   Essential Brand Inc                 $            -   MSC Program Agreement(s)
1141   Essex Silver Line Corp              $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1142 Essick Air Products                   $            -   Conversion Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
1143 Estes Cox Corporation                 $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1144 Estes Worldwide                       $     554,154.83 Building Maintenance & Services Agreement (Estes Worldwide Carrier Agreement)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1145 Estwing Mfg Co                        $            -   Retail Marketing Fund Agreement(s)
                                                            MSC Program Agreement(s)

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                                                   Amount (1)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1146   Ethical Products Inc                         $          -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
1147   Eti Solid State Lighting Inc                 $          -   MSC Program Agreement(s)
1148   Eton Corporation                             $          -   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1149   Ettore Products Company                      $          -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
1150   Euroamerican Propagators                     $          -   MSC Program Agreement(s)
1151   European Home Designs LLC                    $          -   Retail Marketing Fund Agreement(s)
1152   European Soaps LLC                           $          -   MSC Program Agreement(s)
1153   Evakare, LLC                                 $          -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1154   Ever Green Seasons LLC                       $          -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1155   Everbloom Growers Inc                        $          -   MSC Program Agreement(s)
1156   Everbrite LLC                                $          -   MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (Evercor Facility Management Wilkes Barre
1157   Evercor Facility Management                  $    11,155.43 Landscape)
                                                                   Amendment (Evercor Snow Removal Wilkes Barre)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1158   Eveready Battery Co                          $          -
                                                                   Conversion Agreement(s)
1159   Everest National Insurance Company           $          -   Insurance Policy (Directors & Officers - Policy Number(s): PC5EX00684-231)
1160   Everest Toys                                 $          -   MSC Program Agreement(s)
1161   Everflow Industrial Supply                   $          -   Reunion  Market Special/Retail Assortment Agreement(s)
                                                                   Building Maintenance & Services Agreement (Evergreen Line Joint Ocean Service Agreement
1162   Evergreen Line                               $ 1,170,300.41
                                                                   2024)
1163   Evergreen Research & Marketing LLC           $          -   MSC Program Agreement(s)
1164   Evolution Salt Co                            $          -   MSC Program Agreement(s)
1165   Evolve Composites Inc                        $          -   MSC Program Agreement(s)
1166   Evolved Industries                           $          -   Reunion Market Special/Retail Assortment Agreement(s)
1167   Evolved Ingenuity                            $          -   Reunion Market Special/Retail Assortment Agreement(s)
1168   Evoorganic                                   $          -   MSC Program Agreement(s)
1169   Evriholder Products, Inc.                    $          -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1170   Ex-Cell Home Fashions                        $          -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Building Maintenance & Services Agreement (Excellence Janitorial Services 2023 - Wilkes-
1171   Excellence Janitorial Services               $ 155,232.75
                                                                   Barre)
1172   Exclaim, Inc.                                $          -   Professional Services Agreement (Exclaim, Inc Master Service Agreement with Insurance COI)
1173   Exclusively Expo                             $          -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1174   Exhart                                       $          -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
1175   Exotac Inc                                   $          -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1176   Exotic Pebbles & Aggregates Inc              $          -   MSC Program Agreement(s)
                                                                   Master Services Agreement (Expeditors International of Washington Confidential Agreement)
1177   Expeditors International Of Washington, Inc. $          -   Transportation Services Agreement (Expeditors Tradeflow Services Proposal 2023)
                                                                   Transportation Services Agreement (Expeditors Customs Brokerage 2023)
                                                                   Marketing Services Agreement (Experian Marketing Solutions - Annual Renewal 2024)
1178   Experian Marketing Solutions, Inc.           $          -   Professional Services Agreement (IT Project Management and Business Analyst work in suport of
                                                                   Straegic Project #1.2 SAA)
                                                                   Master Services Agreement (Experis Manpower Group MSA)
1179   Experis Manpower Group                       $          -   Professional Services Agreement (Experis SOW Finance Maintenance Agreement CO 2024)
                                                                   Statement of Work (Experis SOW 2024-1 CO 1 - WMS Project Manager Chris Harcar)
                                                                   Building Maintenance & Services Agreement (Express Employment Professional Rate Card
1180   Express Employment Professionals             $          -
                                                                   Harvard)
                                                                   Building Maintenance & Services Agreement (Express Script Letter of Agreement)
1181   Express Scripts Inc                          $          -
                                                                   HR Services Agreement (Express Scripts - Prescription Drug Program Agreement)
1182   Expressive Design Group Inc                  $          -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Software Agreement (Extensis Software 2024 - Marketing)
1183   Extensis                                     $          -
                                                                   Software Agreement (Extensis Software 2023 - Marketing)
1184   Exxel Outdoors LLC                           $          -   MSC Program Agreement(s)
1185   Eye Candy Inflatables Inc.                   $          -   MSC Program Agreement(s)
1186   Eye Level Corporation                        $          -   MSC Program Agreement(s)
1187   Ez Finishes Inc                              $          -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1188   Ez Foil/Reynolds                             $          -   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1189   E-Z Go Textron                               $          -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1190   Ez Street Company                            $          -
                                                                   Conversion Agreement(s)
1191   E-Z Trench Mfg. Co. Inc.                     $          -   MSC Program Agreement(s)




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                                                      Est. Cure
 ID              Counterparty Name                                                         Summary of Contracts / Descriptions (2)(3)
                                                      Amount (1)
                                                                   Marketing Services Agreement (EZ AD-TV)
                                                                   Professional Services Agreement (EZ-AD Ecommerce Addendum for Marketing_2022-2030)
1192 Ez-Ad Tv                                     $     211,797.84 Software Agreement (EZ AD Software License and Service Agreement MTS Addendum)
                                                                   Software Agreement (EZ AD Software License and Service Agreement Loyalty Addendum 2024)
                                                                   Software Agreement (EZ AD Software License and Service Agreement Loyalty Addendum)
1193 Ez-Shim, Inc.                                $            -   MSC Program Agreement(s)
1194 Ezsmart Gutter Cleaner LLC                   $            -   MSC Program Agreement(s)
1195 F M Browns Sons Inc                          $            -   MSC Program Agreement(s)
1196 F&M Tool & Plastics Inc                      $            -   MSC Program Agreement(s)
1197 F3 Brands LLC                                $            -   MSC Program Agreement(s)
     Fair American Insurance And Reinsurance                       Insurance Policy (Directors & Officers - Policy Number(s): MLX-1001805-01)
1198                                              $            -
     Company
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1199 Fairchild Industries Inc                     $            -
                                                                   MSC Program Agreement(s)
1200 Fairmont Sign Company                        $            -   MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (Faith technologies Generator Planned Maintenance
                                                                   Agreement for all RDCs- 3YR)
1201 Faith Technologies                           $       4,543.56 Hardware Maintenance Agreement (Faith technologies UPS- Full Service Maintenance Agreement
                                                                   for all RDC- 3YR)
                                                                   Marketing Services Agreement (Family Farm & Home - Private Label Credit Card Program 2021)
1202 Family Farm                                  $            -
                                                                   Marketing Services Agreement (Family Farm & Home - Marketing Services Agreement)
1203 Far North International                      $            -   MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
1204 Farm Innovators                              $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
1205 Farmers Market Foods LLC                     $            -   MSC Program Agreement(s)
                                                                   Goods Purchase Agreement (Fastenal Agreement 2024)
1206 Fastenal                                     $      13,115.48 Software Maintenance Agreement (Fastenal - Atlanta Distribution Center)
                                                                   Goods Purchase Agreement (Fastenal - Fast Solutions Agreement 2021)
                                                                   Software Agreement (FastSpring Reseller for 65BIT Software Limited - EasyCatalog CC Upgrade)
1207 FastSpring                                   $            -   Software Subscription Agreement (TechSmith - Camtasia®/Snagit® Bundle Maintenance 2023)

                                                                   Conversion Agreement(s)
1208 Faucet Queens Inc                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1209 Faultless/Bon Ami Co                         $            -   MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
1210 Fbg Bottling Group LLC                       $            -   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
1211 Federal Mogul/Champ/Wagner                   $            -   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
1212 Federal Process Corp                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Conversion Agreement(s)
       Federal Recycling Corsicana Equipment                       Building Maintenance & Services Agreement (Corsicana Equipment Rental Agreement 2024)
1213                                              $            -
       Rental Agreement 2024
                                                                   Master Services Agreement (FedEx Agreement 2010)
1214 FedEx Corporation                            $            -
                                                                   Master Services Agreement (FedEx Agreement 2024)
1215 Feedonomics                                  $      37,500.00 Marketing Services Agreement (Feedonomics SOW)
1216 Fein Power Tools                             $            -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1217 Fein Power Tools Inc                         $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1218 Feit Electric                                $            -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
1219   Fellowes Mfg                               $            -   MSC Program Agreement(s)
1220   Female Factor Corporation                  $            -   Training Services Agreement (Speaker Services - Bridget Brennan)
1221   Fencemaster                                $            -   MSC Program Agreement(s)
1222   Fenix Manufacturing                        $            -   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1223 Fernco Inc                                   $            -   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
1224   Ferrara Candy Company                      $            -   Conversion Agreement(s)
1225   Ferry Morse Seed                           $            -   MSC Program Agreement(s)
1226   Fessler Nursery Company                    $            -   MSC Program Agreement(s)
1227   Festool USA LLC                            $            -   MSC Program Agreement(s)
1228   Fiber By Products Corp                     $            -   MSC Program Agreement(s)
1229   Fiberdust LLC                              $            -   MSC Program Agreement(s)
                                                                   HR Services Agreement (Fidelity 401K Trust Agreement)
1230 Fidelity Management Trust Company            $            -
                                                                   HR Services Agreement (Fidelity - Record Keeping Fee & Offset Calculation Change 2013)


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 ID              Counterparty Name                                                         Summary of Contracts / Descriptions (2)(3)
                                                     Amount (1)
                                                                  Building Maintenance & Services Agreement (Fidelity Paper & Supply Corp - Sublease Agreement -
1231 Fidelity Paper & Supply Corp                $            -   Denver)
                                                                  MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1232 Fiebing Company Inc                         $            -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
1233 Field Controls                              $            -   MSC Program Agreement(s)
1234 Fieldsheer Apparel Technologies             $            -   MSC Program Agreement(s)
1235 Fiesta Gas Grills                           $            -   MSC Program Agreement(s)
                                                                  Equipment Lease Agreement (Fifth Third Bank MLA)
                                                                  Lease Agreement (Equipment Lease)
1236 Fifth Third Bank                            $      47,795.56
                                                                  Lease Agreement (IT Equipment Lease)
                                                                  Lease Agreement (Trailer Equipment Lease)
                                                                  Conversion Agreement(s)
1237 Fill-Rite Company                           $            -
                                                                  MSC Program Agreement(s)
1238   Finally Light Bulb Company                $            -   MSC Program Agreement(s)
1239   Finley Products                           $            -   MSC Program Agreement(s)
1240   Fiore Stone                               $            -   MSC Program Agreement(s)
1241   Fire Liters Inc                           $            -   MSC Program Agreement(s)
1242   Fire Protection Services LLC              $            -   Building Maintenance & Services Agreement (Fire Protection Services Agreement (MSA))
                                                                  Master Services Agreement (Tax Recourse LLC - Commercial Property Tax Services Agreement)
1243 Firecreek Jerky                             $            -
                                                                  MSC Program Agreement(s)
1244   Firedisc Cookers                          $            -   Conversion Agreement(s)
1245   Fireman'S Fund Insurance Company          $            -   Insurance Policy (Umbrella Liability - Policy Number(s): USC034742245)
1246   Firemon, LLC                              $            -   Master Services Agreement (Firemon Software License and Service Agreement)
1247   Firman Power Equipment                    $            -   MSC Program Agreement(s)
1248   Firmly Planted                            $            -   MSC Program Agreement(s)
1249   First Aid Only                            $            -   MSC Program Agreement(s)
                                                                  Retail Marketing Fund Agreement(s)
1250 First Alert Brk                             $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  Master Services Agreement (First American Master Lease Agreement)
                                                                  Equipment Lease Agreement (First American Lease Schedule 7 - PC Refresh 2023)
                                                                  Equipment Lease Agreement (First American Lease Schedules 4, 5 & 6 - RDC Access Points)
1251 First American                              $      76,235.36 Lease Agreement (Equipment Lease)
                                                                  Lease Agreement (IT Equipment Lease)
                                                                  Lease Agreement (Trailer Equipment Lease)
                                                                  Order Form (Veracity RSC Avaya DID LOA)
                                                                  Professional Services Agreement (Veracity Networks Service Agreement Voip Circuit - Kingman)
                                                                  Professional Services Agreement (Veracity Networks - LOA for 800 number - Springfield)
                                                                  Professional Services Agreement (Veracity Networks - LOA for 800 number - Woodland)
                                                                  Professional Services Agreement (Veracity Networks CO 1 Service Agreement Voip Circuit -
                                                                  Kingman)
                                                                  Professional Services Agreement (Veracity Networks - LOA for 800 number - Kingman)
                                                                  Professional Services Agreement (Veracity - WebEx Calling/Contact Center Solution CO 1
                                                                  Subscription Extension)
                                                                  Professional Services Agreement (Veracity Networks DIA 50 Mbps Circuit - Wilkes Barre)
                                                                  Professional Services Agreement (First Digital - LOA for Porting Numbers Wilkes Barre)
                                                                  Professional Services Agreement (First Digital (Veracity) CO 1 Service Agreement Voip Circuit -
                                                                  Corsicana)
                                                                  Professional Services Agreement (First Digital - LOA for Porting Numbers CARY)
                                                                  Professional Services Agreement (First Digital - LOA to Port Fax Line for Kansas City)
                                                                  Professional Services Agreement (First Digital - LOA for Harvard Brink Fax)
1252 First Digital Telecom (Veracity)            $      79,652.93
                                                                  Professional Services Agreement (First Digital MPLS circuits for VoIP - Harvard 2024)
                                                                  Professional Services Agreement (First Digital CO 2 WebEx Calling - Exchanging 80 standard to 68
                                                                  premium licenses)
                                                                  Professional Services Agreement (First Digital - LOA to Port Fax Line for Kingman)
                                                                  Professional Services Agreement (Veracity - WebEx Calling/Contact Center Solution Subscription)
                                                                  Professional Services Agreement (Veracity Networks MPLS circuits for VoIP - ATLANTA)
                                                                  Professional Services Agreement (Veracity Networks MPLS circuits for VoIP - HARVARD)
                                                                  Professional Services Agreement (Veracity Networks MPLS circuits for VoIP - CORSICANA)
                                                                  Professional Services Agreement (Veracity Service Agreement WebEx Calling Services 5 Year
                                                                  agreement)
                                                                  Professional Services Agreement (Veracity Amendment 20210727 TO MSA_UTOS_Cloud Unified
                                                                  Communications)
                                                                  Professional Services Agreement (Veracity Networks Manchester New DIA Circuit)
                                                                  Professional Services Agreement (Veracity Networks DIA Circuit for Kansas City)
                                                                  Professional Services Agreement (Veracity Networks - Ethernet for VOIP at Woodland)
                                                                  Professional Services Agreement (Veracity Networks Service Agreement Circuit and DID's - Denver)
                                                                  Master Lease Agreement
                                                                  Equipment Lease Agreement (Racking at Cary facility (CER 2017-65))
1253 First Financial Corporate Leasing, LLC      $     193,978.03 Equipment Lease Agreement (Various Material Handling Equipment (part 3 of CER 2018-50-004))
                                                                  Lease Agreement (Equipment Lease)
                                                                  Lease Agreement (Trailer Equipment Lease)
1254 First Gear Inc                              $            -   MSC Program Agreement(s)

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 ID              Counterparty Name                                                  Summary of Contracts / Descriptions (2)(3)
                                               Amount (1)
1255 Fisher Farms                          $            -   MSC Program Agreement(s)
                                                            Professional Services Agreement (Fisher Printing Inc Master Services Agreement -
1256 Fisher Printing                       $     874,384.68
                                                            Technology)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
1257 Fiskars Brands Inc                    $            -   Retail Marketing Fund Agreement(s)
                                                            Conversion Agreement(s)
1258   Fit & Fresh Inc                     $            -   MSC Program Agreement(s)
1259   Fitt USA Inc                        $            -   MSC Program Agreement(s)
1260   Flagro USA Inc                      $            -   MSC Program Agreement(s)
1261   Flagship Packaged Products LLC      $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1262 Flair-It Central                      $            -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1263 Flame Engineering Inc                 $            -   Conversion Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1264 Flash Furniture                       $            -   MSC Program Agreement(s)
1265 Flashpoint Candle                     $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1266 Fletcher-Terry Company                $            -
                                                            MSC Program Agreement(s)
1267 Flexible Storage Group                $            -   MSC Program Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
1268 Flexon Industries                     $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
1269 Flextone Game Calls                   $            -   Reunion Market Special/Retail Assortment Agreement(s)
1270 Flex-Tools/Chevron                    $            -   MSC Program Agreement(s)
                                                            Conversion Agreement(s)
1271 Flint & Walling/Star Water            $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1272 Flip Flop Flower Pot                  $            -   MSC Program Agreement(s)
1273 Flir Commercial Systems               $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1274 Flitz International                   $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
1275   Flock Free Bird Control, LLC        $            -   MSC Program Agreement(s)
1276   Florico Foliage                     $            -   MSC Program Agreement(s)
1277   Flowtron Outdoor Prod               $            -   MSC Program Agreement(s)
1278   Fluffy Layers LLC                   $            -   MSC Program Agreement(s)
1279   Fluid Management Inc                $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1280 Fluidmaster Inc                       $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1281 Fluoresco Lighting & Signs            $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1282 Fluoresco Services, LLC               $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1283 Fna Group                             $            -   Conversion Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
1284 Foamtec International Co LLC          $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1285 Fogo Charcoal                         $            -
                                                            Conversion Agreement(s)
                                                            Conversion Agreement(s)
1286 Folexport Inc                         $            -
                                                            MSC Program Agreement(s)
1287 Fonegear LLC                          $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
1288 For Life Products LLC                 $            -   Conversion Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
1289 Forest Energy Corporation             $            -   MSC Program Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1290 Forney Industries Inc                 $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Professional Services Agreement (Forrester Research MSA Renewal)
                                                            HR Services Agreement (The Cara Group - Oracle Financial Training Project 2020)
1291 Forrester Research, Inc.              $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1292 Fort Foundry LLC                      $            -   Software Agreement (Fort Foundry - Font Customization)
1293 Fortessa Tableware Solutions          $            -   MSC   Program Agreement(s)
1294 Fortitude Systems                     $            -   Consulting Agreement (MSA)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1295 Fortune Prod Inc                      $            -   Retail Marketing Fund Agreement(s)
                                                            MSC Program Agreement(s)
1296 Forum Novelties Inc                   $            -   MSC Program Agreement(s)
1297 Forward Thinking Inc                  $            -   MSC Program Agreement(s)

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 ID             Counterparty Name                                                 Summary of Contracts / Descriptions (2)(3)
                                             Amount (1)
                                                          MSC Program Agreement(s)
1298 Foshan Bailijian Technology Co      $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                          Conversion Agreement(s)
1299 Foss Mfg. Company LLC               $            -   MSC Program Agreement(s)
1300 Foto Electric Supply Co             $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
1301 Fountainhead/Burgess Prod           $            -   Conversion Agreement(s)
                                                          MSC Program Agreement(s)
1302   Four J's Development              $            -   Professional Services Agreement (Four Js Quote BDS Deployment CPU Maint Renewal 2024)
1303   Four Seasons Flowers              $            -   MSC Program Agreement(s)
1304   Four Star Sales, LLC              $            -   MSC Program Agreement(s)
1305   Four Winds Growers                $            -   MSC Program Agreement(s)
                                                          Master Services Agreement (Fourth Gear Solutions LLC MSA for Cary)
1306 Fourth Gear Solutions LLC           $       1,575.00
                                                          Software Agreement (Fourth Gear Site License for inFSTI Support and Maintenance 2024)
1307 Fox Chapel Publishing               $            -   MSC Program Agreement(s)
1308 Fox Run Craftsmen                   $            -   MSC Program Agreement(s)
1309 Fox Valley Steel And Wire           $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1310 Fpc Corporation                     $            -
                                                          MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1311 Fram Group                          $            -
                                                          MSC Program Agreement(s)
1312 Francis Metal Works LLC             $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1313 Franklin International              $            -
                                                          MSC Program Agreement(s)
                                                          Building Maintenance & Services Agreement (Fidelity Paper & Supply Corp - Sublease Agreement -
1314 Franklin Mfg                        $            -   Denver)
                                                          MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1315 Franklin Sports Industry            $            -
                                                          MSC Program Agreement(s)
1316 Frantz Wholesale Nursery LLC        $            -   MSC Program Agreement(s)
1317 Fravity Innovations LLC             $            -   MSC Program Agreement(s)
1318 Frazee Paint & Wallcovering         $            -   MSC Program Agreement(s)
                                                          Professional Services Agreement (CBI Telecom SOW 2 CO 10 Block of Hours Support for VOIP
                                                          Conversion)
1319 Freedom Specialty (Nationwide)      $            -   Professional Services Agreement (CBI LOA Authorization - Generic)
                                                          Insurance Policy (Directors & Officers / Excess Fiduciary - Policy Number(s): XMF2303470)
1320 Free-Free Usa                       $            -   MSC Program Agreement(s)
                                                          Software Agreement (Freemius Edit SEO Title & Description for Single Site)
1321 Freemius, Inc.                      $            -   Software Agreement (Freemius Edit SEO Title & Description for 4 Additional Sites)
                                                          Software Agreement (Freemius WP Sheet Editor Lifetime Bundle)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1322 Fresh Wave/Omi Industries           $            -
                                                          MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1323 Freud                               $            -   MSC Program Agreement(s)
                                                          Conversion Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
                                                          Conversion Agreement(s)
1324 Freudenberg Filtration Tech         $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1325 Fried Bros.                         $            -   MSC Program Agreement(s)
1326 Frita Inc                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                          MSC Program Agreement(s)
1327 Frost Cutlery Company               $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1328 Ftd LLC                             $            -   MSC Program Agreement(s)
1329 Fu Hsing Americas Inc               $            -   MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
1330 Fulcrum Products Inc                $            -   Conversion Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          MSC Program Agreement(s)
1331 Full Circle Home LLC                $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1332 Full Spektrem LLC                   $            -   MSC Program Agreement(s)
1333 Fullcircle26 Inc.                   $            -   MSC Program Agreement(s)
1334 Fulton Corporation                  $            -   MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
1335 Funk A J & Company                  $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1336   Fusion92                          $      35,000.00 Marketing Services Agreement (Fusion92 - MSA 2020 Revised)
1337   Fv Kings Cleaning Services        $            -   Building Maintenance & Services Agreement (FV Kings Janitorial Services - Manchester)
1338   G & F Products Inc                $            -   MSC Program Agreement(s)
1339   G E Lighting                      $            -   MSC Program Agreement(s)
1340   G E Lighting/Batteries            $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1341 G T Water Products                  $            -   Conversion Agreement(s)
                                                          MSC Program Agreement(s)

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                                             Est. Cure
 ID             Counterparty Name                                                 Summary of Contracts / Descriptions (2)(3)
                                             Amount (1)
                                                          Lease Agreement (Real Estate at 333 Harvey Rd. Manchester, NH 03103)
1342 G&I X Harvey LLC                    $            -
                                                          Lease Agreement (Parking License Agreement for True Value Manchester)
1343 Gale Product Group LLC              $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1344 Gallagher North America             $            -   Conversion Agreement(s)
                                                          MSC Program Agreement(s)
1345 Gamemaster Athletic                 $            -   MSC Program Agreement(s)
1346 Games To Go                         $            -   MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
1347 Garant                              $            -   Conversion Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Software Maintenance Agreement (GardaWorld Security Services - Security Guard Services
                                                          Agreement 2021)
                                                          Building Maintenance & Services Agreement (GardaWorld Remote Monitoring MSA Mankato RDC
                                                          2023)
1348 Gardaworld Security Services        $      53,041.61 Building Maintenance & Services Agreement (ECamSecure Ring Camera Replacement -Harvard)
                                                          Building Maintenance & Services Agreement (GardaWorld Mankato 24/7 Security Guard Services
                                                          2024)

1349   Garden Center Solutions           $            -   MSC Program Agreement(s)
1350   Garden Meadow Inc                 $            -   MSC Program Agreement(s)
1351   Garden State Bulb LLC             $            -   MSC Program Agreement(s)
1352   Garden State Growers              $            -   MSC Program Agreement(s)
1353   Garden Weasel                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
1354   Gardeners Hollow Leg, The         $            -   MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
1355 Gardex                              $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          MSC Program Agreement(s)
1356 Gardner Bender Inc                  $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1357 Gardner, Inc.                       $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1358 Gardner-Gibson                      $            -   MSC Program Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
1359 Garick Corporation                  $            -
                                                          MSC Program Agreement(s)
1360   Gartner Inc.                      $            -   Software Agreement (Gartner Subscription Renewal - Core Technology SMEs 2023)
1361   Gary Pittsford                    $            -   Training Services Agreement (Speaker at Reunion)
1362   Gateway Manufacturing Inc         $            -   MSC Program Agreement(s)
1363   Gayla Industries Inc              $            -   MSC Program Agreement(s)
1364   Gcp Applied Technologies          $            -   MSC Program Agreement(s)
                                                          Conversion Agreement(s)
1365 Ge Appliance Parts                  $            -
                                                          MSC Program Agreement(s)
1366 GE Energy Industrial Solutions      $            -   MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
1367 Gel Blaster Inc                     $            -
                                                          Conversion Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1368 Gemmy Industries                    $            -
                                                          MSC Program Agreement(s)
1369 Generac Mobile Products LLC         $            -   MSC Program Agreement(s)
1370 Generac Power Systems Inc           $            -   Vendor Buying Agreement
1371 General Electric                    $            -   Vendor Buying Agreement
                                                          MSC Program Agreement(s)
1372 General Foam Plastics               $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1373 General Tool & Instruments          $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1374 General Tools Mfg.                  $            -
                                                          MSC Program Agreement(s)
                                                          Conversion Agreement(s)
1375 General Wire Spring Co              $            -
                                                          MSC Program Agreement(s)
1376 Geneva Industrial Group             $            -   MSC Program Agreement(s)
1377 Geneva Industrial Group Inc         $            -   MSC Program Agreement(s)
1378 Geneva Pellets LLC                  $            -   MSC Program Agreement(s)
                                                          Software Agreement (Prestige Paints - Cary Paint Mobile Software License & support Master
1379 Geneva Supply                       $            -
                                                          Agreement)
1380 Genie Company, The                  $            -   MSC Program Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
1381 Genova Products                     $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1382 Genova Products/Pipe                $            -   MSC Program Agreement(s)
                                                          Professional Services Agreement (GenServe LLC - Generator Inspection and Maintenance 2024)
                                                          Assignment (Midwest Hardware Association - Financial services agreement - Palatine)
1383 Genserve LLC                        $            -   Master Services Agreement (Midwest Hardware Association - MSA)

1384 Geo W Radebaugh & Sons Inc          $            -   MSC Program Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
1385 Georgia Pacific Corporation         $            -   MSC Program Agreement(s)
                                                          Conversion Agreement(s)

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                                                     Est. Cure
 ID              Counterparty Name                                                        Summary of Contracts / Descriptions (2)(3)
                                                     Amount (1)
1386 German Pellets Logistics Usa                $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
1387 Gerson                                      $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1388 Gerson International                        $            -   MSC Program Agreement(s)
                                                                  Software Agreement (Abalta Technologies Inc. True Value Trademark Licenses Agreement –
1389 Geske And Sons, Inc.                        $            -   Amendment)
                                                                  Individual Independent Contractor Agreement (Removal and replacement of parking lot asphalt.)
1390 Getty Images                                $            -   Software Agreement (Getty Images Renewal 2024)
                                                                  Professional Services Agreement (GHC Mechanical HVAC Maintenance Agreement Renewal 2024)
1391 Ghc Mechanical Inc                          $            -   MSC Program Agreement(s)

1392   Ghost Controls LLC                        $            -   MSC Program Agreement(s)
1393   Ghp Group Inc                             $            -   Reunion Market Special/Retail Assortment Agreement(s)
1394   Ghs Distribution Inc                      $            -   MSC Program Agreement(s)
1395   Giant Concepts LLC                        $            -   MSC Program Agreement(s)
1396   Gibson Enterprises Inc.                   $            -   MSC Program Agreement(s)
                                                                  Goods Purchase Agreement (Gilbarco/Gasboy System Service Agreement 2022)
1397 Gilbarco/Gasboy                             $            -   Master Services Agreement (Gilbarco/Gasboy Master Service Agreement 2020)
                                                                  Software Agreement (W3 Edge - Total Cache Pro License)
                                                                  MSC Program Agreement(s)
1398 Gildan Branded Apparel Srl                  $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Events & Meetings Services Agreement (Holiday Inn Denver East Hotel Agreement)
1399 Gilpin Ironworks Inc                        $            -
                                                                  MSC Program Agreement(s)
1400 Gino Development Inc                        $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
1401 Ginsey Industries Inc                       $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1402   Gish Logging Inc/Hot Sticks               $            -   MSC Program Agreement(s)
1403   Gki/Bethlehem Lighting                    $            -   MSC Program Agreement(s)
1404   Gladiator/Whirlpool Corp                  $            -   MSC Program Agreement(s)
1405   Glamos Wire Product Co                    $            -   MSC Program Agreement(s)
1406   Glass Block Supply Co, The                $            -   MSC Program Agreement(s)
                                                                  Hardware Maintenance Agreement (GlassHouse Systems IBM AIX HWMA + SWMA Renewal -
                                                                  RDCs)
                                                                  Hardware Maintenance Agreement (GlassHouse Systems IBM AIX HWMA + SWMA - Extended
1407 Glasshouse Systems, Inc.                    $     160,467.53 EOL SW Support)
                                                                  Software Agreement (Glasshouse AIX C++ Compiler Software and Support)
                                                                  Software Maintenance Agreement (Glasshouse - IBM AIX HW & SW Extended Support Renewal
                                                                  2024)
1408 Glazelock Inc                               $            -   MSC Program Agreement(s)
1409 Gleason Industrial                          $            -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
1410 Gleason Industrial Prd                      $            -   Conversion Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1411 Gleason Industrial Pro                      $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1412 Glentronics Inc                             $            -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  Events & Meetings Services Agreement (Global Experience Specialists, Inc. (GES) - Contractor
1413 Global Experience Specialists, Inc. (Ges)   $            -
                                                                  Services for TV Reunion Events)
                                                                  Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
1414 Global Harvest Foods LLC                    $            -   Retail Marketing Fund Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Vendor Buying Agreement
1415 Global Harvest Foods Ltd                    $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Building Maintenance & Services Agreement (Global Industrial Mutual NDA 2024)
1416 Global Industrial                           $            -
                                                                  Professional Services Agreement (Global Industrial)
                                                                  Conversion Agreement(s)
1417 Global Instruments                          $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1418 Global Outdoors Inc                         $            -   MSC Program Agreement(s)
1419 Global Pottery                              $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1420 Globe Electric                              $            -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
1421 Glue Dots International                     $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1422 Go To Logistics                             $            -   Master Services Agreement (Go To Logistics Master LTL Transportation Agreement)
                                                                  Software Maintenance Agreement (GoAnimate, Inc. - Vyond Professional 2024)
1423 Goanimate, Inc.                             $            -   Professional Services Agreement (MuleSoft LLC Professional Services Agreement)
                                                                  Software Agreement (MuleSoft Master Subscription Agreement)
                                                                  MSC Program Agreement(s)
1424 Goddard And Sons                            $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)


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 ID              Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
1425 Goff's Enterprises                        $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
1426 Gojo Industries Inc                       $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
1427 Gold Eagle/303 Products                   $            -   Retail Marketing Fund Agreement(s)
                                                                MSC Program Agreement(s)
1428 Gold Leaf Design Group Inc                $            -   MSC Program Agreement(s)
1429 Gold Medal Products Co                    $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
1430 Goldblatt Industries LLC                  $            -
                                                                Conversion Agreement(s)
1431   Golden Eagle Distrib-Echo               $            -   MSC Program Agreement(s)
1432   Gonzo Corporation                       $            -   MSC Program Agreement(s)
1433   Good Banana, LLC                        $            -   MSC Program Agreement(s)
1434   Good Natured Brand LLC                  $            -   MSC Program Agreement(s)
1435   Goodegg Stuff LLC                       $            -   MSC Program Agreement(s)
                                                                Software Agreement (Google Chronicle Security Operations SaaS Subscription)
1436 Google LLC                                $            -
                                                                Software Agreement (Google Cloud Geocoding API 2023)
                                                                MSC Program Agreement(s)
1437 Gordini USA Inc                           $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
1438 Gorilla Glue Company                      $            -   Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
1439 Gossi Inc                                 $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
1440 Goto Technologies Usa, LLC (Logmein)      $            -   Software Agreement (GoTo Technologies Corporate Service Renewal - 2024)
1441 Govino LLC                                $            -   MSC Program Agreement(s)
1442 Grabber                                   $            -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
                                                                Conversion Agreement(s)
1443 Grabber Warmers                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
1444 Gracious Living Corporation               $            -   MSC Program Agreement(s)
1445 Graco Inc                                 $            -   MSC Program Agreement(s)
1446 Graco, Inc.                               $            -   MSC Program Agreement(s)
                                                                Goods Purchase Agreement (Grainger - Supplier Agreement 2020)
1447 Grainger                                  $            -
                                                                MSC Program Agreement(s)
                                                                Lease Agreement (Wilkes-Barre 5th Amendment lease Extension)
1448 Granite (12 Tradeport) LLC                $            -
                                                                Lease Agreement (Real Estate at S Valley Parkway, Wilkes-Barre, PA 18706)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
1449 Granite Gold Inc                          $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
1450 Granite Industries                        $            -   MSC Program Agreement(s)
                                                                Master Services Agreement (Granite - General Terms and Conditions of Service)
                                                                Order Form (Granite - Comcast SD-WAN circuit for WB)
                                                                Professional Services Agreement (Granite - DIA FE Circuit Upgrade for Corsicana TX)
                                                                Professional Services Agreement (Granite - Manchester Circuit Upgrade)
                                                                Professional Services Agreement (Granite Kansas City DIA Circuit Upgrade)
                                                                Professional Services Agreement (Granite DIA Circuit Upgrade - Woodland)
                                                                Professional Services Agreement (Granite - Denver Broadband Upgrade 2022)
1451 Granite Telecommunications, LLC           $      12,269.63 Professional Services Agreement (Granite - DIA FE Circuit Upgrade for Atlanta)
                                                                Professional Services Agreement (Granite - DIA FE Circuit Upgrade for Kingman)
                                                                Professional Services Agreement (Granite - DIA FE Circuit Upgrade for Woodland)
                                                                Professional Services Agreement (Granite - ADD DIA FE Circuit Upgrade for Corsicana)
                                                                Professional Services Agreement (Granite - ADD DIA FE Circuit Upgrade for Kingman)
                                                                Software Agreement (Granite - Cisco Meraki Licenses 36 month renewal)
                                                                Software Agreement (Granite -3 Year License Subscription for two virtual Meraki Devices)

1452 Grant Thornton                            $            -    Master Services Agreement (Grant Thornton MSA)
                                                                 Conversion Agreement(s)
1453 Grassworx LLC                             $            -
                                                                 MSC Program Agreement(s)
1454 Grate Chef Inc                            $            -    MSC Program Agreement(s)
1455 Graymills Corporation                     $            -    MSC Program Agreement(s)




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 ID             Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                Amount (1)
                                                             Lease Agreement (Real Estate Lease)
                                                             Insurance Policy (Umbrella Liability - Policy Number(s): EXC5202454)
                                                             Lease Agreement (Real Estate at 7600 Jonesboro Road Jonesboro, GA 18051)
                                                             Lease Agreement (Real Estate at 2601 East Highway 31 Corsicana, TX 75110)
                                                             Lease Agreement (Real Estate at 14900 US Highway 71 Kansas City, MO 64147)
1456 Great American Assurance Company       $           -    Lease Agreement (Real Estate at 4005 Mohave Airport Dr. Kingman, AZ 86401)
                                                             Lease Agreement (Real Estate at 2150 Olympic Avenue Springfield, OR 97477)
                                                             Lease Agreement (Real Estate at 215 N. Pioneer Avenue Woodland, CA 95776)
                                                             Lease Agreement (Real Estate at 26025 First St. Westlake, OH 44145)
                                                             Lease Agreement (Real Estate at 2415 3rd Ave. Mankato, MN 56001)
                                                             Lease Agreement (Real Estate at 201 - 203 Jandus Rd. Cary, IL 60013)
1457 Great American Bait Co LLC, The        $           -    MSC Program Agreement(s)
1458 Great American Marketing, Inc.         $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1459 Great Innovations LLC                  $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1460 Great Lakes Data Systems               $           -    Software Agreement (Great Lakes Data Systems NDA)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1461 Great Lakes Wholesale                  $           -
                                                             MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1462 Great Neck Saw & Mfg.                  $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1463 Great Plains Ind Inc                   $           -
                                                             MSC Program Agreement(s)
1464   Great Southern Wood Preserve         $           -    MSC Program Agreement(s)
1465   Great States Corp                    $           -    MSC Program Agreement(s)
1466   Green Biz Nursery & Landscaping      $           -    MSC Program Agreement(s)
1467   Green Circle Growers Inc             $           -    MSC Program Agreement(s)
1468   Green Country Soil Inc.              $           -    MSC Program Agreement(s)
1469   Green Earth Deicer Co, The           $           -    MSC Program Agreement(s)
1470   Green Earth Technologies             $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1471 Green Garden Products, LLC             $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
1472 Green Kleen Products Inc               $           -
                                                             MSC Program Agreement(s)
1473 Green Light Sales Co                   $           -    MSC Program Agreement(s)
1474 Greener Days LLC                       $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1475 Greenes Fence Co                       $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1476 Greenfield Ind/Disston                 $           -    MSC Program Agreement(s)
1477 Greenleaf Nursery                      $           -    MSC Program Agreement(s)
1478 Greenlite Lighting Corp.               $           -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1479 Greenworks Tools                       $           -    Conversion Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Software Agreement (SwipedOn Business Plan Subscription 2024)
1480 Grill Care Company, The                $           -
                                                             MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1481 Grill Daddy Brush Co., Inc             $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1482 Grip Clean                             $           -    MSC Program Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
1483 Gro Well Brands Cp Inc                 $           -
                                                             MSC Program Agreement(s)
1484   Groovebox Outdoor Living             $           -    MSC Program Agreement(s)
1485   Ground Hog Inc                       $           -    MSC Program Agreement(s)
1486   Groundbreaking Ventures LLC          $           -    MSC Program Agreement(s)
1487   Grow Up LLC                          $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1488 Growstone Inc                          $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1489   Growums                              $           -    MSC Program Agreement(s)
1490   Gsc Technologies Inc                 $           -    Reunion Market Special/Retail Assortment Agreement(s)
1491   Gsd Distribution                     $           -    MSC Program Agreement(s)
1492   Gt Lite                              $           -    MSC Program Agreement(s)
1493   Gtx Turf Farms LP                    $           -    MSC Program Agreement(s)
                                                             Hardware Agreement (GuidePoint Security Palo Alto Networks PA-445 Freeport)
                                                             Hardware Agreement (GuidePoint Security Palo Alto Networks PA-445 Cary)
                                                             Hardware Agreement (GuidePoint Security - Cloud Application Protection)
1494 GuidePoint Security LLC                $           -    Order Form (GuidePoint - Order Form Pentera Software Subscription)
                                                             Order Form (GuidePoint Security Pentera Security Software Renewal + Core + RansomwareReady
                                                             Module)
                                                             Order Form (GuidePoint Security - Wiz.io Software Subscription Renewal 2024)
1495 Gulf Coast Panama Jack Inc             $           -    MSC Program Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1496 Gulfstream Home & Garden Inc           $           -    Conversion Agreement(s)
                                                             MSC Program Agreement(s)
1497 Gulley Greenhouse Inc                  $           -    MSC Program Agreement(s)

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 ID              Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
1498   Guthrie Greenhouses LLC               $           -    MSC Program Agreement(s)
1499   Gutterglove Inc                       $           -    MSC Program Agreement(s)
1500   GW Regency Plaza LLC                  $           -    Lease Agreement (Real Estate Lease for True Value Retail)
1501   Gw Schleidt Inc Dba Bali Garden       $           -    MSC Program Agreement(s)
1502   H B Fuller Construction Products      $           -    MSC Program Agreement(s)
1503   H B Ives                              $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1504 H M S Mfg                               $           -
                                                              Conversion Agreement(s)
                                                              MSC Program Agreement(s)
1505 H W Naylor                              $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1506 Haddad Intl LLC                         $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1507 Hagerty W J & Son Ltd                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
1508 Hagstrom Map Company                    $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1509 Halex/Scott Fetzer                      $           -
                                                              MSC Program Agreement(s)
1510 Halpern Import                          $           -    MSC Program Agreement(s)
1511 Halstead New England Corp               $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1512 Hamilton Beach Brands Inc               $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
1513 Hammocks Source, The                    $           -    MSC Program Agreement(s)
1514 Hampshire Farms LLC                     $           -    MSC Program Agreement(s)
1515 Hampton Direct Inc                      $           -    MSC Program Agreement(s)
                                                              Events & Meetings Services Agreement (Hampton Inn Atlanta Stockbridge Hotel Agreement)
1516 Hampton Inn Atlanta-Stockebridge        $           -    Consulting Agreement (VelocityEHS Holdings NDA 2022)
                                                              Conversion Agreement(s)
                                                              Conversion Agreement(s)
1517 Hampton Products-Keeper                 $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
1518 Handsam Industrial(Wuxi) Co             $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1519 Handy Home Products                     $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
1520 Hanes Geo Components                    $           -
                                                              MSC Program Agreement(s)
1521 Hang Accessories                        $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1522 Hangzhou Great Star Indust              $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1523 Hangzhou Tianyuan Pet Prod              $           -    Reunion Market Special/Retail Assortment Agreement(s)
1524 Hannon Group Ltd                        $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1525 Hanson C H Co                           $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1526 Happy Hen Treats                        $           -
                                                              MSC Program Agreement(s)
1527 Harmony Outdoor Brands                  $           -    MSC Program Agreement(s)
1528 Harper Brush                            $           -    MSC Program Agreement(s)
1529 Harper Trucks, Inc.                     $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1530 Harris Farms LLC                        $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
1531 Harris Research Inc                     $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1532 Hartline Prod Co Inc                    $           -
                                                              MSC Program Agreement(s)
1533   Harts Greenhouse & Florist LLC        $           -    MSC Program Agreement(s)
1534   Harts Nursery Of Jefferson Inc        $           -    MSC Program Agreement(s)
1535   Hartz Mountain Corporation            $           -    Conversion Agreement(s)
1536   Harvest Garden Pro LLC                $           -    MSC Program Agreement(s)
1537   Harvest Gold Organics                 $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
1538 Harvest Lane Honey                      $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1539   Harvest Trading Group Inc             $           -    Reunion Market Special/Retail Assortment Agreement(s)
1540   Harvey, William H. Company            $           -    MSC Program Agreement(s)
1541   Hasbro Toy And Game                   $           -    MSC Program Agreement(s)
1542   Hasbro Toy Group(Playskool)           $           -    MSC Program Agreement(s)
1543   Hassell & Hughes Lumber Co Inc        $           -    MSC Program Agreement(s)
1544   Haulotte Us Inc                       $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1545 Havells Usa                             $           -
                                                              MSC Program Agreement(s)
1546 Haynes Manuals Inc                      $           -    Reunion Market Special/Retail Assortment Agreement(s)
1547 Hbd Industries Inc                      $           -    MSC Program Agreement(s)


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                                           Amount (1)
                                                        MSC Program Agreement(s)
1548 Hc Companies Inc                  $            -
                                                        Conversion Agreement(s)
1549 Hc Group, LLC                     $            -   MSC Program Agreement(s)
                                                        Retail Marketing Fund Agreement(s)
1550 Hcf Outdoor Products Co           $            -   MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
                                                        Professional Services Agreement (HCL Master Agreement)
                                                        Professional Services Agreement (HCL-INF-2023-002 SOW Dynatrace Impl., License & Base
                                                        Supporting for MOL & NNWH)
                                                        Professional Services Agreement (HCL-INF-2023-002 SOW CO 1 Dynatrace Implementation
                                                        Monitoring for MOL & NNWH)
                                                        Professional Services Agreement (HCL CO 1 Google Consumption Subscription Descoping)
                                                        Professional Services Agreement (HCL Rate Card Amend HCL-APPS-2018-01 - CO 12 Application
                                                        Dev & Enhancements)
                                                        Professional Services Agreement (HCL Program License and Support Order Schedule BigFix
                                                        Renewal 2024)
                                                        Professional Services Agreement (HCL-SOW-INF-2023-006 CO 2 Fortra Powertech AV License &
                                                        Implementation on AIX)
                                                        Software Maintenance Agreement (Automation Anywhere Order PDF converter license 3 YR)
                                                        Subscription Service Agreement (Automation Anywhere License Subscription)
                                                        Professional Services Agreement (HCL ASM Project - MS-Dyn CRM SOW CO 1)
1551 Hcl Technologies                  $     149,811.54 Professional Services Agreement (Change Order #2 for the SOW#4)
                                                        Professional Services Agreement (HCL Google Consumption Subscription and Commitment
                                                        Agreement)
                                                        Professional Services Agreement (HCL Networks Palo Alto Hardware and Maintenance - 2022)
                                                        Professional Services Agreement (HCL ASM Project - Cary SOW)
                                                        Professional Services Agreement (HCL ASM Project - JDA Enhn SOW)
                                                        Professional Services Agreement (HCL ASM Project - New Store Growth SOW)
                                                        Professional Services Agreement (HCL ASM Project - Item and Pricing SOW)
                                                        Professional Services Agreement (HCL ASM Project - Oracle Integration Support SOW)
                                                        Professional Services Agreement (HCL ASM Project - NNWH SOW)
                                                        Professional Services Agreement (HCL ASM Project - MS-Dyn CRM SOW)
                                                        Professional Services Agreement (HCL ASM Project - Teradata DBA SOW)
                                                        Professional Services Agreement (HCL ASM Project - EZ Connect SOW)
                                                        Professional Services Agreement (HCL ASM Project -Talend RSC SOW)


1552 Headwind Consumer Products        $            -   MSC Program Agreement(s)
1553 Heartland Biofuels LLC            $            -   MSC Program Agreement(s)
1554 Heartland Home & Garden           $            -   MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
1555 Heath Manufacturing Co            $            -
                                                        MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
1556 Heathco LLC                       $            -
                                                        MSC Program Agreement(s)
1557 Heatstar By Enerco                $            -   MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
                                                        Retail Marketing Fund Agreement(s)
1558 Helen Of Troy Codml               $            -   Conversion Agreement(s)
                                                        MSC Program Agreement(s)
1559 Helen Of Troy Macao Limited       $            -   Conversion Agreement(s)
1560 Hendee Enterprises                $            -   MSC Program Agreement(s)
                                                        MSC Program Agreement(s)
1561 Henkel Corporation                $            -
                                                        Reunion Market Special/Retail Assortment Agreement(s)
1562   Henry Co                        $            -   MSC Program Agreement(s)
1563   Herbie House                    $            -   MSC Program Agreement(s)
1564   Hercules Products Inc           $            -   MSC Program Agreement(s)
1565   Hero Products Group             $            -   MSC Program Agreement(s)
1566   Hestra Gloves LLC               $            -   MSC Program Agreement(s)
1567   Hexagon Ali                     $            -   Building Maintenance & Services Agreement (Hexagon - EAM Support Renewal 2024)




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                                                     Est. Cure
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                                                     Amount (1)
                                                                Master Services Agreement (Hexaware Technologies Limited. MSA)
                                                                Master Services Agreement (Hexaware Outsourcing Master Services Agreement)
                                                                Professional Services Agreement (Hexaware SOW 2024-05 BOT Support Services)
                                                                Professional Services Agreement (Hexaware SOW 2024-06 Onshore Specialist Roles – OMS
                                                                Specific)
                                                                Professional Services Agreement (Hexaware SOW 2024-8 WMS Transformation Foundation
                                                                Program)
                                                                Professional Services Agreement (Hexaware Technologies SOW FA1 Accounting - Naresh
                                                                Mudliyar)
                                                                Professional Services Agreement (Hexaware Technologies SOW FA1 CO1 Accounting - Shyam
                                                                Mallah)
1568 Hexaware Technologies                       $ 2,222,916.27 Professional Services Agreement (Hexaware SOW 2 DevOps Architecture - Tamanna Gupta)
                                                                Statement of Work (Hexaware Schedule 8 CO 1 - Finance AR-AP Business Process Support)
                                                                Statement of Work (Hexaware SOW 2023-4 CO 1 Korber OMS Integrations)
                                                                Statement of Work (Hexaware Schedule 8 CO 4 - Finance AR-AP Business Process Support)
                                                                Statement of Work (Hexaware SOW 2023-4 Korber OMS Integrations)
                                                                Statement of Work (Hexaware SOW Application Support & Maintenance (ASM))
                                                                Statement of Work (Hexaware SOW Infrastructure Support & Maintenance (ISM))
                                                                Statement of Work (Hexaware SOW Security Managed Services)
                                                                Statement of Work (Hexaware Master Managed Services SOW)
                                                                Statement of Work (Hexaware SOW – Major Enhancements and Projects Staff Augmentation)
                                                                Statement of Work (Hexaware Schedule 8 SOW - Finance AR/AP Business Process Support)

1569   Hgt International Co                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
1570   Hi Line Gift Ltd                          $            -   MSC Program Agreement(s)
1571   High Caliper Growing Inc                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
1572   High Mowing Organic Seeds                 $            -   MSC Program Agreement(s)
1573   High Sierra Showerheads                   $            -   MSC Program Agreement(s)
1574   Highland Supply Corp.                     $            -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
1575 Highline Warren/Plews                       $            -
                                                                  MSC Program Agreement(s)
1576 Highside Chemicals Inc                      $            -   MSC Program Agreement(s)
                                                                  Vendor Buying Agreement
1577 Hillman Fasteners                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Conversion Agreement(s)
1578   Hillside Consulting Group, LLC            $      28,813.75 Marketing Services Agreement (Hillside - Amendment #1 to Statement of Work)
1579   Hilti, Inc.                               $            -   MSC Program Agreement(s)
1580   Hilton Garden Inn Wilkes Barre            $            -   Events & Meetings Services Agreement (Hilton Garden Inn Wilkes Barre Agreement 2024)
1581   Hines Growers Inc                         $            -   MSC Program Agreement(s)
1582   Hip Klub, The                             $            -   MSC Program Agreement(s)
1583   Hireright, LLC                            $       1,383.23 HR Services Agreement (HireRight Master Service Agreement 2022)
1584   Hi-Tech Electronic Products               $            -   MSC Program Agreement(s)
1585   Hitrons Solutions Inc                     $            -   MSC Program Agreement(s)
1586   Hk Star Bright Lighting Limited           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Building Maintenance & Services Agreement (Manchester RDC LED Upgrade - Orion Energy
                                                                  Systems)
1587 Hk-Ko Prod Co                               $            -   Building Maintenance & Services Agreement (Atlanta RDC LED Upgrade - Orion Energy Systems)
                                                                  MSC Program Agreement(s)

                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1588 Hoffman A H Inc/Good Earth                  $            -
                                                                  MSC Program Agreement(s)
1589 Hold It Mate                                $            -   MSC Program Agreement(s)
1590 Hold It Products Corporation                $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1591 Holiday Bright Lights                       $            -
                                                                  MSC Program Agreement(s)
     Holiday Inn And Suites Express Lubbock                       Events & Meetings Services Agreement (Holiday Inn and Suites Express Lubbock Texas)
1592                                             $            -
     Texas
1593 Holiday Inn Crystal Lake                    $            -   Events & Meetings Services Agreement (Holiday Inn Crystal Lake Hotel Agreement 2024)
                                                                  Events & Meetings Services Agreement (Holiday Inn Denver East Hotel Agreement)
1594 Holiday Inn Express Downtown Denver         $            -
                                                                  MSC Program Agreement(s)
1595 Holiday Tree Farms                          $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
1596 Holiday Trim                                $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1597 Holidynamics Inc                            $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
1598 Holloway House Inc                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Conversion Agreement(s)
1599   Holmberg Farms, Inc                       $            -   MSC Program Agreement(s)
1600   Holmes Garage Door Co                     $            -   MSC Program Agreement(s)
1601   Holmes Grp, The / Rival Div               $            -   MSC Program Agreement(s)
1602   Holophane Lighting                        $            -   MSC Program Agreement(s)
1603   Holtkamp/Optimara Nurs                    $            -   MSC Program Agreement(s)
1604   Holton Products LLC                       $            -   MSC Program Agreement(s)
1605   Holy Cow Cleaning Products                $            -   MSC Program Agreement(s)


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                                                    Amount (1)
1606 Home Bazaar Inc                            $            -   MSC Program Agreement(s)
1607 Home Care Industries Inc                   $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1608 Home Care Labs                             $            -   Retail Marketing Fund Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1609   Home Kreation By Kk Inc                  $            -   MSC Program Agreement(s)
1610   Home Nursery                             $            -   MSC Program Agreement(s)
1611   Home Products Intl-North America         $            -   MSC Program Agreement(s)
1612   Homedics                                 $            -   MSC Program Agreement(s)
1613   Homefires                                $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1614 Homewerks Worldwide LLC                    $            -
                                                                 Conversion Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1615 Honey Can Do Intl Inc                      $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
1616 Honeywell Safety Products                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
1617 Hookpin Products                           $            -   MSC Program Agreement(s)
1618 Hoovers Hatchery Company LLC               $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
1619 Hopkins Mfg                                $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
1620 Hopkins Mfg./Bell Automotive               $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1621 Hoppertopper Inc                           $            -   MSC   Program Agreement(s)
                                                                 Conversion Agreement(s)
1622 Horsemens Pride                            $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1623 Hosley International                       $            -   MSC Program Agreement(s)
1624 Host/Racine Industries Inc                 $            -   MSC Program Agreement(s)
                                                                 Professional Services Agreement (HostPapa, Inc. - Webhosting Services 2024)
1625 Hostpapa, Inc. (Hostopia)                  $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1626 Hot Headz Of America LLC                   $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Software Agreement (Hotjar Software Support and Maintenance Renewal 2023)
1627 Hotjar                                     $            -
                                                                 Software Agreement (Mozilor Limited – Webtoffee Product Import Export Plugin 2024)
1628 House Of Fara Inc                          $            -   MSC Program Agreement(s)
1629 Household Essentials                       $            -   MSC Program Agreement(s)
1630 Household Essentials LLC                   $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1631 Houseworks Ltd                             $            -
                                                                 Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
1632 Howard Johnsons                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)
                                                                 Conversion Agreement(s)
1633 Howard Products                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
1634 Howes Lubricator                           $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1635 Hubbell Electrical Products                $            -
                                                                 MSC Program Agreement(s)
1636 Huber Engineered Woods                     $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1637 Hudson, H D Mfg. Co                        $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1638 Huffy Bicycles                             $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1639 Huffy Sports                               $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1640 Hugfun Intl Hongkong Ltd                   $            -
                                                                 MSC Program Agreement(s)
1641   Huhtamaki Retail Business                $            -   MSC Program Agreement(s)
1642   Humalfa LLC                              $            -   MSC Program Agreement(s)
1643   Humetrics Holding, Inc.                  $            -   Training Services Agreement (Speaker Services - Mel Kleiman)
1644   Humphreys Farm Inc                       $            -   MSC Program Agreement(s)
1645   Hunter Fan Company                       $            -   MSC Program Agreement(s)
1646   Hunters Specialties                      $            -   MSC Program Agreement(s)
1647   Huntington Technology Finance, Inc.      $     269,993.88 Lease Agreement (Equipment Lease)
1648   Husqvarna Construction                   $            -   MSC Program Agreement(s)
1649   Hybrid Light                             $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1650 Hy-C Company Inc                           $            -
                                                                 MSC Program Agreement(s)
1651 Hydaway LLC                                $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
1652 Hyde Tools                                 $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
1653 Hydrapak, LLC                              $            -
                                                                 Conversion Agreement(s)


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                                                     Est. Cure
 ID              Counterparty Name                                                          Summary of Contracts / Descriptions (2)(3)
                                                     Amount (1)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
1654 Hydrofarm                                   $            -
                                                                  MSC Program Agreement(s)
1655 Hydrospike Inc                              $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Retail Marketing Fund Agreement(s)
1656 Hy-Ko Prod Co                               $            -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  Hosting Agreement (Hyland (Perceptive) Software License Maintenance and Hosting)
1657 Hyland Software, LLC (Perceptive)           $            -
                                                                  Master Services Agreement (Hyland - MSA)
                                                                  Software Maintenance Agreement (Hy-Tek Conveyor System Support and Maintenance 2024 -
1658 Hy-Tek Intralogistics                       $            -
                                                                  Wilkes Barre)
1659 I Must Garden LLC                           $            -   MSC Program Agreement(s)
                                                                  Consulting Agreement (Master Agreement for IBM purchases of goods or services)
                                                                  Professional Services Agreement (Schedule for Service Elite Hardware Renewal)
                                                                  Software Agreement (IBM Security Privilege Access Mgmt SaaS 2022)
                                                                  Software Agreement (IBM Supply Chain Business Network SaaS base Annual Renewal)
1660 Ibm Corp.                                   $      82,183.61 Software Agreement (IBM Passport Advantage Agreement IPAA Special Terms Addendum)
                                                                  Software Agreement (IBM PCR09SS Cloud Managed Service on Zsystems - Addition of 14 MSUs)
                                                                  Software Agreement (IBM Software Subscription & Support Annual Renewal 2024)
                                                                  Software Maintenance Agreement (IBM Master Agreement)

1661 Icon Eyewear Inc                            $            -     MSC Program Agreement(s)
                                                                    Amendment (Iconex Store Supplies Extension Amendment)
1662 Iconex                                      $            -
                                                                    MSC Program Agreement(s)
1663   Ics Blount Inc.                           $            -     MSC Program Agreement(s)
1664   Ics/Blount Inc.                           $            -     MSC Program Agreement(s)
1665   Idea Factory                              $            -     MSC Program Agreement(s)
1666   Idea Village Products Corp                $            -     MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
1667 Ideal Clamp Products                        $            -
                                                                    Conversion Agreement(s)
1668 Ideative Product Ventures Inc               $            -     MSC Program Agreement(s)
1669 Ideology                                    $            -     MSC Program Agreement(s)
1670 Idevices LLC                                $            -     MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
1671 Idl Tool International                      $            -
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
1672 Igh Inc/Gardeners Supply Co                 $            -     MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
1673 Igloo Corporation                           $            -     MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Software Agreement (Ignite Enterprise Software Solutions (IgniteTech) DNN Evoq License Renewal
1674 Ignite Enterprise Software Solutions, LLC   $            -
                                                                    2024)
1675   Ignite USA                                $            -     MSC Program Agreement(s)
1676   Igo Inc                                   $            -     MSC Program Agreement(s)
1677   Ihi Compact Excavator Sales               $            -     MSC Program Agreement(s)
1678   Illinois Union Insurance Company          $            -     Insurance Policy (Umbrella Liability - Policy Number(s): G74374803001)
1679   Illumicor Inc                             $            -     MSC Program Agreement(s)
                                                                    Software Maintenance Agreement (Waller Truck Co, Inc - Transportation Agreement Contracted
1680 Ilsco                                       $            -     Carrier)
                                                                    MSC Program Agreement(s)
1681 Imagination International Inc               $            -     MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
1682 Imagination Products Corp                   $            -     Conversion Agreement(s)
                                                                    MSC Program Agreement(s)
1683 Imm Group Inc                               $            -     MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
1684 Impact Innovation-Import                    $            -
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
1685 Impact Innovations                          $            -     Reunion Market Special/Retail Assortment Agreement(s)
1686 Impact Innovations Inc                      $            -     MSC Program Agreement(s)
                                                                    Master Services Agreement (Impact Outsourcing Solutions Managed Service Agreements)
1687 Impact Outsourcing Solutions                $     329,409.88
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
1688 Impact Products Inc                         $            -
                                                                    MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
1689 Imperial Blades LLC                         $            -
                                                                    MSC Program Agreement(s)
1690 Imperial Marble Corp                        $            -     MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
1691 Imperial Mfg. Group USA Inc                 $            -     MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Conversion Agreement(s)
1692 Implus Footcare-Yaktrak Div                 $            -     MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Software Agreement (Imprivata (SecureLink Enterprise) - Annual License Subscription Renewal
1693 Imprivata                                   $            -
                                                                    2024)


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 ID             Counterparty Name                                                     Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
1694 Ims Trading Corp                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
1695 ImUSA USA, LLC                          $            -
                                                              Conversion Agreement(s)
1696 In A Bind                               $            -   MSC Program Agreement(s)
1697 Indaco Mfg Ltd                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              Master Services Agreement (Indeed, Inc - Terms of Service)
1698 Indeed, Inc.                            $       2,046.40
                                                              Order Form (Indeed, Inc - Smart Sourcing Subscription)
1699   Indusco                               $            -   MSC Program Agreement(s)
1700   Industrial Materials Corp             $            -   MSC Program Agreement(s)
1701   Infiniti Cleaning Solutions LLC       $            -   MSC Program Agreement(s)
1702   Infinity Lawn & Garden                $            -   MSC Program Agreement(s)
1703   Inflatable Resources(Spacewalk)       $            -   MSC Program Agreement(s)
                                                              Software Agreement (Infor - Qmaster Output Manager Renewal 2023 - WMS / ADS for RDCs)
1704 Infor                                   $            -   Software Agreement (Infor - Qmaster Output Manager Renewal WMS/ADS for RDCs 2024)
                                                              Software Agreement (Infor ADDENDUM Reinstatement of EDIM Module for Cary 4th Shift)
1705 Infora LLC                              $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1706 Ingersoll Rand                          $            -
                                                              MSC Program Agreement(s)
1707 Ingleside Plantation Nurseries Inc      $            -   MSC Program Agreement(s)
1708 Ink'D Greeting Inc                      $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1709 Inliten LLC                             $            -   Retail Marketing Fund Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
1710 Innovation Pet Inc                      $            -   MSC Program Agreement(s)
                                                              Master Services Agreement (ICG ERP MSA FOURTH SHIFT ERP and SQL Admin Renewal for
1711 Innovative Consulting Group (Icg)       $            -   Cary)
                                                              Professional Services Agreement (ICG - TVM Cary Master Services Agreement)
                                                              MSC Program Agreement(s)
1712 Innovative Pet Products Pty Ltd         $            -
                                                              Conversion Agreement(s)
1713 Ins Tent Industries                     $            -   MSC Program Agreement(s)
1714 Inseco Inc                              $            -   MSC Program Agreement(s)
                                                              Hardware Agreement (Insight VxRail Hardware/Software/Support - Cary)
                                                              Hardware Agreement (Insight Dell Compellent Storage Hardware Purchase/Support for RSC)
                                                              Hardware Agreement (Insight Dell Compellent Capacity San Storage Upgrade and Support)
                                                              Hardware Agreement (Insight - Harvard RDC Fiber Switch Upgrade Proof of Concept)
                                                              Hardware Agreement (Insight - RSC Closet Switch Upgrade)
                                                              Hardware Agreement (Insight - Cary Warehouse Switch Upgrade)
                                                              Hardware Agreement (Insight – RDC Warehouse Switch Upgrade)
                                                              Hardware Agreement (Insight - New Warehouse Cisco Switching for Wilkes-Barre)
                                                              Hardware Agreement (Insight - New APC Smart-UPS for Wilkes-Barre)
                                                              Hardware Agreement (Insight - Fiber Switch Upgrade RDC's)
                                                              Hardware Agreement (Insight - Harvard+Central Ship Ceiling Switch Replacement)
                                                              Hardware Agreement (Insight Cisco Ceiling Switch Upgrades - Atlanta)
                                                              Hardware Agreement (Insight Cisco Ceiling Switch Upgrades - Cleveland)
                                                              Hardware Agreement (Insight Cisco Ceiling Switch Upgrades - Mankato)
                                                              Hardware Agreement (Insight Cisco Ceiling Switch Upgrades - Corsicana)
                                                              Hardware Agreement (Insight Cisco Ceiling Switch Upgrades - Springfield)
1715 Insight Direct USA, Inc.                $     142,551.51
                                                              Hardware Agreement (Insight Cisco Ceiling Switch Upgrades - Kansas City)
                                                              Hardware Agreement (Insight EMC Hardware Maintenance Renewal 2024)
                                                              Hardware Agreement (Insight Order Cisco ASN (VPN) Virtual Appliance)
                                                              Hardware Agreement (Dell Storage MD1420 and 5 year Support & Maintenance)
                                                              Hardware Agreement (Insight - New APC Smart-UPS for Harvard)
                                                              Hardware Maintenance Agreement (Insight Cisco DNAC Hardware Support - RSC)
                                                              Hardware Maintenance Agreement (Insight Cisco SmartNet HW & SW Maintenance & Support RSC
                                                              Renewal 2024)
                                                              Hardware Maintenance Agreement (Insight - Dell Server Additional Shelf 5 YR Maintenance)
                                                              Hardware Maintenance Agreement (Insight Fujitsu Advance Exchange Extended Service Agreement
                                                              - Finance)
                                                              Hardware Maintenance Agreement (Insight Cisco SmartNet RDC Switches Extended Support
                                                              Renewal 2024)
                                                              Software Agreement (Insight Dell Power Edge R740XD2 - 2 Servers and Maintenance)
                                                              Software Agreement (Insight Red Hat co-termed Renewal)
                                                              Software Agreement (Insight Red Hat Licenses for new SMTP servers)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
1716 In-Sink-Erator/Masterplumber            $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
1717 Inspired Tech                           $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1718 Insta Fire Inc                          $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
1719 Instant Brands                          $            -
                                                              Conversion Agreement(s)
1720 Instant Brands LLC Housewares           $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
1721 Instant Power Corp                      $            -
                                                              Conversion Agreement(s)

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                                                    Amount (1)
                                                                   Consulting Agreement (Instant Technology IT Consulting Agreement Amendment)
1722 Instant Technology LLC                     $      24,795.00
                                                                   Statement of Work (Instant Technology SOW 2024-1 OMS CO 1 Business Analyst - Varun Patel)
1723 Instapure Brands                           $            -     MSC Program Agreement(s)
                                                                   Insurance Policy (Foreign Liability - Policy Number(s): WR10004788)
1724 Insurance Company of the State of PA (AIG) $            -
1725 Inteplast Building Products                $            -     MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1726 Interdesign                                $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
1727 Interlake Mecalux Inc                      $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
1728 Interlube International                    $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   MSC Program Agreement(s)
1729 Intermatic Inc                             $            -     MSC Program Agreement(s)
                                                                   HR Services Agreement (International Finance Group IFG - Agency and Recruiting Agreement 2021)
1730 International Finance Group                $            -
1731 International Food Associates Inc          $            -     MSC Program Agreement(s)
1732 International Forest Products Corp         $            -     MSC Program Agreement(s)
1733 International Mulch Company                $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1734 Intersport Corp Dba Wham O                 $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1735 Interstate All Battery Ctr                 $            -
                                                                   MSC Program Agreement(s)
                                                                   Building Maintenance & Services Agreement (IGS Natural Gas Supply Agreement_Illinois 2024)
1736 Interstate Gas Supply, Igs                 $            -     Building Maintenance & Services Agreement (IGS Electricity Supply Agreement_Cleveland 2024)
                                                                   Software Agreement (Trend Micro Inc EULA-Master Agreement - Addendum)
                                                                   MSC Program Agreement(s)
1737 Intertape Polymer Group                    $            -
                                                                   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1738 Intex Recreation                           $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   Conversion Agreement(s)
1739 Intex Supply Co                            $            -
                                                                   MSC Program Agreement(s)
1740 Intex Supply Company                       $            -     MSC Program Agreement(s)
1741 Intradin Hk Co., Limited                   $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1742 Intruder Inc                               $            -     Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
1743 Intuit Inc.                                $            -     Software Agreement (Intuit Quickbooks Online Plus Subscription - True Value Foundation)
                                                                   MSC Program Agreement(s)
1744 Inventel Products LLC                      $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1745   Invisiclimb Inc                          $            -     MSC Program Agreement(s)
1746   Invisiplug LLC                           $            -     Reunion Market Special/Retail Assortment Agreement(s)
1747   Iowa Rotocast Plastics                   $            -     MSC Program Agreement(s)
1748   Iowa Smokehouse/Preferred Wholesale      $            -     MSC Program Agreement(s)
1749   Ips Corporation                          $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
1750 Iris USA Inc                               $            -
                                                                   MSC Program Agreement(s)
1751 Iron & Oak                                 $            -     MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
1752 Ironclad Performance Wear                  $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1753 Ironite Products Co                        $            -     MSC Program Agreement(s)
1754 Irving Forest Products                     $            -     MSC Program Agreement(s)
1755 Irwin Industrial Tool Co                   $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Professional Services Agreement (Information Services Group (ISG) Americas, Inc. - Master
1756 Isg Information Services Group Americas    $            -     Service Agreement)
                                                                   Professional Services Agreement (Sovos Unclaimed Property Managed Services)
1757 Island Cowgirl Jewelry                     $            -     MSC Program Agreement(s)
1758 Isuzu Commercial Truck                     $            -     MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1759 Itw Brands                                 $            -
                                                                   MSC Program Agreement(s)
1760 Itw Consumer                               $            -     MSC Program Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1761 Itw Global Brands                          $            -     Retail Marketing Fund Agreement(s)
                                                                   MSC Program Agreement(s)
1762 Itw Pro Brands                             $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Master Services Agreement (Advantage Workforce Solutions MSA + SOW)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
1763 J & M Home Fashions LLC                    $            -     Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
                                                                   Software Maintenance Agreement (J & R Schugel Trucking - Transportation Agreements
1764 J & R Schugel Trucking Inc                 $      41,832.56
                                                                   Contracted Carrier)
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                                                Amount (1)
1765 J America Inc                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
1766 J Berry Nursery                        $            -   MSC Program Agreement(s)
1767 J H Radebaugh Inc                      $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1768 J S Products                           $            -
                                                             Conversion Agreement(s)
1769 J S Products Inc                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
1770 J&J Global LLC                         $            -   MSC Program Agreement(s)
1771 J. Hamilton Electric Company Inc.      $            -   Goods Purchase Agreement (J. Hamilton Electric Company - TVM Toll Filling Agreement)
                                                             Software Maintenance Agreement (J.A Frate Inc - Transportation Agreements Contracted
1772 J.A. Frate Inc                         $      10,158.65
                                                             Carrier)
                                                             Software Maintenance Agreement (J.B. Hunt Transport - Transportation Agreements
1773 J.B. Hunt Transport, Inc               $     484,184.55
                                                             Contracted Carrier)
                                                             MSC Program Agreement(s)
1774 Jack Links                             $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1775 Jack Mfg. LLC                          $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1776 Jack Post Corp                         $            -
                                                             MSC Program Agreement(s)
1777 Jackel Inc                             $            -   MSC Program Agreement(s)
                                                             Master Services Agreement (Jackpine Engineering MSA)
1778 Jackpine Engineering                   $            -
                                                             Statement of Work (Jackpine SOW 1 Labor Mgmt Value Stream Assessment - Kingman RDC)
1779   Jackson Deerfield                    $            -   MSC Program Agreement(s)
1780   Jackson Industries Inc               $            -   MSC Program Agreement(s)
1781   Jackson Pottery                      $            -   MSC Program Agreement(s)
1782   Jada Stixx LLC                       $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1783 Jakks/Funnoodle                        $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1784 Jandorf Specialty Hardware             $            -
                                                             MSC Program Agreement(s)
1785 Janey Lynns Designs                    $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1786 Jarden Applied Materials               $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1787 Jarden Consumer Services               $            -   MSC Program Agreement(s)
                                                             Building Maintenance & Services Agreement (Wilks-Barre Compactor Solution)
                                                             Building Maintenance & Services Agreement (Waste Equipment Rentals & Sales Contract Wilkes
1788 Jarden Consumer-Domestic               $            -   Barre 2024)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1789 Jarden Consumer-Heater/Hum             $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1790 Jarden Home Brands                     $            -
                                                             MSC Program Agreement(s)
1791 Jarral Inc                             $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1792 Jasco Products Company                 $            -   MSC Program Agreement(s)
                                                             Conversion Agreement(s)
                                                             MSC Program Agreement(s)
1793 Jason Industrial                       $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1794   Jaxma Greenhouses Inc                $            -   MSC Program Agreement(s)
1795   Jay Manufacturing                    $            -   MSC Program Agreement(s)
1796   Jazwares LLC                         $            -   MSC Program Agreement(s)
1797   JB Development Group, LLC            $            -   Master Services Agreement (JB Development Group MSA 2023)
1798   Jb Greenhouse Inc                    $            -   MSC Program Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
                                                             MSC Program Agreement(s)
1799 J-B Weld Co                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
1800 Jcb Inc.                               $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1801 Jdj Solutions LLC                      $            -
                                                             Conversion Agreement(s)
                                                             Conversion Agreement(s)
1802 Jed Pool Tools Inc                     $            -
                                                             MSC Program Agreement(s)
1803 Jeff Benintendi (Tvm Sales Rep)        $            -   Software Maintenance Agreement (TVM Sales Representative Agreement 2020)
1804 Jefferson Home Fashions                $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1805 Jelmar                                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
1806   Jen Manufacturing Inc                $            -   Reunion Market Special/Retail Assortment Agreement(s)
1807   Jeremie Corporation                  $            -   MSC Program Agreement(s)
1808   Jet Hardware Mfg.                    $            -   MSC Program Agreement(s)
1809   Jet/Wilton(Jpw Industries)           $            -   MSC Program Agreement(s)
1810   Jewelers Resource Co.                $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1811 Jewett Cameron Company                 $            -
                                                             MSC Program Agreement(s)
1812 Jfl Enterprises Inc                    $            -   MSC Program Agreement(s)
1813 Jgb Enterprises Inc                    $            -   MSC Program Agreement(s)


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                                                        Amount (1)
                                                                     Assignment (JH Kang Consulting Engagement Letter 2024)
1814 Jh Kang Consulting LLC                         $           -
                                                                     Consulting Agreement (JH Kang Consulting Agreement 2023)
                                                                     Professional Services Agreement (Independent Contractor Agreement Addendum 1 HRIS - Jill
                                                                     Clarke)
1815 Jill Clarke - Independent Contractor           $           -    Conversion Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     MSC Program Agreement(s)
1816 Jjaamm LLC                                     $           -
                                                                     Conversion Agreement(s)
1817 Jlg Industries, Inc.                           $           -    MSC Program Agreement(s)
1818 Jm Eagle                                       $           -    MSC Program Agreement(s)
1819 Jm Enterprises Inc                             $           -    MSC Program Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
1820 Jm Smucker Retail Sales                        $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
1821   Jmk-Iit Inc                                  $           -    MSC Program Agreement(s)
1822   Jodi International/Fourpaws                  $           -    MSC Program Agreement(s)
1823   Jody's Inc                                   $           -    MSC Program Agreement(s)
1824   John Deere Retail Construction Sale          $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
1825 Johns Manville Intl Inc                        $           -
                                                                     MSC Program Agreement(s)
                                                                     Building Maintenance & Services Agreement (Johnson Controls Sales Agreement_Video Services
                                                                     for Denver_2022)
       Johnson Controls International Place D/B/A                    Building Maintenance & Services Agreement (Johnson Controls Sales Agreement_Alarm Services
1826                                                $           -    for Denver_2022)
       Johnson Controls Security Solution, LLC
                                                                     Building Maintenance & Services Agreement (Johnson Controls Sales Agreement_Burglar Alarm
                                                                     Services for Denver_2022)
1827 Johnson Controls, Inc.                         $           -    Equipment Repair Agreement (Johnson Controls - Badge System Support)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
1828 Johnson Level & Tool                           $           -    Conversion Agreement(s)
                                                                     MSC Program Agreement(s)
1829 Johnson Outdoors/Eureka Tent                   $           -    MSC Program Agreement(s)
1830 Jomar Table Linens                             $           -    MSC Program Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
                                                                     MSC Program Agreement(s)
1831 Jonathan Green & Sons, Inc.                    $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Conversion Agreement(s)
                                                                     Building Maintenance & Services Agreement (Jones Lang LaSalle Americas Real Estate
1832 Jones Lang Lasalle                             $           -
                                                                     Agreement)
1833   Jones Natural Chews Co                       $           -    MSC Program Agreement(s)
1834   Jones-Stephens Corporation                   $           -    MSC Program Agreement(s)
1835   Jordan Mfg Co Inc                            $           -    Reunion Market Special/Retail Assortment Agreement(s)
1836   Jore Corporation                             $           -    MSC Program Agreement(s)
                                                                     MSC Program Agreement(s)
1837 Joseph Enterprises Inc                         $           -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
1838 Joseph Joseph                                  $           -    MSC Program Agreement(s)
1839 Joyce Chen Products                            $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
1840 Jrk Seed & Turf Supply                         $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
1841   Jrm Chemical                                 $           -    MSC Program Agreement(s)
1842   Jt Sports                                    $           -    MSC Program Agreement(s)
1843   Juka Innovations Corporation                 $           -    MSC Program Agreement(s)
1844   Jungle Nursery, The                          $           -    MSC Program Agreement(s)
1845   Justrite Mfg Co                              $           -    MSC Program Agreement(s)
                                                                     Building Maintenance & Services Agreement (K & G Patton Enterprises Waste Service and Rental
1846 K & G Patton Enterprises                       $           -    Agreement for Atlanta 2024)
                                                                     Software Agreement (Smackcoders - WP Ultimate CSV Importer Pro)
1847 K & M International                            $           -    MSC Program Agreement(s)
1848 K & S Precision Metals                         $           -    MSC Program Agreement(s)
1849 K Co Products LLC                              $           -    MSC Program Agreement(s)
                                                                     MSC Program Agreement(s)
1850 K&K Interiors Inc                              $           -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
1851 K&M Manufacturing                              $           -    MSC Program Agreement(s)
1852 K.C. Schaefer Supply                           $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
1853 Kab Enterprise Co Ltd                          $           -
                                                                     MSC Program Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
1854 Kaba Ilco Corp                                 $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                                     MSC Program Agreement(s)
1855   Kaemingk International                       $           -    MSC Program Agreement(s)
1856   Kahootz LLC                                  $           -    MSC Program Agreement(s)
1857   Kaiser Aluminum Fabricated Prod              $           -    MSC Program Agreement(s)
1858   Kalamazoo Flower Group LLC                   $           -    MSC Program Agreement(s)

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 ID              Counterparty Name                                                  Summary of Contracts / Descriptions (2)(3)
                                               Amount (1)
                                                            MSC Program Agreement(s)
1859 Kalorik                               $            -
                                                            Conversion Agreement(s)
                                                            Goods Purchase Agreement (Kamps Pallets - Service Agreement)
1860 Kamps Pallets                         $      47,993.03 Building Maintenance & Services Agreement (Kamps Pallet Services Amendment 2025)

1861 Kankakee Nursery Co                   $            -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1862 Kaps Tex Co Ltd                       $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1863 Karcher                               $            -    MSC Program Agreement(s)
1864 Karls Event Rental                    $            -    MSC Program Agreement(s)
1865 Karol Bolts & Fasteners               $            -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
1866 Karp Associates                       $            -
                                                             Conversion Agreement(s)
                                                             HR Services Agreement (Katalyst Group - Agency and Recruiting Agreement 2020)
1867 Katalyst Group                        $            -
                                                             MSC Program Agreement(s)
1868 Kay Home Products                     $            -    MSC Program Agreement(s)
1869 Kaytee Pet                            $            -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
1870 Kaz Usa                               $            -    Conversion Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1871 Kaz, Inc.                             $            -    MSC Program Agreement(s)
                                                             Conversion Agreement(s)
1872 Keelvar Systems Ltd                   $            -    Software Subscription Agreement (Keelvar Transportation Procurement SaaS Subscription)
1873 Keg Products                          $            -    MSC Program Agreement(s)
1874 Kehe Distributors LLC                 $            -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
1875 Kellogg Supply Inc                    $            -
                                                             MSC Program Agreement(s)
1876 Kelly Services                        $            -    Master Services Agreement (Kelly Services Agency and Recruiting Agreement)
                                                             Building Maintenance & Services Agreement (AT&T Dedicated Internet - CARY)
1877 Kelly-Moore Paint Company, Inc.       $            -    Professional Services Agreement (Kelly-Moore Toll Manufacturing)
                                                             Professional Services Agreement (Shopify Master Agreement for Cary Paint Store)
                                                             Building Maintenance & Services Agreement (Engie Resources - Freeport Electricity Agreement
                                                             2023)
                                                             Building Maintenance & Services Agreement (Engie Resources - Corsicana Electricity Agreement
                                                             2024)
1878 Kenneth, Nicholas & Associates        $            -    Master Services Agreement (Engie Resources - Electricity ILLINOIS - Master Energy Sales
                                                             Agreement 2023)
                                                             Master Services Agreement (Engie Resources - Wilkes Barre Natural Gas Agreement 2023)
                                                             HR Services Agreement (Kenneth, Nicholas & Associates - Agency and Recruiting Agreement 2020)


                                                            MSC Program Agreement(s)
1879 Kenney Mfg Co                         $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
1880 Kennys Candy And Confections Inc      $            -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1881 Kenroy Home                           $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1882 Kent Displays Inc                     $            -   MSC Program Agreement(s)
1883 Kenwood/Aplm Distributing             $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1884 Kessler Sales & Distribution          $            -
                                                            Conversion Agreement(s)
1885 Keter North America                   $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1886 Keurig Green Mountain                 $            -
                                                            Conversion Agreement(s)
1887   Kewill Inc.                         $            -   Professional Services Agreement (Upgrade Kewill functionality to support new eCom design)
1888   Key Industries. Inc.                $            -   MSC Program Agreement(s)
1889   Keyless Ride                        $            -   MSC Program Agreement(s)
1890   Keypsake, Inc.                      $            -   MSC Program Agreement(s)
1891   Keystone Group Inc                  $            -   MSC Program Agreement(s)
1892   Keystone Mfg.                       $            -   MSC Program Agreement(s)
1893   Keystone Steel & Wire               $            -   MSC Program Agreement(s)
1894   Kforce Inc.                         $      60,500.00 Master Services Agreement (Kforce Consulting Services Agreement 2022)
1895   Kidco, Inc.                         $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1896 Kidde Plc                             $            -
                                                            MSC Program Agreement(s)
1897 Kidde Safety                          $            -   MSC Program Agreement(s)
1898 Kiefer America LLC                    $            -   MSC Program Agreement(s)
1899 Kik Consumer Products                 $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
1900 Kik International LLC                 $            -
                                                            Conversion Agreement(s)
1901 Kikkerland Design                     $            -   MSC Program Agreement(s)
1902 Killer Concepts Inc                   $            -   MSC Program Agreement(s)


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                                             Amount (1)
                                                          MSC Program Agreement(s)
1903 Kimberly Clark/Scott Diy Bus        $            -   Conversion Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Conversion Agreement(s)
1904 Kinco International                 $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1905 King Innovation                     $            -   MSC Program Agreement(s)
1906 Kinter                              $            -   MSC Program Agreement(s)
1907 Kirk Company                        $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1908 Kittrich Corp.                      $            -   Conversion Agreement(s)
                                                          MSC Program Agreement(s)
                                                          Professional Services Agreement (Kivu Recovery SOW and Addendum Cyber Event)
1909 Kivu Consulting, Inc.               $            -
                                                          Professional Services Agreement (Kivu SOW and SOW Addendum Cyber Event)
                                                          Conversion Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1910 Klein Tools                         $            -   Retail Marketing Fund Agreement(s)
                                                          MSC Program Agreement(s)
1911 Klements Sausage Co                 $            -   MSC Program Agreement(s)
1912 Kmc Holdings LLC                    $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
1913 Knape & Vogt Mfg. Co                $            -
                                                          MSC Program Agreement(s)
                                                          Professional Services Agreement (Forrester Research MSA Renewal)
                                                          HR Services Agreement (The Cara Group - Oracle Financial Training Project 2020)
1914 Knex Limited Partnership Group      $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Software Maintenance Agreement (Knight Transportation - Transportation Agreements Contracted
1915 Knight Transportation               $            -
                                                          Carrier)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Retail Marketing Fund Agreement(s)
1916 Knox Fertilizer Company Inc         $            -   MSC Program Agreement(s)
                                                          Conversion Agreement(s)
1917 Kohler/Sterling                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
1918 Koopman International Bv            $            -   MSC Program Agreement(s)
                                                          Master Services Agreement (Korber Master Service Agreement)
                                                          SaaS Agreement (Korber Order Management SAAS 2023)
1919 Korber Supply Chain Us, Inc.        $     665,509.85 SaaS Agreement (Korber Warehouse Management SAAS 2023)
                                                          SaaS Agreement (Korber Warehouse Management - Bartender Subscription SAAS)
                                                          Statement of Work (Korber SOW 2 CO 2 OMS Implementation)
1920   Korpack                           $      69,651.78   Goods Purchase Agreement (Korpack Packaging Contract - Corrugate, Stretch Wrap)
1921   Koshin America Corp               $            -     MSC Program Agreement(s)
1922   Kraco Enterprises LLC             $            -     MSC Program Agreement(s)
1923   Kraemers Nursery Inc              $            -     MSC Program Agreement(s)
1924   Krauter Auto-Stak                 $            -     MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1925 Kreg Tool Company                   $            -
                                                            MSC Program Agreement(s)
1926   Krud Kutter Inc                   $            -     MSC Program Agreement(s)
1927   Krueger-Maddux Greenhouses        $            -     MSC Program Agreement(s)
1928   Krylon Diversified Brands         $            -     Conversion Agreement(s)
1929   Kubota Canada Ltd                 $            -     MSC Program Agreement(s)
1930   Kubota Tractor Corporation        $            -     MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
1931 Kurt S Adler Co                     $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1932   Kushlan Products LLC              $            -     MSC Program Agreement(s)
1933   Kw Incorporated                   $            -     MSC Program Agreement(s)
1934   Kw Textile Inc                    $            -     MSC Program Agreement(s)
1935   Kwal Paint                        $            -     MSC Program Agreement(s)
1936   Kwik-Covers Of New York           $            -     MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
1937 Kwikset                             $            -     Conversion Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Master Services Agreement (Kyndryl CSA 2024)
1938 Kyndryl, Inc.                       $            -
                                                            Statement of Work (Kyndryl Mainframe Zcloud Renewal 2024-2026)
1939 Kyodo America Industries Co         $            -     MSC Program Agreement(s)
1940 L E Johnson                         $            -     MSC Program Agreement(s)
1941 L.B. White                          $            -     MSC Program Agreement(s)
                                                            Goods Purchase Agreement (TVM LA Chemical Supply Agreement Cary 2024)
1942 La Chemicals Ltd                    $            -     Goods Purchase Agreement (LA Chemicals LTD Agreement TVM)
                                                            Software Agreement (Smartsheet Enterprise Software and Support 2024)




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                                                                 Retail Marketing Fund Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1943 La Crosse Technology Ltd                   $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
1944 Label Logic Inc                            $            -   MSC Program Agreement(s)
1945 Labtest International, Inc.                $       3,121.80 Software Maintenance Agreement (Labtest International Inc (Intertek) MSA
                                                                 Conversion Agreement(s)
1946 Laco/Markal                                $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1947   Lagasse Bros/Un Stationers               $            -   MSC Program Agreement(s)
1948   Lake County Nursery                      $            -   MSC Program Agreement(s)
1949   Lake Forest Center For Leadership        $            -   HR Services Agreement (Lake Forest Center for Leadership Coaching Agreement)
1950   Lake States Lumber Inc.                  $            -   MSC Program Agreement(s)
1951   Lake Valley Seed                         $            -   MSC Program Agreement(s)
1952   Lambert Peat Moss Inc.                   $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1953 Lambro Industries                          $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
                                                                 Conversion Agreement(s)
1954 Lamplight Farms                            $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 HR Services Agreement (Katalyst Group - Agency and Recruiting Agreement 2020)
1955 Lamson Home Products                       $            -
                                                                 MSC Program Agreement(s)
1956 Lancer & Loader Group LLC                  $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
1957 Land O'Lakes Purina Feed LLC               $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
1958 Landmann Usa                               $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1959 Landmark Plastic Corporation               $            -   MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (Landsberg Engineering Solutions Equipment
1960 Landsberg Engineered Packaging Solutions   $       8,998.27
                                                                 Purchase Denver)
                                                                 Software Maintenance Agreement (Landstar Ranger Inc - Transportation Agreement Contracted
1961 Landstar Ranger Inc                        $            -
                                                                 Carrier)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1962 Larsen Supply Co., Inc.                    $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
1963 Larson Mfg Co                              $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1964 Laser Bonding Tech-Bondic                  $            -
                                                                 Conversion Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)
1965 Lasko Products                             $            -   MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
                                                                 Marketing Services Agreement (Laughlin Constable MSA)
                                                                 Marketing Services Agreement (Laughlin Constable - ATB for Media execution in 2024)
1966 Laughlin Constable                         $     237,140.00
                                                                 Marketing Services Agreement (Laughlin Constable SOW 2024-02 Media Campaigns for Member
                                                                 Stores 2024)
1967 Launch Consulting (Formerly Strive)        $            -   Master Services Agreement (Strive Consulting MSA)
1968 Laurey Co Inc                              $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
1969 Lavelle Industries Inc                     $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1970 Laverne Nursery Inc                        $            -   MSC Program Agreement(s)
1971 Lawn & Garden LLC                          $            -   Conversion Agreement(s)
1972 Lawn Solutions                             $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1973 Lawson Products, Inc.                      $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Building Maintenance & Services Agreement (Republic Services Waste Agreement for Freeport
                                                                 2023 - Cary)
1974 Lbg Distribution Inc                       $            -   Consulting Agreement (Planet Forward Consulting Agreement)
                                                                 Professional Services Agreement (Senior Infrastructure Program Manager)
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
1975 Leaktite                                   $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
1976 Leanin Tree Inc.                           $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
1977 Leatherman Tool Group Inc                  $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
1978 Lebanon Seaboard Seed Corp                 $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)


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1979   Lechuza                             $           -    MSC Program Agreement(s)
1980   Ledup Manufacturing Group Ltd       $           -    Reunion Market Special/Retail Assortment Agreement(s)
1981   Ledvance LLC                        $           -    MSC Program Agreement(s)
1982   Leech Products                      $           -    MSC Program Agreement(s)
1983   Legacy Companies, The               $           -    MSC Program Agreement(s)
1984   Legacy Mfg. Co.                     $           -    Reunion Market Special/Retail Assortment Agreement(s)
1985   Legacy Publishing Group Inc         $           -    MSC Program Agreement(s)
1986   Leidos, Inc.                        $           -    Professional Services Agreement (Leidos Environmental Compliance Support 2024)
1987   Leisure Distributors                $           -    MSC Program Agreement(s)
1988   Leisure Products Canada             $           -    MSC Program Agreement(s)
1989   Leslie Kandel                       $           -    Professional Services Agreement (Business Analyst)
                                                            Conversion Agreement(s)
1990 Let'S Gel, Inc.                       $           -
                                                            MSC Program Agreement(s)
1991 Levi Strauss & Co.                    $           -    MSC Program Agreement(s)
                                                            Software Agreement (Master and SOW / Software License Agreement)
                                                            Software Agreement (Levi, Ray & Shoup, Inc)
                                                            Software Agreement (Levi, Ray & Shoup Amendment to Software License Schedule IL0092)
1992 Levi, Ray, And Shoup, Inc.            $           -    Software Agreement (Levi, Ray & Shoup (LRS) - DRS, VPS, VPS/TCPIP Support Renewal 2024)
                                                            Software Agreement (Levi, Ray & Shoup (LRS) Software Maintenance Support Renewal - EOM
                                                            Product Suite1 - 2024)
1993   Leviton Mfg Co                      $           -    MSC Program Agreement(s)
1994   Levolor Corp                        $           -    MSC Program Agreement(s)
1995   Levolor Inc/Hunter Douglas          $           -    MSC Program Agreement(s)
1996   Lewis Hyman Inc                     $           -    MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
1997 Lewis Lifetime Tools                  $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Master Services Agreement (Lexmark Printer Copier Master Agreement)
                                                            Amendment (Lexmark Amendment 3 adding RSC to RDC SOW)
                                                            Amendment (Lexmark Amendment 4 Cary TVM SOW)
                                                            Amendment (Lexmark - Amendment to Harvard & Corsicana Printer/Copier SOW)
1998 Lexmark International Inc.            $       2,969.25 Amendment (Lexmark Amendment to Cary Printer /Copier SOW)
                                                            Equipment Lease Agreement (Lexmark Cary Printer Copier SOW)
                                                            Equipment Lease Agreement (Lexmark Corsicana and Harvard Printer Copier SOW)
                                                            Lease Agreement (IT Equipment Lease)
1999 Lfs Glove                             $           -    MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2000 Lhb Industries                        $           -    MSC Program Agreement(s)
                                                            Conversion Agreement(s)
2001 Li & Fung                             $           -    MSC Program Agreement(s)
2002 Liberty Ammunition Inc                $           -    MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2003 Liberty Garden Products Inc           $           -    Retail Marketing Fund Agreement(s)
                                                            Conversion Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2004 Liberty Hardware                      $           -
                                                            MSC Program Agreement(s)
2005   Liberty Mutual                      $           -    HR Services Agreement (Liberty Mutual - Group Disability Policy and HR Benefits)
2006   Liberty Safe & Security Prod        $           -    MSC Program Agreement(s)
2007   Libman Company                      $           -    MSC Program Agreement(s)
2008   Libra Inc                           $           -    MSC Program Agreement(s)
2009   Liesener Soils Inc.                 $           -    MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2010 Life Gear Inc                         $           -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
2011 Lifetime Brands                       $           -
                                                            Conversion Agreement(s)
2012 Lifetime Hong Kong Ltd                $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
2013 Lifetime Leisure                      $           -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2014   Lifeworks Technology Group LLC      $           -    Reunion Market Special/Retail Assortment Agreement(s)
2015   Lifoam Industries LLC               $           -    Reunion Market Special/Retail Assortment Agreement(s)
2016   Lightning Strike LLC                $           -    Reunion Market Special/Retail Assortment Agreement(s)
2017   Lights Of America                   $           -    MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
2018 Lignetics                             $           -
                                                            Conversion Agreement(s)
2019   Lignetics Of Virginia               $           -    MSC Program Agreement(s)
2020   Likwid Concepts LLC                 $           -    Reunion Market Special/Retail Assortment Agreement(s)
2021   Lima Greenhouses Inc                $           -    MSC Program Agreement(s)
2022   Limitless Search Inc                $           -    HR Services Agreement (Limitless Search - Agency and Recruiting Agreement 2021)
                                                            MSC Program Agreement(s)
2023 Lincoln Electric Co                   $           -    Conversion Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2024 Lincoln Industrial/Mityvac            $           -    MSC Program Agreement(s)
2025 Lincoln Nurseries Inc                 $           -    MSC Program Agreement(s)

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                                                 Amount (1)
2026 Lindstrom                               $           -    MSC Program Agreement(s)
2027 Link Handle Div of Seymour              $           -    MSC Program Agreement(s)
                                                              Professional Services Agreement (LinkedIn Subscription Agreement (LSA))
                                                              Professional Services Agreement (LinkedIn Learning Enterprise Hub - All Languages)
2028 LinkedIn                                $           -    Professional Services Agreement (Linked In Glint Engage and Lifecycle)
                                                              Software Agreement (LinkedIn Corporate Package)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2029 Linzer/American Brush                   $           -
                                                              MSC Program Agreement(s)
2030   Lionel LLC                            $           -    MSC Program Agreement(s)
2031   Lipper International, Inc.            $           -    MSC Program Agreement(s)
2032   Liqi Electrical Appliance Co Ltd      $           -    Reunion Market Special/Retail Assortment Agreement(s)
2033   Liquid Fence Co Inc                   $           -    MSC Program Agreement(s)
2034   Liquifix Inc                          $           -    MSC Program Agreement(s)
2035   Lisle Corporation                     $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2036 Lithonia Lighting                       $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2037   Littelfuse Inc                        $           -    MSC Program Agreement(s)
2038   Little Beaver Inc                     $           -    MSC Program Agreement(s)
2039   Little Giant/Franklin Electric        $           -    MSC Program Agreement(s)
2040   Little Tikes                          $           -    MSC Program Agreement(s)
2041   Live Edge Timber Co                   $           -    Conversion Agreement(s)
2042   Live Trends Design Group              $           -    MSC Program Agreement(s)
2043   Livetrends Design Group               $           -    MSC Program Agreement(s)
2044   Living Colors Nursery Inc             $           -    MSC Program Agreement(s)
2045   Living Essentials                     $           -    Reunion Market Special/Retail Assortment Agreement(s)
2046   Living Royal                          $           -    MSC Program Agreement(s)
2047   Lixit Corporation                     $           -    Conversion Agreement(s)
2048   Lloyd Harbor Partners LLC             $           -    MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2049 Lodge Mfg.                              $           -
                                                              MSC Program Agreement(s)
2050   Loen Nursery Inc                      $           -    MSC Program Agreement(s)
2051   Logicalis                             $           -    Professional Services Agreement (Logicalis Master Agreement)
2052   Logo Mats LLC                         $           -    MSC Program Agreement(s)
2053   Loma Vista Nursery Inc                $           -    MSC Program Agreement(s)
2054   Lomanco                               $           -    MSC Program Agreement(s)
2055   Lotus International Inc               $           -    MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2056 Louisville Ladder                       $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
2057 Lovell Designs                          $           -    MSC Program Agreement(s)
                                                              Software Agreement (SonarSource Developer Edition Software License)
2058 Lowe Manufacturing Co Inc               $           -
                                                              MSC Program Agreement(s)
2059   Lozier Corporation                    $           -    Software Maintenance Agreement (Lozier - Customer Inventory Agreement 2020)
2060   Lozier Store Fixtures                 $           -    MSC Program Agreement(s)
2061   lps Laboratories                      $           -    MSC Program Agreement(s)
2062   Ltl Home Products Inc                 $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2063 Lucas Oil Products                      $           -
                                                              MSC Program Agreement(s)
                                                              Software Agreement (Lucid Software Inc. Flowchart Diagrams - Sales and Support 2024)
2064 Lucid Software                          $           -
                                                              Software Agreement (Lucid Software Inc. Flowchart Diagrams - 2024)
2065 Lucky Line                              $           -    MSC Program Agreement(s)
                                                              Professional Services Agreement (Lumen Technologies Order Form for Circuit - RSC)
                                                              Software Maintenance Agreement (Centurylink Master Telecom Agreement)
2066 Lumen Technologies                      $           -    MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
2067 Lupine Inc                              $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2068 Luster Leaf Inc                         $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2069 Lutron Electronics Inc                  $           -
                                                              MSC Program Agreement(s)
2070   Luurtsema Sales, Inc.                 $           -    MSC Program Agreement(s)
2071   Lux Products Corp                     $           -    MSC Program Agreement(s)
2072   Luxor                                 $           -    MSC Program Agreement(s)
2073   Lynwood Laboratories                  $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2074 M Block & Sons Inc/Zero Odor            $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2075 M D Building Products                   $           -    MSC Program Agreement(s)
2076 M Rothman Group                         $           -    MSC Program Agreement(s)
                                                              Software Subscription Agreement (Bee Content Design, Inc. - Software Subscription)
2077 M&G Duravent Inc                        $           -
                                                              MSC Program Agreement(s)
2078 M.Block & Sons                          $           -    MSC Program Agreement(s)


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                                                 Amount (1)
                                                              MSC Program Agreement(s)
2079 Maas International Inc                  $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2080 Maasdam- Dead On/Hart Tools             $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2081 Maasdam Power-Pull Inc                  $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
                                                              Conversion Agreement(s)
2082 Maax Bath Inc                           $           -
                                                              MSC Program Agreement(s)
2083   Mac Kissic Inc                        $           -    MSC Program Agreement(s)
2084   Maccourt Products Inc                 $           -    MSC Program Agreement(s)
2085   Mack Boring And Parts                 $           -    MSC Program Agreement(s)
2086   MacKinney Systems, Inc.               $           -    Hardware Agreement (MacKinney Systems - Kwik Key Maintenance Renewal 2024)
                                                              Conversion Agreement(s)
2087 Madesmart Housewares                    $           -
                                                              MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2088 Madison Mill                            $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Building Maintenance & Services Agreement (Madix Letter of Commitment)
2089 Madix Inc.                              $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2090 Mag Instrument Inc                      $           -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2091 Maggies Farm Ltd                        $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2092 Magic American Corp/Homax               $           -    MSC Program Agreement(s)
2093 Magic Gumball International             $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2094 Magic Sliders L P                       $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2095 Magid Glove & Safety Mfg.               $           -
                                                              MSC Program Agreement(s)
2096   Magla Products                        $           -    MSC Program Agreement(s)
2097   Magna Industries                      $           -    Reunion Market Special/Retail Assortment Agreement(s)
2098   Magnolia Brush Mfg Inc                $           -    MSC Program Agreement(s)
2099   Maibec Inc                            $           -    MSC Program Agreement(s)
2100   Maid Brands Inc                       $           -    MSC Program Agreement(s)
                                                              Order Form (Mailchimp - Automation & Email Platform 2024 - Specialty Business)
2101 Mailchimp                               $           -    Order Form (Mailchimp - Automation & Email Platform)
                                                              Software Agreement (Mailchimp - Automation & Email Platform 2024 - Marketing)
2102 Maine Woods Pellet Co                   $           -    MSC Program Agreement(s)
2103 Mainline Information Systems, Inc.      $           -    Software Agreement (Mainline-CA Broadcom Software MSU RENEWAL 2024-2025)
2104 Makinex USA LLC                         $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2105 Makita USA Inc                          $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2106 Malco Products Inc                      $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2107 Malish Corporation, The                 $           -    MSC Program Agreement(s)
2108 Mallard Creek Inc                       $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2109 Manchester Tank & Equip                 $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
2110 Mandeeps.Com                            $           -    Software Subscription Agreement (Mandeeps.com DNN Essentials Ultimate Renewal 2024)
2111 Manhattan Associates, Inc.              $           -    Assignment (Manhattan Assignment of Shurline PKMS licenses to TVM - Cary)
2112 Manning Building Products               $           -    MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (Mansfield Bulk Fuel Amendment 2024)
                                                              Goods Purchase Agreement (True Value - Mansfield Oil Agreement)
2113 Mansfield Oil                           $           -    Transportation Services Agreement (Mansfield Bulk Fuel Second Amendment 2024 Renewable Fuel
                                                              Source)
                                                              MSC Program Agreement(s)
2114   Mansfield Plumbing Products           $           -    MSC Program Agreement(s)
2115   Manubric                              $           -    Conversion Agreement(s)
2116   Maple Avenue LLC                      $           -    MSC Program Agreement(s)
2117   Maple Leaf Nurseries Ltd              $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2118 Marastar LLC                            $           -    Retail Marketing Fund Agreement(s)
                                                              Conversion Agreement(s)
2119 Marathon Industries                     $           -    MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2120 March Products Inc                      $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2121   Marchioro USA Inc                     $           -    MSC Program Agreement(s)
2122   Margo Garden Products                 $           -    MSC Program Agreement(s)
2123   Mariachi Imports Inc                  $           -    MSC Program Agreement(s)
2124   Mariner Biomedical Inc                $           -    MSC Program Agreement(s)
2125   Markman Peat Company                  $           -    MSC Program Agreement(s)


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 ID               Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
                                                                 MSC Program Agreement(s)
2126 Marmon Home Improvement Prod               $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2127 Mars Fishcare North America                $            -   MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
2128 Mars Petcare Us Inc                        $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
2129 Marshalltown                               $            -
                                                                 Conversion Agreement(s)
2130 Marth Wood Shavings Supply Co              $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2131 Martin Wheel Co., Inc., The                $            -
                                                                 Conversion Agreement(s)
2132 Marwin Company Inc, The                    $            -   MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (Marx Sheet Metal & Mechanical Inc - HVAC
                                                                 Maintenance 2020)
2133 Marx Sheet Metal & Mechanical Inc          $            -   Training Services Agreement (Speaker Services - Rory Vaden)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
2134 Maryland China Company                     $            -   MSC Program Agreement(s)
2135 Marys Alpaca LLC                           $            -   MSC Program Agreement(s)
2136 Masonite Corp                              $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2137 Masontops Inc                              $            -
                                                                 Conversion Agreement(s)
2138 Masonways Indestructibl Plas               $            -   MSC Program Agreement(s)
2139 Massarelli's                               $            -   MSC Program Agreement(s)
2140 Master Brands Hk Limited                   $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2141 Master Gardner Company                     $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
2142 Master Gardner Company, The                $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2143 Master Lock Co                             $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
2144 Master Magnetics                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
2145 Master Mark Plastics Inc                   $            -   MSC Program Agreement(s)
2146 Masterbrand Cabinets Nc                    $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2147 Masterchem Industries                      $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
2148   Mastercraft Ind Inc                      $            -   MSC Program Agreement(s)
2149   Master-Halco Inc                         $            -   MSC Program Agreement(s)
2150   Masterpieces Inc                         $            -   MSC Program Agreement(s)
2151   Mastertag                                $            -   MSC Program Agreement(s)
2152   Mastery Logistics Systems, Inc.          $            -   Building Maintenance & Services Agreement (Mastery Logistics Systems, Inc. NDA 2022 -2025)
                                                                 Retail Marketing Fund Agreement(s)
2153 Mat Industries LLC                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
2154 Matson LLC                                 $            -   MSC Program Agreement(s)
2155 Mattel Inc                                 $            -   MSC Program Agreement(s)
                                                                 Professional Services Agreement (Matterport Annual Professional Plus Subscription 2024)
2156 Matterport                                 $            -
                                                                 MSC Program Agreement(s)
                                                                 Individual Independent Contractor Agreement (Matthew Kula - Individual Independent Contractor
2157 Matthew Kula - Independent Contractor      $       5,212.50
                                                                 Agreement)
2158 Matthews/Four Seasons                      $            -   MSC Program Agreement(s)
                                                                 Events & Meetings Services Agreement (Maureen Feck Independent Consultant for Reunion
2159 Maureen Feck                               $       2,655.45
                                                                 2023)
2160 Maurice Franklin Louver Co                 $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2161 Maurice Sporting Goods                     $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
2162 Maverick Plastics LLC                      $            -
                                                                 Conversion Agreement(s)
2163   Max Co Ltd                               $            -   MSC Program Agreement(s)
2164   Maxcera Corporation                      $            -   MSC Program Agreement(s)
2165   Maxsa Innovations                        $            -   MSC Program Agreement(s)
2166   Maxtech Consumer Prod. Group             $            -   MSC Program Agreement(s)
2167   Maywood Furniture Corp.                  $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2168 Maze Nails                                 $            -
                                                                 MSC Program Agreement(s)
                                                                 Equipment Lease Agreement (Equipment for TSL @320 S. Division St (Harvard))
2169 Mb Equipment Finance, LLC                  $            -   Equipment Lease Agreement (MB Equipment Finance LLC - Master Lease Agreement 2017)
                                                                 MSC Program Agreement(s)
2170 Mbm Paint Inc.                             $            -   Contract Manufacturing Agreement (MBM Paint Inc. Trademark Agreement)
2171 Mbw Inc.                                   $            -   MSC Program Agreement(s)

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 ID              Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
2172   McCorkle Nurseries, Inc.                $            -   MSC Program Agreement(s)
2173   McElroy Metal                           $            -   MSC Program Agreement(s)
2174   McLain Greenhouses LLC                  $            -   MSC Program Agreement(s)
2175   McLane Mfg. Co                          $            -   MSC Program Agreement(s)
2176   Me Bath                                 $            -   MSC Program Agreement(s)
2177   Mea Nursery                             $            -   MSC Program Agreement(s)
2178   Mechanical Plastics Corp                $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2179 Medelco Inc                               $            -
                                                                Conversion Agreement(s)
2180   Medford Nursery                         $            -   MSC Program Agreement(s)
2181   Medline Industries Inc                  $            -   MSC Program Agreement(s)
2182   Meeco Mfg. Co Inc                       $            -   MSC Program Agreement(s)
2183   Megapro Marketing USA Nc                $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2184 Meguiars Inc                              $            -   Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Software Maintenance Agreement (Meiborg Brothers Inc - Transportation Agreements
2185 Meiborg Brothers Inc                      $      71,195.26
                                                                Contracted Carrier)
2186 Meissner Industrial Co Inc                $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2187 Melissa & Doug                            $            -
                                                                MSC Program Agreement(s)
                                                                Software Agreement (Melissa Data GeoPoints,GeoCustom, Match Fuzzy, NCOA FTP Renewal
2188 Melissa Data Corporation                  $            -
                                                                2023)
                                                                Conversion Agreement(s)
2189 Melitta                                   $            -
                                                                MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
2190 Melnor Inc                                $            -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
2191 Melrose Holdings LLC                      $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2192 Menzner Hardwoods                         $            -   Retail Marketing Fund Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2193   Mercury Paint                           $            -   Contract Manufacturing Agreement (Mercury Paint Supply Agreement_TVM 2023)
2194   Meridian Intl Co Ltd Us                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
2195   Merotec, Inc.                           $            -   MSC Program Agreement(s)
2196   Messinas                                $            -   MSC Program Agreement(s)
2197   Messmer's Inc                           $            -   MSC Program Agreement(s)
2198   Metabo Corporation                      $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
2199 Metal Fusion                              $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2200 Metal Sales Mfg Corp                      $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
2201 Metal Ware Corp, The                      $            -
                                                                MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2202 Method Products Pbc                       $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Building Maintenance & Services Agreement (Metro Service Janitorial Services Kansas City
2203 Metro Service Improving Productivity      $      12,460.50
                                                                2021)
                                                                Software Maintenance Agreement (Metropolitan Trucking Inc - Transportation Agreement Contracted
2204 Metropolitan Trucking Inc                 $            -
                                                                Carrier)
2205 Mh Environmental                          $            -   Building Maintenance & Services Agreement (MH Environmental, Inc. Ground Water Sampling)
                                                                MSC Program Agreement(s)
2206 Mi T M Corp                               $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Insurance Policy (Property - Policy Number(s): PTNAM2412966)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2207 Mibro Group (The)                         $            -   Retail Marketing Fund Agreement(s)
                                                                MSC Program Agreement(s)
2208   Michael Page International              $            -   Recruiting Services Agreement (Michael Page IT Recruiting Master -)
2209   Michaelian Home Inc                     $            -   MSC Program Agreement(s)
2210   Michigan Evergreen Nursery Inc          $            -   MSC Program Agreement(s)
2211   Michigan Peat Company                   $            -   MSC Program Agreement(s)
2212   Michigan West Shore Nursery             $            -   MSC Program Agreement(s)
2213   Mickman Brothers Inc                    $            -   MSC Program Agreement(s)
2214   Micky's Minis-Flra Exp                  $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2215 Micro Technologies LLC                    $            -
                                                                MSC Program Agreement(s)
                                                                Software Agreement (Microsoft Teams Rooms Pro License)
2216 Microsoft                                 $      67,295.41
                                                                Software Agreement (Microsoft Pre-Trial CRM License)
                                                                Master Services Agreement (MidAmerican Energy Services Master Service Agreement - RSC, Cary,
2217 Midamerican Energy Services, LLC.         $            -
                                                                Harvard, Corsicana)
2218 Midas-Lin Co Ltd-Import                   $            -   MSC Program Agreement(s)
2219 Mide Products                             $            -   MSC Program Agreement(s)


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 ID              Counterparty Name                                                          Summary of Contracts / Descriptions (2)(3)
                                                        Amount (1)
                                                                     Professional Services Agreement (Vusion Group - eLabels for Palatine Store POC)
2220 Midea America Corp/Import                      $           -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2221 Midea International Trading Co Ltd             $           -
                                                                     MSC Program Agreement(s)
2222 Midland Metal Mfg. Co.                         $           -    MSC Program Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
2223 Midstates Inc.                                 $           -    Conversion Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     MSC Program Agreement(s)
2224 Midwest Air Tech/Import                        $           -
                                                                     Vendor Buying Agreement
2225 Midwest Air Technologies                       $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
2226 Midwest Can Company                            $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2227 Midwest Cbk LLC                                $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
2228 Midwest Distribution                           $           -
                                                                     MSC Program Agreement(s)
2229 Midwest Distributuion                          $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2230 Midwest Enterprises                            $           -
                                                                     MSC Program Agreement(s)
2231 Midwest Fastener Corp                          $           -    MSC Program Agreement(s)
2232 Midwest Groundcovers LLC                       $           -    MSC Program Agreement(s)
                                                                     Professional Services Agreement (GenServe LLC - Generator Inspection and Maintenance 2024)
       Midwest Hardware Association Dba Retail                       Assignment (Midwest Hardware Association - Financial services agreement - Palatine)
2233                                                $           -    Master Services Agreement (Midwest Hardware Association - MSA)
       Financial Services

                                                                     Conversion Agreement(s)
2234 Midwest Innovative Products LLC                $           -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2235 Midwest Metal Products                         $           -
                                                                     MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2236 Midwest Quality Gloves                         $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
2237 Midwest Target Company                         $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2238 Midwest Tool & Cutlery Co                      $           -
                                                                     MSC Program Agreement(s)
2239 Midwest Trading Horticultural                  $           -    MSC Program Agreement(s)
2240 Midwest Tropicals Inc                          $           -    MSC Program Agreement(s)
2241 Mikise LLC                                     $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
2242 Milazzo Industries                             $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                                     MSC Program Agreement(s)
                                                                     MSC Program Agreement(s)
2243 Milk Products LLC                              $           -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2244   Milk Specialties Inc                         $           -    MSC Program Agreement(s)
2245   Millennium Lock Inc                          $           -    MSC Program Agreement(s)
2246   Miller Mfg. Co                               $           -    MSC Program Agreement(s)
2247   Miller, LLC                                  $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2248 Milorganite                                    $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
                                                                     MSC Program Agreement(s)
2249 Milsek Furniture Polish Co.                    $           -
                                                                     Conversion Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2250 Milton Industries                              $           -    MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
2251 Mine Safety Appliances Co LLC                  $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2252 Minnesota Mining and Manufacturing             $           -
                                                                     Vendor Buying Agreement
                                                                     MSC Program Agreement(s)
2253 Mint X Corporation                             $           -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     MSC Program Agreement(s)
2254 Minwax Company, The                            $           -
                                                                     Conversion Agreement(s)
2255 Miracle Beam Marketing Inc                     $           -    MSC Program Agreement(s)
2256 Miracle Brands LLC                             $           -    MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
2257 Miracle Of Aloe                                $           -
                                                                     MSC Program Agreement(s)
                                                                     Building Maintenance & Services Agreement (Compactor Rentals of America Rental Agreement
                                                                     Harvard 2022)
2258 Missouri Turf Paint And Field Graphics, Inc.   $           -    Goods Purchase Agreement (Compactor Rentals of America Rental Agreement Cary 2022)
                                                                     Contract Manufacturing Agreement (Missouri Turf Toll Manufacturing)
2259 Mitchell Marketing Group                       $           -    MSC Program Agreement(s)


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 ID             Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
2260 Mitek Builder Products/Usp              $           -   MSC Program Agreement(s)
                                                             Equipment Repair Agreement (Mitsubishi Logisnext Americas Major Accounts Program MHE G&W
2261 Mitsubishi Logisnext Americas           $           -
                                                             Partner)
2262 Mizco International                     $           -   MSC Program Agreement(s)
2263 Mjsi, Inc                               $           -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2264 Mk Diamond Products                     $           -   Retail Marketing Fund Agreement(s)
                                                             MSC Program Agreement(s)
2265   Mmd Holdings Inc                      $           -   MSC Program Agreement(s)
2266   Mmix Technologies LLC                 $           -   MSC Program Agreement(s)
2267   Mobile Mini Inc                       $           -   MSC Program Agreement(s)
2268   Mobilegro LLC                         $           -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
2269 Moda At Home Enterprises Ltd            $           -
                                                             Conversion Agreement(s)
2270 Modern Ice                              $           -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2271 Moen Inc/Faucets                        $           -   Retail Marketing Fund Agreement(s)
                                                             MSC Program Agreement(s)
2272   Mohawk                                $           -   MSC Program Agreement(s)
2273   Molecat                               $           -   MSC Program Agreement(s)
2274   Molly & You                           $           -   MSC Program Agreement(s)
2275   Momentum Sales & Marketing            $           -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
2276 Mommys Helper Inc                       $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Master Services Agreement (Monday.com MSA)
2277 Monday.com                              $           -   Software Agreement (Monday.com Annual License Renewal 2024)
                                                             Software Agreement (Monday.com DocExport PDF Generator)
2278   Mondi Bags USA LLC                    $           -   MSC Program Agreement(s)
2279   Mondo International, LLC (Mondo)      $           -   Professional Services Agreement (Mondo- Agency & Recruiting Agreement)
2280   Mongoose Products Inc                 $           -   MSC Program Agreement(s)
2281   Monrovia Nursery Co                   $           -   MSC Program Agreement(s)
2282   Monster Moto LLC                      $           -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2283 Monterey Lawn & Garden Prod             $           -   Conversion Agreement(s)
                                                             MSC Program Agreement(s)
2284 Moon International Inc.                 $           -   MSC Program Agreement(s)
                                                             Master Services Agreement (Moore Creative Company. - MSA - Cary/Shurline)
2285 Moore Creative Company                  $        149.85 Software Maintenance Agreement (Moore Creative - Shurline Web Site Hosting - Annual Renewal
                                                             2024)
2286 Morning Dew Tropical Plants             $           -   MSC Program Agreement(s)
2287 Morse M K Co                            $           -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2288 Morton Salt Inc                         $           -
                                                             MSC Program Agreement(s)
2289 Mosaic Consulting Group                 $           -   Consulting Agreement (Mosaic Consulting Group LLC MSA)
                                                             Conversion Agreement(s)
2290 Mothers Polish Co                       $           -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
2291 Motomco Ltd                             $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2292 Motorola/Acs Inc                        $           -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2293 Motsenbocker Lift-Off                   $           -   MSC Program Agreement(s)
                                                             Conversion Agreement(s)
                                                             Professional Services Agreement (Motus Fleet FAVR Contract)
2294 Motus, LLC.                             $           -   Professional Services Agreement (Motus Fleet FAVR Contract Addendum)
                                                             Professional Services Agreement (Motus Fleet FAVR Contract Addendum - Continuous MVR)
                                                             Software Agreement (Hotjar Software Support and Maintenance Renewal 2023)
2295 Mozilor Limited                         $           -
                                                             Software Agreement (Mozilor Limited – Webtoffee Product Import Export Plugin 2024)
                                                             MSC Program Agreement(s)
2296 Mr Bar B Q Products LLC                 $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)
                                                             MSC Program Agreement(s)
2297 Mr Beams/Wireless Environment LLC       $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2298 Mr Chain                                $           -   MSC Program Agreement(s)
2299 Mr Christmas Inc                        $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2300 Mr Heater Corp                          $           -
                                                             MSC Program Agreement(s)
2301 Mr Heater Inc                           $           -   Reunion Market Special/Retail Assortment Agreement(s)
2302 Mr Longarm Inc                          $           -   MSC Program Agreement(s)
                                                             Building Maintenance & Services Agreement (MSC Mediterranean Shipping Ocean Freight
2303 Msc Mediterranean Shipping Company      $           -
                                                             Agreement 2024)
2304 Mueller Industries                      $           -   MSC Program Agreement(s)
2305 Mueller Metals LLC                      $           -   MSC Program Agreement(s)
2306 Mulch Manufacturing                     $           -   MSC Program Agreement(s)

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                                                   Est. Cure
 ID             Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
                                                                Software Maintenance Agreement (GoAnimate, Inc. - Vyond Professional 2024)
2307 Mulesoft LLC                              $            -   Professional Services Agreement (MuleSoft LLC Professional Services Agreement)
                                                                Software Agreement (MuleSoft Master Subscription Agreement)
2308 Multi Sharp Tools                         $            -   MSC Program Agreement(s)
2309 Multichannel Solutions LLC                $            -   MSC Program Agreement(s)
2310 Multicolor Specialties Inc                $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
2311 Multipet International                    $            -   Retail Marketing Fund Agreement(s)
                                                                MSC Program Agreement(s)
2312 Multiquip Inc.                            $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2313 Multy Home LP                             $            -   Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2314   Murphys Naturals Inc                    $            -   MSC Program Agreement(s)
2315   Music Of The Spheres Tm                 $            -   MSC Program Agreement(s)
2316   Mutual Industries                       $            -   MSC Program Agreement(s)
2317   Mvp Brands Int Dba Colonial Candle      $            -   Conversion Agreement(s)
2318   Myles International                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
2319   Mypillow Inc                            $            -   MSC Program Agreement(s)
2320   Mytek International Inc/Lagoo           $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2321 Nakoma Products LLC                       $            -
                                                                Conversion Agreement(s)
2322 Nantucket Spider LLC                      $            -   MSC   Program Agreement(s)
2323 Napco Marketing Corp                      $            -   MSC Program Agreement(s)
2324 Narita Trading                            $            -   MSC Program Agreement(s)
                                                                Goods Purchase Agreement (NFI Public Warehousing Agreement)
2325 National Distribution Centers, LLC        $      82,887.95
                                                                Software Maintenance Agreement (NFI Public Warehouse Agreement)
2326 National Drainage                         $            -   MSC Program Agreement(s)
2327 National Equipment Register               $            -   MSC Program Agreement(s)
                                                                Vendor Buying Agreement
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2328 National Mfg. Co                          $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
2329 National Paint Equipment                  $            -   MSC Program Agreement(s)
2330 National Presto Ind                       $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2331 National Tree Co-Import                   $            -
                                                                MSC Program Agreement(s)
                                                                Insurance Policy (General Liability - Policy Number(s): GL2039272)
2332 National Union Fire Ins. Co. (Aig)        $            -
                                                                Insurance Policy (Automobile Liability - Policy Number(s): AL9734315)
2333   Natural Beauty                          $            -   MSC Program Agreement(s)
2334   Natural Pest Control                    $            -   MSC Program Agreement(s)
2335   Nature Innovations LLC                  $            -   MSC Program Agreement(s)
2336   Nature's Choice Corporation             $            -   MSC Program Agreement(s)
2337   Natures Earth Pellet Energy LLC         $            -   MSC Program Agreement(s)
2338   Natures Fresh Start                     $            -   MSC Program Agreement(s)
2339   Natures Mace                            $            -   MSC Program Agreement(s)
2340   Natures Mark LLC-Import                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
2341   Natures Source Plant Food-Ball Dpf      $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2342 Natures Way Bird Products LLC             $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
2343 Nc Filtration                             $            -   MSC Program Agreement(s)
2344 Ncc, Inc., The                            $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
2345 Nds                                       $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2346 Neal Mast & Son Greenhouses Inc           $            -   MSC Program Agreement(s)
2347 Nehemiah Mfg Co LLC                       $            -   MSC Program Agreement(s)
2348 Nellie's Clean Inc                        $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2349 Nelson Wood Shims                         $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2350 Nelson-Robert Bosch Tool Corp             $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2351 Neogen Corporation                        $            -   Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2352   Neptunes Harvest                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
2353   Nestle Purina Pet Care Co               $            -   MSC Program Agreement(s)
2354   Nestle Purina/Golden Cat                $            -   MSC Program Agreement(s)
2355   Nestle Water North Amer Inc             $            -   Reunion Market Special/Retail Assortment Agreement(s)
2356   Netherland Bulb Company Inc.            $            -   MSC Program Agreement(s)
2357   Netrix Global LLC                       $            -   Master Services Agreement (Netrix Global MSA)


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 ID              Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
                                                                Building Maintenance & Services Agreement (Netrush LLC MNDA)
2358 Netrush LLC                             $            -
                                                                Master Services Agreement (Netrush ECommerce MSA and SOW 2024)
2359   New Age Pet                           $            -     MSC Program Agreement(s)
2360   New Age Pet-Import                    $            -     Conversion Agreement(s)
2361   New Directions                        $            -     Recruiting Services Agreement (Contingent staffing)
2362   New England Pottery                   $            -     MSC Program Agreement(s)
                                                                Professional Services Agreement (New Legend Master Truckload Transportation Agreement)
2363 New Legend, Inc                         $      93,648.74
2364   New Media Retailer                    $            -     MSC Program Agreement(s)
2365   New Sunshine LLC                      $            -     Conversion Agreement(s)
2366   New View Gifts & Accessories Ltd      $            -     MSC Program Agreement(s)
2367   New York Wire/Wall Span               $            -     MSC Program Agreement(s)
2368   Newair LLC                            $            -     MSC Program Agreement(s)
                                                                Conversion Agreement(s)
2369 Newborn Bros & Co Inc                   $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Vendor Buying Agreement
                                                                MSC Program Agreement(s)
2370 Newell Brands Distribution LLC          $            -     Conversion Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
2371 Next Generation Distributors Inc        $            -     MSC Program Agreement(s)
2372 Next Innovations Ltd                    $            -     MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2373 Nextstep Commercial Products            $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Building Maintenance & Services Agreement (NFI Schedule C Addendum 12.01.2023)
2374 Nfi Interactive Logistics, LLC          $            -
                                                                Building Maintenance & Services Agreement (NFI Distribution Relocation Letter Chino CA 2024)
2375   NGK Spark Plugs USA Inc               $            -     MSC Program Agreement(s)
2376   Niagara Bottling, LLC                 $            -     MSC Program Agreement(s)
2377   Nibco Inc                             $            -     MSC Program Agreement(s)
2378   Nic Industries Inc                    $            -     MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2379 Nice North America LLC                  $            -
                                                                Conversion Agreement(s)
                                                                Conversion Agreement(s)
2380 Nice Pak Products Inc                   $            -     MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2381 Nielsen Products LLC                    $            -     MSC Program Agreement(s)
2382 Nien Made USA Inc                       $            -     Reunion Market Special/Retail Assortment Agreement(s)
2383 Nifty Lift                              $            -     MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2384 Nifty Products                          $            -
                                                                Conversion Agreement(s)
2385   Nin Technet Limited                   $            -     Software Agreement (Nin TechNet Limited - Code Profiler Pro License (10 sites))
2386   Ningbo Battery & Electrical Ap        $            -     Reunion Market Special/Retail Assortment Agreement(s)
2387   Ningbo Gemay Industry Co              $            -     Reunion Market Special/Retail Assortment Agreement(s)
2388   Ningbo Judin Special Monofil          $            -     MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2389 Ningbo Konwin Electrical Appliance      $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2390 Ningbo Xingwei Cutting Tools Co         $            -     Reunion Market Special/Retail Assortment Agreement(s)
2391 Ninja Jump Inc                          $            -     MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2392 Nite Ize Inc                            $            -     Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
2393 Niteo Products                          $            -     Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2394 Nix Sensor Ltd                          $            -     MSC Program Agreement(s)
2395 No Cost Solutions                       $            -     Consulting Agreement (No Cost Solutions (NCS) Audit Agreement 2023)
                                                                Conversion Agreement(s)
2396 No Spill Inc                            $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
2397 Noble Outfitters                        $            -     Reunion Market Special/Retail Assortment Agreement(s)
2398 Noelle Enterprises Inc                  $            -     MSC Program Agreement(s)
                                                                Professional Services Agreement (Independent Contractor Agreement Addendum 1 HRIS - Jill
                                                                Clarke)
2399 Noma/Inliten-Import                     $            -     Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2400   Nonatz Inc                            $            -     MSC Program Agreement(s)
2401   Nordic Shield Plastics Corp           $            -     MSC Program Agreement(s)
2402   Nordic Ware                           $            -     MSC Program Agreement(s)
2403   Nordon LLC                            $            -     MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2404 Norma Group/Breeze                      $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
2405 Norpro                                  $            -     Reunion Market Special/Retail Assortment Agreement(s)

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 ID              Counterparty Name                                                     Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
2406 Norseman Apparel                        $            -     MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2407 North Atlantic Imports LLC              $            -     Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (North Coast Logistics Cross Dock Agreement
2408 North Coast Logistics, Inc.             $     164,697.18
                                                              2023)
2409 North Coast Perennials Inc              $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2410 North State Ind Inc                     $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
2411   North States Industries               $            -   MSC Program Agreement(s)
2412   North West Rubber Ltd                 $            -   MSC Program Agreement(s)
2413   Northeast Wood Products LLC           $            -   MSC Program Agreement(s)
2414   Northern International Inc            $            -   MSC Program Agreement(s)
                                                              HR Services Agreement (Northern New England Benefit Trust - Health and Welfare Benefit Plan
2415 Northern New England Benefit Trust      $            -
                                                              2007)
2416   Northern Plains Distributing          $            -   MSC Program Agreement(s)
2417   Northern Response Intl                $            -   Reunion Market Special/Retail Assortment Agreement(s)
2418   Northland Floral Inc                  $            -   MSC Program Agreement(s)
2419   Northwest Hardwoods Inc               $            -   MSC Program Agreement(s)
2420   Northwest Instrument Inc              $            -   MSC Program Agreement(s)
2421   Norton Abrasives/St Gobain            $            -   MSC Program Agreement(s)
2422   Notions Marketing Corp.               $            -   MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (Nour Trading House Private Label Supplier
2423 Nour Trading House, Inc.                $      32,925.12
                                                              Agreement Cary)
                                                              Professional Services Agreement (Nova Libra - Master Services Agreement)
                                                              Professional Services Agreement (Changes to the VMD (Vendor Managed Data) system for vendor
2424 Nova Libra, Inc.                        $      18,300.00
                                                              updates)

                                                              Software Maintenance Agreement (Nova Wildcat Shurr-Line - Manufacturing and Supply
                                                              Agreement 2020)
2425 Nova Wildcat Shur-Line LLC              $      10,113.85
                                                              Professional Services Agreement (Shurline Toll Manufacturing Agreement)

2426 Novel Ideas Inc                         $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2427 Novelty Mfg Co                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
2428 Novozymes Bioag Inc                     $            -   MSC Program Agreement(s)
2429 Novus Media Inc.                        $     136,588.00 Master Services Agreement (Novus Media Master Agency Agreement)
2430 Now Designs                             $            -   MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (NP Hanover Industrial I LLC WB Inudstrial Lease
2431 NP Hanover Industrial I, LLC            $            -
                                                              Agreement 2019)
2432   Nuera Enterprises Canada Inc          $            -   MSC Program Agreement(s)
2433   Numark Industries Co Limited          $            -   MSC Program Agreement(s)
2434   Nupla Corp                            $            -   MSC Program Agreement(s)
2435   Nutek LLC                             $            -   MSC Program Agreement(s)
2436   Nutone Inc.                           $            -   MSC Program Agreement(s)
2437   Nutritower Inc                        $            -   MSC Program Agreement(s)
2438   Nuvo Iron                             $            -   MSC Program Agreement(s)
2439   Nyco Products Company                 $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2440 Nylabone Products                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2441 O2Cool LLC                              $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2442 Oakiwear Outdoor LLC                    $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2443 Oatey Company                           $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
2444 O'Cedar Brands                          $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2445   Odh Distributing                      $            -   MSC Program Agreement(s)
2446   Odors Away LLC                        $            -   MSC Program Agreement(s)
2447   Office Revolution Group               $            -   MSC Program Agreement(s)
2448   Oh Sugar                              $            -   MSC Program Agreement(s)
2449   Ohio Security Systems Inc             $            -   Building Maintenance & Services Agreement (Ohio Security Services Extension Amendment)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2450 Oil Dri Corp-Amrca                      $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)


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                                             Est. Cure
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                                             Amount (1)
                                                          Master Services Agreement (Blackline MSA)
2451 Okta, Inc.                          $           -
                                                          Software Agreement (Okta Master Subscription Agreement)
2452 Old Castle Lawn & Garden            $           -    MSC Program Agreement(s)
                                                          Building Maintenance & Services Agreement (Allied Security Services Amendment 2025)
                                                          Software Maintenance Agreement (Allied - COVID Addendum 2021)
2453 Old Masters                         $           -    Building Maintenance & Services Agreement (Amarok Security Services Agreement ATL RDC 2024)
                                                          MSC Program Agreement(s)

2454 Old Trapper Smoked Products         $           -    MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Conversion Agreement(s)
2455 Old World Automotive Product        $           -    Retail Marketing Fund Agreement(s)
                                                          MSC Program Agreement(s)
2456 Old World Industries                $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                          MSC Program Agreement(s)
2457 Old World Spices & Seasonings       $           -
                                                          Conversion Agreement(s)
2458   Oldcastle                         $           -    MSC Program Agreement(s)
2459   Oldcastle Lawn & Garden           $           -    MSC Program Agreement(s)
2460   Oldcastle Stone Products          $           -    MSC Program Agreement(s)
2461   Olde Thompson                     $           -    MSC Program Agreement(s)
2462   Olfa-North America                $           -    MSC Program Agreement(s)
2463   Olive Empire                      $           -    MSC Program Agreement(s)
2464   Oliver Carbide Products           $           -    MSC Program Agreement(s)
                                                          Professional Services Agreement (Application managed services)
2465 Olr America Inc.                    $           -
                                                          Software Maintenance Agreement (OLR Master Services Agreement)
2466 Olson Saw                           $           -    MSC Program Agreement(s)
2467 Olympia Tools International         $           -    MSC Program Agreement(s)
2468 Olympic Mountain Products           $           -    MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
2469 Olympic Oil                         $           -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
2470 Omg Inc                             $           -
                                                          MSC Program Agreement(s)
                                                          Building Maintenance & Services Agreement (Omnia Partners Sunbelt Rentals Partnership
                                                          Agreement 2023)
2471 Omnia Partners                      $           -    Master Services Agreement (Omnia Partners Enterprise National Rental Car Agreement 2022)
                                                          Master Services Agreement (Omnia Partners Enterprise Membership Agreeement)
2472 Onduline North America Inc          $           -    MSC Program Agreement(s)
2473 One Shot Outfitters LLC             $           -    MSC Program Agreement(s)
2474 One Source Industries LLC           $           -    MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
2475 Ontel Products Corp                 $           -    Conversion Agreement(s)
                                                          MSC Program Agreement(s)
2476 Oocl Logistics (Usa) Inc            $           -    Building Maintenance & Services Agreement (OOCL Ocean Freight Agreement 2024)
                                                          MSC Program Agreement(s)
2477 Ook/Impex Systems Group             $           -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
2478   Ooni Inc.                         $           -    Conversion Agreement(s)
2479   Opc Polymers                      $           -    Goods Purchase Agreement (OPC Polymers TVM Agreement)
2480   Opel Growers, Inc.                $           -    MSC Program Agreement(s)
2481   Open Air Cinema                   $           -    MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
2482 Open Road Brands LLC                $           -
                                                          Conversion Agreement(s)
                                                          Software Agreement (Open AI API Usage Credit)
                                                          Building Maintenance & Services Agreement (Ricoh 2 Printer Removal from Westlake 2023)
2483 Openai, LLC                         $           -    Building Maintenance & Services Agreement (Ricoh 2 8210s Printer Removal from Woodland 2023)
                                                          MSC Program Agreement(s)

2484 Optilumen Inc                       $           -    MSC Program Agreement(s)
                                                          Conversion Agreement(s)
2485 Optimum Technologies Inc            $           -
                                                          MSC Program Agreement(s)
2486 Optimus Enterprise Inc              $           -    MSC Program Agreement(s)
                                                          Master Services Agreement (Optiv Firemon Quote#: 2113656-12 Policy Optimizer subscription)
                                                          Professional Services Agreement (OPTIV Master Services Agreement)
                                                          Software Agreement (Optiv - Palo Alto Panorama Subscription for Virtual Software Firewalls)
                                                          Software Agreement (Optiv.- Palo Alto Panorama Premium Support for Cloud Migration Project)
2487 Optiv Security Inc.                 $           -    Software Agreement (Optiv Okta Software and Support 2023)
                                                          Software Agreement (Optiv Proofpoint EFD Subscription Renewal - IT Security 2024)
                                                          Software Agreement (Optiv Security-Proofpoint Targeted Attack Protection 2024-2027)
                                                          Software Maintenance Agreement (Optiv Tenable AD Security Renewal 2024)
                                                          Software Agreement (Optiv Okta Software SAAS Subscription 2024)
2488 Optum Health Bank                   $           -    HR Services Agreement (Optum Health Bank - HSA Agreement)




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                                                Amount (1)
                                                             Master License Agreement (Oracle Cloud Fusion Master agreement)
                                                             Professional Services Agreement (Oracle PaaS and IaaS Universal Credits 2024-2026)
                                                             Professional Services Agreement (Oracle PaaS and IaaS JDA 2024-2027)
2489 Oracle America, Inc.                   $     306,608.16 Software Agreement (Oracle - Fusion Hosted Named User Licensing Renewal 2024-2026)
                                                             Software Agreement (Oracle DB Software Support & Maintenance Renewal 2023)
                                                             Software Agreement (Oracle Netwarehouse Database Support Subscription Renewal 2024)
2490 Orange Guard Inc                       $            -    MSC Program Agreement(s)
2491 Orange Sol Household Products Inc      $            -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2492 Orange-Sol                             $            -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
2493 Orbit Irrigation Products Inc          $            -    Conversion Agreement(s)
                                                              Conversion Agreement(s)
2494 Orbit Irrigation Products LLC          $            -
                                                              MSC Program Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2495 Orca                                   $            -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
2496 Oreck/Edmar Corporation                $            -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2497 Oregon Cutting Systems                 $            -
                                                              Conversion Agreement(s)
2498   Oregon Pride Nurseries               $            -    MSC Program Agreement(s)
2499   Oregon Trellis                       $            -    MSC Program Agreement(s)
2500   Organizables                         $            -    MSC Program Agreement(s)
2501   Original Power                       $            -    MSC Program Agreement(s)
2502   Orinokia, Inc                        $            -    MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (Manchester RDC LED Upgrade - Orion Energy
                                                              Systems)
2503 Orion Energy Systems                   $            -    Building Maintenance & Services Agreement (Atlanta RDC LED Upgrade - Orion Energy Systems)
                                                              MSC Program Agreement(s)

2504   Orion Safety Products                $           -     Conversion Agreement(s)
2505   Orkin LLC                            $        379.99   Building Maintenance & Services Agreement (Orkin Pest Control Agreement 2024)
2506   Orlandelli Group                     $           -     MSC Program Agreement(s)
2507   Orora Visual LLC                     $           -     MSC Program Agreement(s)
2508   Ors Nasco                            $           -     MSC Program Agreement(s)
2509   Osmegen Inc                          $           -     MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2510 Osram Sylvania Inc                     $            -
                                                              MSC Program Agreement(s)
2511 O'Sullivan Industries Inc              $            -    MSC Program Agreement(s)
2512 Otomik Products Inc                    $            -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2513 Otto Environment Systems               $            -
                                                              Conversion Agreement(s)
2514   Our Own Candle Company               $            -    MSC Program Agreement(s)
2515   Outdoor Interiors                    $            -    MSC Program Agreement(s)
2516   Outdoor Interiors-Import             $            -    MSC Program Agreement(s)
2517   Outdoor Kitchen Distributors         $            -    MSC Program Agreement(s)
2518   Outset Media Games & Puzzles         $            -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2519 Outward Hound                          $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2520   Outward Intelligence LLC             $            -    Statement of Work (Outward Intelligence MSA)
2521   Oxibrands LLC                        $            -    MSC Program Agreement(s)
2522   Oxo International                    $            -    MSC Program Agreement(s)
2523   Oxx Inc                              $            -    MSC Program Agreement(s)
2524   Oxygenics                            $            -    MSC Program Agreement(s)
2525   Ozark Hardwood Pellets               $            -    MSC Program Agreement(s)
2526   Ozwest Inc                           $            -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2527 P F Harris Mfg Co                      $            -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2528 P Graham Dunn                          $            -    MSC Program Agreement(s)
2529 P&M Products Inc                       $            -    MSC Program Agreement(s)
                                                              Software Maintenance Agreement (P.A.M. Transport Inc - Transportation Agreements Contracted
2530 P.A.M. Transport Inc                   $            -    Carrier)
                                                              MSC Program Agreement(s)
2531 P.S. Mfg. Company                      $            -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2532 Pacer Pumps, Div. Of Asm Ind           $            -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
2533 Pacific Crest Nursery                  $            -    MSC Program Agreement(s)
2534 Pacific Decor                          $            -    MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (Pacific Gas and Electric Interconnection Agreement
2535 Pacific Gas And Energy                 $            -
                                                              2024)
2536 Pacific Precision Metals               $            -    MSC Program Agreement(s)
2537 Packit LLC                             $            -    MSC Program Agreement(s)

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                                                     Amount (1)
2538 Pactiv Building Products                    $            -   MSC Program Agreement(s)
2539 Page Seed Co., The                          $            -   MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
2540 Pale Blue Earth LLC                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                  MSC Program Agreement(s)
2541 Palm Coast Sales Inc                        $            -   MSC Program Agreement(s)
2542 Palm Fibre Private Limited                  $            -   MSC Program Agreement(s)
2543 Palmer Snyder                               $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
                                                                  Retail Marketing Fund Agreement(s)
2544 Panacea Products Corp                       $            -   Conversion Agreement(s)
                                                                  MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
2545 Pannext Fittings Corp                       $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
2546   Panther Vision                            $            -   MSC Program Agreement(s)
2547   Papaya Inc                                $            -   MSC Program Agreement(s)
2548   Paper Magic Group                         $            -   MSC Program Agreement(s)
2549   Paper Magic/Halloween                     $            -   MSC Program Agreement(s)
2550   Paper Products Co                         $            -   MSC Program Agreement(s)
2551   Paper Products, Co., Inc.                 $            -   MSC Program Agreement(s)
2552   Paper Products/Supply                     $            -   MSC Program Agreement(s)
2553   Papersalt                                 $            -   MSC Program Agreement(s)
2554   Paragon Distributing                      $            -   MSC Program Agreement(s)
                                                                  Professional Services Agreement (Paragon Software Systems, Inc (Aptean) MSA)
2555 Paragon Software Systems, Inc (Aptean)      $            -
                                                                  Software Agreement (Paragon Software Systems, Inc (Aptean) - SaaS Subscription)
2556 Paramount Hardware Company, LLC             $            -   MSC Program Agreement(s)
2557 Parasol, LLC                                $            -   MSC Program Agreement(s)
2558 Parex USA Inc                               $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
2559 Paricon, Inc                                $            -
                                                                  MSC Program Agreement(s)
2560 Park Hill Plants                            $            -   MSC Program Agreement(s)
                                                                  Hardware Agreement (Curvature Used Cisco Fiber Switches)
                                                                  Hardware Agreement (Park Place HW Support for PowerEdge R730 Servers - RDC's 2024)
                                                                  Hardware Maintenance Agreement (Park Place HW Maintenance Renewal PowerEdge R740
                                                                  Servers - RSC 2023-2025)
                                                                  Hardware Maintenance Agreement (Park Place HW Maintenance PowerEdge R740 Servers - Wilkes
                                                                  Barre 2024)
                                                                  Hardware Maintenance Agreement (Park Place Hardware Support RDC Network Switches 2024
2561 Park Place Technologies                     $       1,055.27 RSC)
                                                                  Hardware Maintenance Agreement (Park Place PowerEdge R730XD Server HW Maintenance - Cary
                                                                  2024)
                                                                  Hardware Maintenance Agreement (Park Place HW Maintenance Renewal PowerEdge R730XD
                                                                  Server for RSC 2024)
                                                                  Hardware Maintenance Agreement (Park Place PowerEdge R730 Server HW Maintenance - Cary)


                                                                  Conversion Agreement(s)
2562 Parker Mc Crory Mfg Co                      $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
2563 Partscription                               $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
2564 Paslode                                     $            -
                                                                  MSC Program Agreement(s)
                                                                  Vendor Buying Agreement
                                                                  Conversion Agreement(s)
2565 Pass & Seymour                              $            -   MSC Program Agreement(s)
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
2566 Patina Products                             $            -   MSC Program Agreement(s)
                                                                  MSC Program Agreement(s)
2567 Patio Master Corp                           $            -
                                                                  Reunion Market Special/Retail Assortment Agreement(s)
2568 Paul K Guillow Inc                          $            -   MSC Program Agreement(s)
2569 Pavestone Inc.                              $            -   MSC Program Agreement(s)
                                                                  Professional Services Agreement (Payment Integrity Partners Master Professional Services
                                                                  Agreement)
2570 Payment Integrity Partners, L.L.C           $      51,010.26 Professional Services Agreement (Payment Integrity Partners Professional Services Agreement
                                                                  SOW)

                                                                  Software Agreement (PayPro Global Toolkit Subscription 2024)
2571 Paypro Global, Inc.                         $            -
                                                                  MSC Program Agreement(s)
2572 Payscale                                    $            -   Software Subscription Agreement (Payscale Master Subscription Agreement)
                                                                  Conversion Agreement(s)
2573 Pbi Gordon Corp                             $            -
                                                                  MSC Program Agreement(s)
                                                                  Conversion Agreement(s)
2574 Pdz Company LLC                             $            -
                                                                  MSC Program Agreement(s)
2575 Peak Products America Inc.                  $            -   MSC Program Agreement(s)


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                                                    Est. Cure
 ID              Counterparty Name                                                       Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
2576   Peaklogix                                $            -   Software Agreement (PeakLogix Software Service Agreement Renewal - Central Ship)
2577   Pearl Valley Organix                     $            -   MSC Program Agreement(s)
2578   Peco Pallet                              $            -   Contract Manufacturing Agreement (Peco Pallet Toll Manufacturing)
2579   Peel People LLC, The                     $            -   MSC Program Agreement(s)
2580   Peerless Industries, Inc                 $            -   MSC Program Agreement(s)
2581   Peerless Pottery Sales Inc               $            -   MSC Program Agreement(s)
2582   Peking Handicraft, Inc.                  $            -   MSC Program Agreement(s)
2583   Penley Corp                              $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2584 Penn Plax Inc                              $            -
                                                                 MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
2585 Pennington Seed Inc                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
2586 Pennzoil/Quaker State                      $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
2587 Penske Truck Leasing Co., L.P.             $      17,099.34 Lease Agreement (Tractor Equipment Lease)
2588 Pentair Residential Filtration LLC         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
2589 Pentair Water                              $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Software Subscription Agreement (Pentera Software Subscription Agreement)
2590 Pentera Security Inc                       $            -
                                                                 MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2591 Pequa Industries                           $            -
                                                                 Conversion Agreement(s)
2592 Perfect Aire LLC                           $            -   MSC Program Agreement(s)
2593 Perfection Floor Tile                      $            -   MSC Program Agreement(s)
2594 Perine Lowe Inc                            $            -   MSC Program Agreement(s)
                                                                 Marketing Services Agreement (Experian Marketing Solutions - Annual Renewal 2024)
2595 Peritius                                   $            -   Professional Services Agreement (IT Project Management and Business Analyst work in suport of
                                                                 Straegic Project #1.2 SAA)
2596 Perky Pet-Div Of Woodstream                $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2597 Permasteel Inc                             $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2598 Personal Safety Corp                       $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
2599 Pet Adventures Worldwide                   $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2600 Pet Brands Inc                             $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2601 Pet Factory Inc                            $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2602 Peterson Mfg. Co                           $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2603 Petmate                                    $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
2604 Petra Industries                           $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
2605 Petrageous Designs                         $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2606   Phifer Inc                               $            -   MSC Program Agreement(s)
2607   Philips Accessories & Computer Peri      $            -   MSC Program Agreement(s)
2608   Philips Accessories/Computer             $            -   MSC Program Agreement(s)
2609   Philips Consumer Lifestyle               $            -   MSC Program Agreement(s)
2610   Philips Lighting                         $            -   MSC Program Agreement(s)
2611   Phillips Screw Company                   $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2612 Phoenix Brands LLC                         $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2613 Phoenix Fire Systems                       $            -   Order Form (Phoenix Fire Systems - Preaction System Inspection 2024)
2614 Phoenix Recycled Prod. Inc.                $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2615 Pic Corporation                            $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
2616 Picnic Time                                $            -   MSC Program Agreement(s)
2617 Picture Depot Inc                          $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2618 Pilot Automotive Inc                       $            -
                                                                 Conversion Agreement(s)
2619 Pinery LLC, The                            $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2620 Pinnacle Climate Technologies              $            -
                                                                 MSC Program Agreement(s)
2621 Pinnacle Products Intl                     $            -   MSC Program Agreement(s)


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                                               Est. Cure
 ID               Counterparty Name                                                 Summary of Contracts / Descriptions (2)(3)
                                               Amount (1)
                                                            Software Agreement (SonarSource Developer Edition Software License)
2622 Pinnacle Propane Express LLC          $            -
                                                            MSC Program Agreement(s)
                                                            Hardware Agreement (Pinnacle Maintenance Services Renewal 2024)
2623 Pinnacle Services Inc.                $       4,800.00
                                                            Hardware Agreement (Pinnacle CCTV Maintenance Services Renewal 2024)
                                                            Conversion Agreement(s)
2624 Pirit Heated Products                 $            -
                                                            MSC Program Agreement(s)
2625   Pirtle Nursery Inc                  $            -   MSC Program Agreement(s)
2626   Pitco Magikitchn                    $            -   MSC Program Agreement(s)
2627   Pitney Bowes                        $            -   Equipment Lease Agreement (Pitney Bowes Lease Agreement 2024 - Cary)
2628   Pitt Ohio Express LLC               $      17,433.81 Master Services Agreement (Pitt Ohio Master LTL Transportation Agreement)
2629   Pittmoss LLC                        $            -   MSC Program Agreement(s)
2630   Pittsburgh Corning Corp.            $            -   MSC Program Agreement(s)
2631   Pivotal Solutions, Inc.             $            -   Professional Services Agreement (Pivotal Solutions Agency and Recruiting Agreement)
                                                            MSC Program Agreement(s)
2632 Pix North                             $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            Master Services Agreement (Planful Inc Master Subscription Agreement)
2633 Planful Inc                           $            -
                                                            Order Form (Planful Inc Software Subscription Renewal 2023-2025)
2634 Plano Molding Co                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
2635 Plant Stand Inc                       $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2636 Plantaflor USA Inc                    $            -   MSC Program Agreement(s)
2637 Plantation Patterns Furniture Co      $            -   MSC Program Agreement(s)
2638 Plantbest Inc                         $            -   MSC Program Agreement(s)
                                                            Professional Services Agreement (Plantensive Rate Card Agreement)
2639 Plantensive Solutions Group           $            -
                                                            Professional Services Agreement (Plantensive Solutions Group Consulting Services Agreement)
2640   Plantpeddler Inc                    $            -   MSC Program Agreement(s)
2641   Plants Unlimited Inc                $            -   MSC Program Agreement(s)
2642   Plantscene                          $            -   MSC Program Agreement(s)
2643   Plantworks Nursery Inc              $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
2644 Plaskolite Inc                        $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2645 Plastec Industries                    $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
2646 Plasti Dip                            $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2647   Plastic Development Group LLC       $            -   MSC Program Agreement(s)
2648   Plastic Product Formers Inc         $            -   MSC Program Agreement(s)
2649   Plastic Services & Products         $            -   MSC Program Agreement(s)
2650   Plastics Group, The                 $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2651 Plews/Edelmann                        $            -
                                                            MSC Program Agreement(s)
2652 Pls - Pacific Laser Systems           $            -   MSC Program Agreement(s)
2653 Plugfones                             $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2654 Plumb Pak Corporation                 $            -
                                                            MSC Program Agreement(s)
2655 Plymouth Mwg                          $            -   Lease Agreement (Plymouth MWG Lease 2023)
                                                            Retail Marketing Fund Agreement(s)
2656 Plz Aeroscience Corp                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
2657 Plz Corp                              $            -
                                                            Conversion Agreement(s)
                                                            MSC Program Agreement(s)
2658 Pmi Worldwide                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
                                                            Software Maintenance Agreement (PNC Bank - Commercial Card Program Agreement 2018)
2659 Pnc Bank                              $            -   Insurance Policy (Cyber - Policy Number(s): 3138149)
                                                            MSC Program Agreement(s)
2660   Podsy                               $            -   MSC Program Agreement(s)
2661   Podsy Partners, LLC                 $            -   MSC Program Agreement(s)
2662   Police Security Flashlights         $            -   MSC Program Agreement(s)
2663   Poly Pro Tools                      $            -   MSC Program Agreement(s)
2664   Poly Wood                           $            -   MSC Program Agreement(s)
                                                            Professional Services Agreement (HostPapa, Inc. - Webhosting Services 2024)
2665 Polygroup Trading                     $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2666 Polynt Composites USA Inc.            $     209,877.88 Goods Purchase Agreement (Polynt Composites MNDA Cary IL)
2667 Poly-Tex Inc.                         $            -   MSC Program Agreement(s)
2668 Pondbuilder Inc                       $            -   MSC Program Agreement(s)
                                                            Software Agreement (Strategy11 Software - Formidable Plugin Forms 2024)
2669 Pontrelli Fountain Co.                $            -
                                                            MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2670 Pony Tools Inc                        $            -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
2671 Poo Pourri                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
2672 Popes Plant Farm Inc                  $            -   MSC Program Agreement(s)

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 ID              Counterparty Name                                                  Summary of Contracts / Descriptions (2)(3)
                                                Amount (1)
2673 Portacool LLC                          $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
2674 Positec USA Inc                        $           -    Retail Marketing Fund Agreement(s)
                                                             Conversion Agreement(s)
2675   Positive Distribution LLC            $           -    MSC Program Agreement(s)
2676   Potomac Supply Corp                  $           -    MSC Program Agreement(s)
2677   Pottery Direct America Sales         $           -    MSC Program Agreement(s)
2678   Pottery Patch Intl Inc               $           -    MSC Program Agreement(s)
2679   Pottery Pots USA Inc                 $           -    MSC Program Agreement(s)
                                                             Software Maintenance Agreement (Pottle's Transportation LLC - Transportation Agreement
2680 Pottle'S Transportation LLC            $           -
                                                             Contracted Carrier)
2681 Poulan/Weed Eater                      $           -    Reunion Market Special/Retail Assortment Agreement(s)
2682 Pow Audio, Inc.                        $           -    MSC Program Agreement(s)
2683 Power Bloom Farms                      $           -    MSC Program Agreement(s)
                                                             Conversion Agreement(s)
2684 Power Distributors                     $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2685 Power Poxy, Inc.                       $           -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2686 Power Service Products Inc             $           -
                                                             MSC Program Agreement(s)
                                                             Insurance Policy (Ocean Cargo - Policy Number(s): UM00024286MA24A)
2687 Power Tek Inc                          $           -    Insurance Policy (Kidnap & Ransom - Policy Number(s): UM00063714SP23A)
                                                             MSC Program Agreement(s)
                                                             Software Maintenance Agreement (SAP Sybase Afaria Class B Client Maint & Support Renewal
                                                             2023)
2688 Powr Flite C/O Tacony Corporation      $           -    Software Maintenance Agreement (SAP Sybase Renewal Maintenance and Support - Afaria
                                                             Enterprise 2024)
                                                             MSC Program Agreement(s)
2689 Pps Packaging Company                  $           -    MSC Program Agreement(s)
2690 Pragmatic Works Training Inc           $           -    Training Services Agreement (Pragmatic Works - On-Demand Training)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2691 Pratt-Read Corporation                 $           -
                                                             MSC Program Agreement(s)
2692   Pre Sales Inc                        $           -    MSC Program Agreement(s)
2693   Precision Packaging Inc.             $           -    MSC Program Agreement(s)
2694   Precision Products                   $           -    MSC Program Agreement(s)
2695   Prefense LLC                         $           -    MSC Program Agreement(s)
2696   Premier Health Concepts              $           -    MSC Program Agreement(s)
2697   Premier Horticulture Inc             $           -    MSC Program Agreement(s)
2698   Premier Horticulture, Inc.           $           -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2699 Premier Paint Roller/Z Pro             $           -    Conversion Agreement(s)
                                                             MSC Program Agreement(s)
2700 Premier Specialty Brands LLC           $           -    Reunion Market Special/Retail Assortment Agreement(s)
2701 Premium Pet Products                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                             Building Maintenance & Services Agreement (Premium Vending Machine Agreement - Manchester)
2702 Premium Vending Inc                    $           -
2703   Pressman Toy Corp                    $           -    MSC Program Agreement(s)
2704   Prestige Marketing                   $           -    MSC Program Agreement(s)
2705   Prestige Staffing LLC                $           -    HR Services Agreement (Prestige Staffing LLC - Agency and Recruiting Agreement 2020)
2706   Presto Products                      $           -    MSC Program Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
                                                             Conversion Agreement(s)
2707 Prestone Products Corp                 $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
2708   Price Erecting Co.                   $           -    Professional Services Agreement (Price Erecting Co - TVM Toll Filling Agreement)
2709   Pride Garden Products                $           -    MSC Program Agreement(s)
2710   Prides Corner Farms                  $           -    MSC Program Agreement(s)
2711   Primal Vantage Company Inc           $           -    Reunion Market Special/Retail Assortment Agreement(s)
2712   Primary Color LLC                    $           -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2713 Prime Line Products                    $           -
                                                             MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
2714 Prime Wire & Cable Inc                 $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2715 Primesource Bldg.. Products            $           -    MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2716 Primesource Building Prod.             $           -    MSC Program Agreement(s)
                                                             Conversion Agreement(s)
2717 Primitive Planters                     $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
2718 Primrose Plastics/Com                  $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2719 Prince Corporation                     $           -    MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
2720 Principle Plastics                     $           -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2721 Pro Design Products LLC                $           -    MSC Program Agreement(s)
2722 Pro Mart Industries Inc                $           -    MSC Program Agreement(s)

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 ID               Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
2723 Probuilt Professional Prod                $           -   MSC Program Agreement(s)
                                                               Professional Services Agreement (Descartes Datamyne, Non-Disclosure Agreement)
2724 Process Weaver, Inc.                      $           -   Professional Services Agreement (ProcessWeaver, Inc. Rackspace Master Software Service
                                                               Agreement)
2725 Procom Heating Inc                        $           -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
2726 Procter & Gamble                          $           -
                                                               MSC Program Agreement(s)
2727   Product Works, LLC.                     $           -   Reunion Market Special/Retail Assortment Agreement(s)
2728   Professional Lab Inc                    $           -   MSC Program Agreement(s)
2729   Profile Systems Design Group, Inc       $           -   Professional Services Agreement (Profile Systems Design Group Inc_ True Value NDA)
2730   Profit Soup                             $           -   Training Services Agreement (Speaker Services - Steve Abercrombie)
                                                               Professional Services Agreement (Progress DevCraft Ultimate PHP & JSP Developer License
                                                               Renewal - Gary Traub)
2731 Progress Software Corporation             $           -   Software Agreement (Progress WhatsUp Gold Prem. 1000 Service Agreement Renewal 2024)
                                                               Master Services Agreement (Manchester Staffing Group 2022)
2732 Progressive                               $           -   MSC Program Agreement(s)
2733 Progressive Pro/Caterers Warehouse        $           -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2734 Proline Chemical & Plastics Inc           $           -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2735 Promier Products Inc                      $           -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
2736 Promotions Unlimited                      $           -   MSC Program Agreement(s)
2737 Propellet LLC                             $           -   MSC Program Agreement(s)
2738 Propharma Group Holdings, LLC.            $        551.00 Consulting Agreement (Propharma Group Holdings Agreement)
                                                               MSC Program Agreement(s)
2739 Protective Coating Co                     $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Conversion Agreement(s)
2740   Protective Covers/Div Of Adco Prod      $           -   MSC Program Agreement(s)
2741   Protector Brands LLC                    $           -   MSC Program Agreement(s)
2742   Protera Technologies, LLC               $           -   Master Services Agreement (Protera Technologies, LLC MSA)
2743   Protexall Products Inc                  $           -   Conversion Agreement(s)
2744   Prudential                              $           -   HR Services Agreement (Prudential - Renewal Agreement 2012)
2745   PS Tech Inc                             $        700.00 Professional Services Agreement (PS Tech - SOW 1 CO 3 JDA ASM Support)
2746   Pt Ho Wah Genting                       $           -   MSC Program Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
2747 Puleo Asia Limited                        $           -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2748   Pura Naturals Inc                       $           -   MSC Program Agreement(s)
2749   Purdy Corporation                       $           -   Conversion Agreement(s)
2750   Purheat LLC                             $           -   MSC Program Agreement(s)
2751   Purple Cow Organics                     $           -   MSC Program Agreement(s)
2752   Pursell Manufacturing Corp.             $           -   MSC Program Agreement(s)
2753   Pwp Greenhouses Inc                     $           -   MSC Program Agreement(s)
2754   Pygar USA Inc                           $           -   MSC Program Agreement(s)
2755   Pylex International Inc                 $           -   MSC Program Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
2756 Pyramex Safety Products LLC               $           -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
                                                               MSC Program Agreement(s)
2757 Pyranha Inc                               $           -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2758 Qa Worldwide Inc                          $           -   MSC Program Agreement(s)
2759 Qca Spas, Inc.                            $           -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
2760 Qingdao Huatian Hand Truck                $           -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               MSC Program Agreement(s)
2761 Qrri Inc                                  $           -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2762 Qstoves Inc                               $           -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
2763 Quaker Boy Inc                            $           -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2764 Quaker Foods & Beverages                  $           -   MSC Program Agreement(s)
2765 Quanzhou Goldensun Lighting               $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Amendment (Quest Diagnostics Health and Wellness Amendment)
2766 Quest Diagnostics Inc.                    $           -
                                                               Insurance Policy (Excess Fiduciary - Policy Number(s): 768754640)
2767 Quest USA Corp                            $           -   MSC Program Agreement(s)
2768 Quick Cable Corporation                   $           -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
2769 Quickie Mfg.                              $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Conversion Agreement(s)
2770 Quicor Inc                                $           -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2771 Quikrete Companies                        $           -   Retail Marketing Fund Agreement(s)
                                                               MSC Program Agreement(s)
2772 Quince Creek LLC                          $           -   MSC Program Agreement(s)

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                                                 Est. Cure
 ID              Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
2773   R&D Technical Solutions Ltd           $           -    Reunion Market Special/Retail Assortment Agreement(s)
2774   R&R Group LLC                         $           -    MSC Program Agreement(s)
2775   R.W. Rogers                           $           -    MSC Program Agreement(s)
2776   R2 Design Lab Inc                     $           -    MSC Program Agreement(s)
                                                              Software Maintenance Agreement (R2 Logistics Inc - Transportation Agreements Contracted Carrier)
2777 R2 Logistics Inc                        $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2778 R3 Chicago                              $           -
                                                              MSC Program Agreement(s)
2779 R3 Chicago/Goldmax                      $           -    MSC Program Agreement(s)
2780 R3 Chicago/Wertheimer                   $           -    MSC Program Agreement(s)
                                                              Professional Services Agreement (RAAV Tech SOW 2023-1 CO 2 Vamshi Meda - IT Google Cloud
                                                              Architect)
2781 RAAV Tech LLC                           $           -    Professional Services Agreement (RAAV Tech LLC Independent Contractor Agreement – Vamshi
                                                              Meda Cloud Architect)
                                                              MSC Program Agreement(s)
2782 Raco Incorporated                       $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2783 Radia                                   $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2784 Radians Inc                             $           -
                                                              Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2785 Radiator Specialty Co                   $           -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2786 Radio Flyer Inc                         $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2787 Radio Systems                           $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2788 Radius Garden LLC                       $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2789   Ragan And Massey Inc                  $           -    MSC Program Agreement(s)
2790   Rain Block LLC                        $           -    MSC Program Agreement(s)
2791   Rain Harvesting Pty Ltd               $           -    MSC Program Agreement(s)
2792   Rainbird National Sls                 $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2793 Ralco Nutrition, Inc                    $           -
                                                              MSC Program Agreement(s)
2794   Rand Mcnally                          $           -    MSC Program Agreement(s)
2795   Rankam (China) Mfg Co Ltd             $           -    Reunion Market Special/Retail Assortment Agreement(s)
2796   Rapid Ramen Inc                       $           -    Reunion Market Special/Retail Assortment Agreement(s)
2797   Rapid Rope LLC                        $           -    Conversion Agreement(s)
2798   Rapid Tools                           $           -    MSC Program Agreement(s)
2799   Ray Griffith Co., Inc.                $           -    MSC Program Agreement(s)
2800   Ray Padula Enterprise                 $           -    MSC Program Agreement(s)
2801   Rayco                                 $           -    MSC Program Agreement(s)
2802   Raymond Handling Concepts             $           -    Building Maintenance & Services Agreement (Kansas City MHE Maintenance - Raymond)
                                                              Goods Purchase Agreement (Raymond Material Handling CER_Kingman)
                                                              Goods Purchase Agreement (Raymond Material Handling CER_Harvard)
2803 Raymond Handling Concepts Corporation   $           -    Software Maintenance Agreement (TechSmith Camtasia Snagit Bundle License and Maint Renewal
                                                              2024 - Catherine Rountree)
2804 Rbd Online Inc                          $           -    MSC Program Agreement(s)
                                                              Master Services Agreement (Wiz, Inc. - MSA)
2805 Readerest                               $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2806   Ready America                         $           -    MSC Program Agreement(s)
2807   Ready Seal Inc                        $           -    MSC Program Agreement(s)
2808   Real Wood Products Co                 $           -    MSC Program Agreement(s)
2809   Rebel Green                           $           -    MSC Program Agreement(s)
2810   Rebound Driveway Marker LLC           $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2811 Reckitt Benckiser                       $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2812 Reckitt Benckiser Pro                   $           -
                                                              MSC Program Agreement(s)
2813 Recochem Inc                            $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2814 Rectorseal Corporation                  $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2815 Red & White Valve Corp                  $           -    MSC Program Agreement(s)
2816 Red Bull North America Inc              $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2817 Red Devil Inc                           $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
2818 Red River Commodities, Inc.             $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2819 Red River Specialties                   $           -
                                                              MSC Program Agreement(s)
2820 Red Toolbox USA Inc                     $           -    MSC Program Agreement(s)
2821 Redbone Products Inc                    $           -    MSC Program Agreement(s)

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                                                    Est. Cure
 ID              Counterparty Name                                                        Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
2822   Red-Carpet Studios Ltd.                  $           -    MSC Program Agreement(s)
2823   Redex Industries Inc                     $           -    MSC Program Agreement(s)
2824   Rediflame Inc                            $           -    MSC Program Agreement(s)
2825   Redishade, Inc.                          $           -    MSC Program Agreement(s)
2826   Redmond Minerals Inc                     $           -    MSC Program Agreement(s)
2827   Reed Union Corp                          $           -    Reunion Market Special/Retail Assortment Agreement(s)
2828   Reelcraft Ind.                           $           -    MSC Program Agreement(s)
2829   Reeves International Inc                 $           -    Reunion Market Special/Retail Assortment Agreement(s)
2830   Reflectix Inc                            $           -    MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2831 Reforestation Technologies Intl            $           -
                                                                 MSC Program Agreement(s)
2832 Regal Art & Gift                           $           -    Reunion Market Special/Retail Assortment Agreement(s)
2833 Regency International                      $           -    MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
2834 Reid Industries                            $           -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
2835 Reliable Of Milwaukee                      $           -    MSC Program Agreement(s)
2836 Reliance Controls Corp                     $           -    MSC Program Agreement(s)
                                                                 Vendor Buying Agreement
2837 Reliance Water Heater Co                   $           -    Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
2838   Remcoda Express LLC                      $           -    Order Form (Remcoda Express Remove Hand Sanitizers from RDC's)
2839   Remedi Electronic Commerce Group         $           -    Professional Services Agreement (Interface work)
2840   Remington Arms                           $           -    MSC Program Agreement(s)
2841   Remington Products Inc                   $           -    MSC Program Agreement(s)
2842   Remotes Unlimited Inc                    $           -    Reunion Market Special/Retail Assortment Agreement(s)
2843   Renaissance Chicago O'Hare               $           -    Events & Meetings Services Agreement (Renaissance Chicago O'Hare Hotel Agreement 2024)
2844   Renees Garden Seeds                      $           -    MSC Program Agreement(s)
2845   Reneotech Inc                            $           -    MSC Program Agreement(s)
2846   Renewable Lubricants Inc                 $           -    MSC Program Agreement(s)
2847   Renin Us LLC                             $           -    MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (Republic Services Waste Agreement for Freeport
                                                                 2023 - Cary)
2848 Republic Services                          $           -    Consulting Agreement (Planet Forward Consulting Agreement)
                                                                 Professional Services Agreement (Senior Infrastructure Program Manager)
                                                                 MSC Program Agreement(s)
2849   Repurpose Inc                            $           -    MSC Program Agreement(s)
2850   Research Products                        $           -    MSC Program Agreement(s)
2851   Reson Enterprises Ltd                    $           -    Reunion Market Special/Retail Assortment Agreement(s)
2852   Resource Partners Enterprises LLC        $           -    MSC Program Agreement(s)
                                                                 Professional Services Agreement (Training, project management, VAT and installation for pilot store)
2853 Retail Realm Distribution Inc              $           -
2854   Revive Inc                               $           -   MSC Program Agreement(s)
2855   Rexius Forest By-Products                $           -   MSC Program Agreement(s)
2856   Rh Brands, Inc.                          $           -   Conversion Agreement(s)
2857   Rhino Mfg. Dba Avalanche                 $           -   MSC Program Agreement(s)
2858   Rhino Seed & Landscaping Supply LLC      $           -   MSC Program Agreement(s)
2859   Rhip Graphics                            $           -   MSC Program Agreement(s)
2860   Rhm Staffing Solutions                   $           -   HR Services Agreement (RHM Staffing Solutions - Agency and Recruiting Agreement TVM)
2861   Richards Paint Mfg Co Inc                $           -   MSC Program Agreement(s)
2862   Richardson Bros Greenhouses Inc          $           -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2863 Richardson Oilseed Ltd                     $           -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2864 Richardson Seating Corp                    $           -   MSC Program Agreement(s)
2865 Richdel Inc                                $           -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
2866 Richelieu America Ltd                      $           -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
2867 Richelieu America Ltd.                     $           -   Conversion Agreement(s)
2868 Richpower Industries                       $           -   MSC Program Agreement(s)
                                                                Professional Services Agreement (Printer Installation)
2869 Ricoh Production Print Solutions LLC       $        935.11
                                                                Professional Services Agreement (Software and printer installation)
                                                                Software Agreement (Open AI API Usage Credit)
                                                                Building Maintenance & Services Agreement (Ricoh 2 Printer Removal from Westlake 2023)
2870 Ricoh Usa                                  $           -   Building Maintenance & Services Agreement (Ricoh 2 8210s Printer Removal from Woodland 2023)
                                                                MSC Program Agreement(s)




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 ID               Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                  Amount (1)
                                                               Building Maintenance & Services Agreement (Ricoh Printer Pick Up Form Wilkes Barre 2024)
                                                               Building Maintenance & Services Agreement (Ricoh Printer Pick Up Form Cleveland 2024)
                                                               Equipment Lease Agreement (Ricoh 6000 Printer Lease Harvard 2021)
                                                               Goods Purchase Agreement (Ricoh IMC6000 Lease Agreement Springfield 2021)
                                                               Hardware Agreement (Ricoh USA, Inc. Printer Ricoh SP8400DN - 12 month lease)
2871 Ricoh USA, Inc.                          $     125,349.06 Hardware Agreement (Ricoh USA - Ricoh Central Ship_MP4055SP Printer Lease and Usage)
                                                               Hardware Agreement (Ricoh Pro8300 Wilkes Barre Printer Lease and Estimated Usage)
                                                               Order Form (Ricoh Master Lease Agreement - 8310 Printers for RDCs)
                                                               Order Form (Ricoh Hardware Maintenance and Support - 8310 Printers for RDCs)
                                                               Order Form (8310 Printers Lease Renewal)
                                                               Order Form (Ricoh Process Director Software Maintenance 2024)
                                                               Conversion Agreement(s)
2872 Ridge Tool Co                            $            -
                                                               MSC Program Agreement(s)
2873 Ridley Inc                               $            -   MSC Program Agreement(s)
2874 Ring Inc                                 $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               MSC Program Agreement(s)
2875 Rio Brands LLC                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
2876   Rite In The Rain/ J L Darling LLC      $            -   Reunion Market Special/Retail Assortment Agreement(s)
2877   River North Creative Products LLC      $            -   MSC Program Agreement(s)
2878   Riverbend Nursery Inc                  $            -   MSC Program Agreement(s)
2879   Riversand Technologies, Inc.           $            -   Software Agreement (MDM Suite Base License)
2880   Rj General Corporation                 $            -   MSC Program Agreement(s)
2881   Rj Schinner Co                         $            -   MSC Program Agreement(s)
2882   Rmax Inc.                              $            -   MSC Program Agreement(s)
2883   Rnr Plastics, Inc.                     $            -   MSC Program Agreement(s)
2884   Robert Allen LLC                       $            -   MSC Program Agreement(s)
                                                               Vendor Buying Agreement
                                                               MSC Program Agreement(s)
2885 Robert Bosch Tool Corp                   $            -   Conversion Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Conversion Agreement(s)
2886 Robert Half International, Inc.          $            -   Recruiting Services Agreement (Robert Half International, Inc. MSA)
                                                               Conversion Agreement(s)
2887 Roberts/Q.E.P. Co., Inc.                 $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2888 Robinson Outdoor Products LLC            $            -   MSC Program Agreement(s)
2889 Robinson Tech Int Corp                   $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
2890 Rock Doctor/Apex Products                $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
                                                               Software Agreement (Rocket Software PASSPORT PC TO HOST Annual Subscription License
2891 Rocket Software, Inc.                    $            -
                                                               Renewal 2024)
2892 Rockflowerpaper                          $            -   MSC Program Agreement(s)
2893 Rockline Industries Inc                  $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
2894 Roebic Laboratories Inc                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Conversion Agreement(s)
2895 Roland Boulanger & Cie Ltee              $            -   MSC Program Agreement(s)
2896 Roller Essentials LLC                    $            -   Goods Purchase Agreement (Roller Essentials LLC Agreement TVM)
2897 Roman Decorating Products                $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2898 Roman Inc                                $            -
                                                               MSC Program Agreement(s)
2899 Roof Melt By Kmi                         $            -   MSC Program Agreement(s)
2900 Root Assassin LLC                        $            -   MSC Program Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2901 Rooto Corporation                        $            -   Conversion Agreement(s)
                                                               MSC Program Agreement(s)
                                                               Building Maintenance & Services Agreement (Rose Cleaning LLC Springfield Janitorial Agreement)
2902 Rose Cleaning LLC                        $            -
2903 Roth Suguarbush Inc                      $            -   Conversion Agreement(s)
2904 Rover Resources, Inc.                    $            -   Professional Services Agreement (Rover Resources, Inc. MSA and other documents)
                                                               MSC Program Agreement(s)
2905 Rowenta/Krups                            $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2906 Royal Adhesives & Sealants Canada        $            -   MSC Program Agreement(s)
2907 Royal Appliance/Tti                      $            -   MSC Program Agreement(s)
2908 Royal Consumer Products                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                               Retail Marketing Fund Agreement(s)
                                                               Reunion Market Special/Retail Assortment Agreement(s)
2909 Royal Oak Enterprises LLC                $            -   MSC Program Agreement(s)
                                                               Conversion Agreement(s)
2910 Royal Pacific Corp                       $            -   MSC Program Agreement(s)
                                                               MSC Program Agreement(s)
2911 Rsi Home Products Sales Inc              $            -
                                                               Reunion Market Special/Retail Assortment Agreement(s)


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                                                Est. Cure
 ID             Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                Amount (1)
                                                             Professional Services Agreement (RSM US Llp - Master Services Agreement for ASC-842)
                                                             Professional Services Agreement (RSM Defined Lump Sum Pension Plan Arrangement Letter 2024)
                                                             Professional Services Agreement (RSM Savings and Compensation Deferral Plan Arrangement
                                                             Letter 2024)
2912 Rsm Us Llp                             $       5,071.50 Professional Services Agreement (RSM US Llp - R&D Tax Services SOW 2024)
                                                             Professional Services Agreement (RSM US Llp Visual Lease Enterprise Accounting Software SAAS
                                                             2024-2027)

2913 Rtzn Brands LLC                        $            -   Conversion Agreement(s)
2914 Rubber Queen/Pretty Products           $            -   MSC Program Agreement(s)
2915 Rubbermaid Cleaning/Rcmp               $            -   MSC Program Agreement(s)
                                                             Conversion Agreement(s)
2916 Rubbermaid Comm Prod                   $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
2917   Rubbermaid Commercial Cleaning       $            -   MSC Program Agreement(s)
2918   Rubbermaid Commercial Prod           $            -   MSC Program Agreement(s)
2919   Rubbermaid Commercial Products       $            -   MSC Program Agreement(s)
2920   Rubbermaid Dba Bubba Brands Inc      $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Conversion Agreement(s)
2921 Rubbermaid Inc                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
                                                             Building Maintenance & Services Agreement (Aston Carter Recruiting Agreement RSC)
2922 Rubbermaid Inc/Jarden                  $            -   Retail Marketing Fund Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2923 Rubbermaid Spec Prods                  $            -   MSC Program Agreement(s)
2924 Rubbermaid, S.P.D.                     $            -   MSC Program Agreement(s)
                                                             Building Maintenance & Services Agreement (Rubicon National Waste and Recycling Services
2925 Rubicon                                $            -
                                                             Agreement 2022)
                                                             MSC Program Agreement(s)
2926 Rug Doctor Inc                         $            -   Retail Marketing Fund Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2927 Rugg Mfg. Company                      $            -
                                                             MSC Program Agreement(s)
                                                             Software Agreement (Open AI API Usage Credit)
                                                             Building Maintenance & Services Agreement (Ricoh 2 Printer Removal from Westlake 2023)
2928 Russell & Miller Inc                   $            -   Building Maintenance & Services Agreement (Ricoh 2 8210s Printer Removal from Woodland 2023)
                                                             MSC Program Agreement(s)

                                                             Vendor Buying Agreement
                                                             Conversion Agreement(s)
2929 Rust-Oleum                             $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
2930 Rx Green Solutions                     $            -
                                                             MSC Program Agreement(s)
                                                             Consulting Agreement (RXO Managed Transport Master Consulting Agreement 2023)
                                                             Master Services Agreement (RXO Managed Transport - Management Services Agreement)
2931 Rxo Managed Transport LLC              $            -   Statement of Work (RXO Managed Transport SOW)
                                                             Insurance Policy (Crime - Policy Number(s): V36345230101)




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 ID               Counterparty Name                                                     Summary of Contracts / Descriptions (2)(3)
                                                   Amount (1)
                                                              Master Services Agreement (Ryder Transportation Services Agreement 2022)
                                                              Equipment Lease Agreement (Ryder Spotters for Westlake)
                                                              Equipment Repair Agreement (Ryder - Corsicana Trailer Maintenance 2022)
                                                              Lease Agreement (Real Estate Lease - Ryder Parking Lot Lease SOW)
                                                              Software Maintenance Agreement (Ryder Mobile Maintenance Kansas City)
                                                              Software Maintenance Agreement (Ryder - Cleveland Leased Equipment and Maintenance
                                                              Contracts)
                                                              Software Maintenance Agreement (Ryder - Woodland Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Wilkes-Barre Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Manchester Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Kansas City Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Harvard Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Denver Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Springfield Trailer Maintenance 2021)
2932 Ryder Integrated Logistics, Inc.          $ 8,308,510.61 Software Maintenance Agreement (Ryder - Atlanta Trailer Maintenance 2021)
                                                              Software Maintenance Agreement (Ryder - Mankato Trailer Maintenance 2021)
                                                              Statement of Work (Ryder Transportation Midwest ALO Amendment to the SOW Cleveland)
                                                              Statement of Work (Ryder Transportation ALO SOW Wilkes Barre 2022)
                                                              Transportation Services Agreement (Ryder Crossdock Statement of Work 2024)
                                                              Transportation Services Agreement (Ryder SOW Amendments)
                                                              Transportation Services Agreement (Ryder Amendment to SOW Kansas City 2023)
                                                              Transportation Services Agreement (Ryder Amendment to SOW Corsicana)
                                                              Transportation Services Agreement (Ryder Amendment to SOW Kingman 2023)
                                                              Transportation Services Agreement (Ryder Transportation Services Amendment Harvard SOW
                                                              2023)
                                                              Transportation Services Agreement (Ryder Amendment to 2022 MSA and SOW's 2023)
                                                              Lease Agreement (Vehicle Lease)

                                                                Building Maintenance & Services Agreement (Ryder On-Site Maintenance Sublease
2933 Ryder Truck Rental, Inc.                  $            -
                                                                Agreement_Corsicana)
2934 Ryse USA Inc                              $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
2935 S & K Products                            $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
2936 S & S Products Inc                        $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
2937 S C Johnson Wax                           $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
2938 S K Hand Tool                             $            -   MSC Program Agreement(s)
                                                                Master Services Agreement (S and S Computer Consultants - Master Services Agreement
2939 S&S Computer Consultants, Ltd             $      20,800.00
                                                                2024)
2940 S4 Lights Inc                             $            -   MSC Program Agreement(s)
                                                                Professional Services Agreement (CBI Telecom SOW 2 CO 10 Block of Hours Support for VOIP
       Saaswedo (Communication Brokers, Inc.                    Conversion)
2941                                           $            -   Professional Services Agreement (CBI LOA Authorization - Generic)
       (Cbi)
                                                                Insurance Policy (Directors & Officers / Excess Fiduciary - Policy Number(s): XMF2303470)
2942 Safe Start                                $            -   Consulting Agreement (Safe Start Consulting Services Agreement 2022)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2943 Safety 1St/Dorel                          $            -
                                                                MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2944 Safety Works Inc                          $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
2945 Saia Inc.                                 $            -   Software Maintenance Agreement (Saia Inc - Transportation Agreements LTL)
                                                                Retail Marketing Fund Agreement(s)
2946 Saint Gobain Adfors                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                MSC Program Agreement(s)
2947 Saint-Gobain Adfors                       $            -   Conversion Agreement(s)
2948 Sainty International LLC                  $            -   MSC Program Agreement(s)
2949 Sakar International Inc                   $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
2950 Sakrete Of North America                  $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
                                                                Software Maintenance Agreement (Salesforce - Mulesoft Real Time Integration Software Renewal
                                                                2022)
2951 Salesforce.Com, Inc.                      $            -   Software Maintenance Agreement (Salesforce - Mulesoft Subscription extension to support OMS
                                                                Integration)
                                                                MSC Program Agreement(s)
2952 Sallyeander Inc                           $            -   MSC Program Agreement(s)
2953 Salt City Sales Inc                       $            -   MSC Program Agreement(s)
2954 Salton Inc                                $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
2955 Sam Hedaya Corp                           $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)


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                                                 Est. Cure
 ID              Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
                                                              MSC Program Agreement(s)
2956 Samar Company Inc                       $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2957 Sanco Industries                        $            -   MSC Program Agreement(s)
2958 Sanderson Plumbing                      $            -   MSC Program Agreement(s)
2959 Sandler Brothers Inc                    $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2960 Sanford Corp                            $            -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2961 Sani Seal LLC                           $            -   Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2962   Sansher Corp                          $            -   MSC Program Agreement(s)
2963   Santa's Best                          $            -   MSC Program Agreement(s)
2964   Santa's Best Craft LLC                $            -   MSC Program Agreement(s)
2965   Santeen Products LLC                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
2966   Santino Service LLC                   $            -   MSC Program Agreement(s)
                                                              Software Maintenance Agreement (SAP Sybase Afaria Class B Client Maint & Support Renewal
                                                              2023)
2967 Sap America, Inc.                       $            -   Software Maintenance Agreement (SAP Sybase Renewal Maintenance and Support - Afaria
                                                              Enterprise 2024)
                                                              MSC Program Agreement(s)
2968   Sapphire Multinational Group Inc      $            -   MSC Program Agreement(s)
2969   Sarasota Green Group LLC              $            -   MSC Program Agreement(s)
2970   Sarge International                   $            -   MSC Program Agreement(s)
2971   Sas Group Inc                         $            -   MSC Program Agreement(s)
                                                              Master License Agreement (SAS Universal Agreement Terms and Conditions)
2972 Sas Institute Inc                       $            -
                                                              Software Agreement (SAS Institute – Enterprise Data Miner Renewal 2023)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2973 Sashco Sealants                         $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2974 Sauder                                  $            -   MSC Program Agreement(s)
2975 Saum Accessories Inc                    $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2976 Savogran Co                             $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
                                                              SaaS Agreement (Sayari+FRDM Master Subscription Agreement)
2977 Sayari Labs, Inc.                       $            -
                                                              SaaS Agreement (Sayari - Supply Chain Forced Labor Mapping Tool Renewal)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
2978 Sbm Life Science Corp                   $            -   Retail Marketing Fund Agreement(s)
                                                              Conversion Agreement(s)
2979 Scarecrowations LLC                     $            -   MSC Program Agreement(s)
2980 Scenic Road Mfg                         $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
2981 Scent Shop                              $            -
                                                              Conversion Agreement(s)
                                                              MSC Program Agreement(s)
2982 Scepter Manufacturing, LLC              $            -   Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2983 Schaefer Ventilation Equip.             $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2984 Scheurich USA Inc                       $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2985 Schiller Grounds Care Inc               $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
2986 Schlage Lock Co                         $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2987 Schleich North America                  $            -
                                                              MSC Program Agreement(s)
2988 Schmidt Bros Inc                        $            -   MSC Program Agreement(s)
                                                              Software Maintenance Agreement (Schneider National Carriers Inc - Trans. Agreement
2989 Schneider Logistics, Inc.               $     848,363.74
                                                              Contracted Carrier)
2990   Schneider National Carriers           $            -   Master Services Agreement (Schneider National Carriers Transportation Agreement 2023)
2991   Schrader/Amflo                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
2992   Schroeder & Tremayne                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
2993   Schubert Nursery Inc                  $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
2994 Schumacher Electric                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
2995 Schwarz Supply Source                   $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
2996 Science Solutions LLC                   $            -   MSC Program Agreement(s)
2997 Scoot Products                          $            -   MSC Program Agreement(s)




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                                               Est. Cure
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                                               Amount (1)
                                                            Insurance Policy (Property - Policy Number(s): PTNAM2412966)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
2998 Scor Uk Company Limited (5%)          $            -   Retail Marketing Fund Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Building Maintenance & Services Agreement (Marx Sheet Metal & Mechanical Inc - HVAC
                                                            Maintenance 2020)
2999 Scotch Corporation                    $            -   Training Services Agreement (Speaker Services - Rory Vaden)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
3000 Scott Pet                             $            -   MSC Program Agreement(s)
                                                            Vendor Buying Agreement
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3001 Scotts Company                        $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
3002   Scotts Company-Tomcat               $            -   Reunion Market Special/Retail Assortment Agreement(s)
3003   Scotts Liquid Gold                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
3004   Scotttech Integrated Solutions      $            -   Professional Services Agreement (Installing network cables and switch)
3005   Scotwood Industries Inc.            $            -   MSC Program Agreement(s)
3006   Screen Tight                        $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3007 Screw It Again                        $            -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
3008 Scrub Daddy Inc                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
                                                            Professional Services Agreement (VC environment, Sterling BUS architecture, and data
                                                            transformation experience)
3009 Sea Level                             $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
3010 Seachoice Products                    $            -   MSC Program Agreement(s)
                                                            HR Services Agreement (SearchPath - Master Agreement 2020)
3011 Searchpath Of Chicago Inc.            $            -
                                                            HR Services Agreement (Searchpath of Chicago - Client Services Agreement 2021)
3012 Seasons (Hk) Ltd                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
3013 Seasons Designs                       $            -   MSC Program Agreement(s)
3014 Seaward Group Usa                     $            -   MSC Program Agreement(s)
                                                            Professional Services Agreement (CapGemini Master Service Agreement)
3015 Seco Company                          $            -
                                                            Master Services Agreement (SECO Cross Dock Service Agreement with 2 SOWs)
3016 Second Nature Designs Limited         $            -   MSC Program Agreement(s)
                                                            Building Maintenance & Services Agreement (Securitas - Security Guard Services Agreement
                                                            2021)
                                                            Amendment (Securitas Service Guards Services Manchester Amendment 2024)
3017 Securitas                             $      58,359.55 Building Maintenance & Services Agreement (Securitas Security Guard 2024 Increase Kansas City)
                                                            Building Maintenance & Services Agreement (Securitas Security Guard Service Kingman
                                                            Amendment 2025)

                                                            Conversion Agreement(s)
3018 Security Equipment Corporation        $            -
                                                            MSC Program Agreement(s)
3019   Seda France Inc                     $            -   MSC Program Agreement(s)
3020   Seeds Of Change                     $            -   MSC Program Agreement(s)
3021   Se-Kure Controls Inc.               $            -   MSC Program Agreement(s)
3022   Selfeco LLC                         $            -   MSC Program Agreement(s)
3023   Selkirk Corp                        $            -   MSC Program Agreement(s)
3024   Sellars Wipers & Sorbents           $            -   Reunion Market Special/Retail Assortment Agreement(s)
3025   Senco Brands                        $            -   MSC Program Agreement(s)
                                                            Retail Marketing Fund Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3026 Senco Fastening Systems               $            -   MSC Program Agreement(s)
                                                            Conversion Agreement(s)
3027 Send Transportation                   $            -   MSC Program Agreement(s)
3028 Sentry Group                          $            -   MSC Program Agreement(s)
                                                            Software Agreement (Serena ChangeMan Master License Agreement)
3029 Serena Software, Inc.                 $            -   Software Agreement (Serena ChangeMan ZMF with DB2 License & Support 2024)
                                                            Software Agreement (Serena - PVCS Version Manager Support Renewal 2024)
3030 Serene House Usa                      $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Conversion Agreement(s)
3031 Sergeants Pet Care Prod               $            -   Retail Marketing Fund Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            MSC Program Agreement(s)
3032 Servaas Labs Inc                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                            Conversion Agreement(s)
                                                            HR Services Agreement (Katalyst Group - Agency and Recruiting Agreement 2020)
3033 Serv-A-Lite Prod Inc                  $            -
                                                            MSC Program Agreement(s)
3034 Service Partners LLC                  $            -   MSC Program Agreement(s)


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                                                 Amount (1)
3035 Service Tool Co Inc                     $           -    MSC Program Agreement(s)
                                                              Professional Services Agreement (Sierra ITS MSA)
3036 Sester Farms Inc.                       $           -
                                                              MSC Program Agreement(s)
3037 Seymour Midwest LLC                     $           -    MSC Program Agreement(s)
3038 Shadloo Industrial Co Ltd               $           -    Reunion Market Special/Retail Assortment Agreement(s)
3039 Shake-Away                              $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3040 Shanghai Daisy LLC                      $           -
                                                              MSC Program Agreement(s)
3041   Shanghai Inhertz Intl Trd Co Ltd      $           -    MSC Program Agreement(s)
3042   Shanghai Starcraft Tools Co           $           -    MSC Program Agreement(s)
3043   Shanghai Worth Garden Prod            $           -    Reunion Market Special/Retail Assortment Agreement(s)
3044   Shappell Laker Co                     $           -    MSC Program Agreement(s)
3045   Shark Corporation                     $           -    MSC Program Agreement(s)
3046   Shark Pressure Washers                $           -    MSC Program Agreement(s)
3047   Sharkbite/Cash Acme                   $           -    MSC Program Agreement(s)
3048   Sharp Elec - Calculators              $           -    MSC Program Agreement(s)
                                                              Software Subscription Agreement (Pentera Software Subscription Agreement)
3049 Sharp Elec - Microwaves                 $           -
                                                              MSC Program Agreement(s)
3050 Sharpal Inc                             $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3051 Shawshank Ledz                          $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3052 Sheffield Bronze Corp                   $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3053 Shepherd Hdwe. Prod., LLC.              $           -
                                                              MSC Program Agreement(s)
3054 Sheridan Nurseries Limited              $           -    MSC Program Agreement(s)
3055 Sherwood Lumber Corp                    $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3056 Shijiazhuang Changlun Int               $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3057 Shinn Fu Company Of America             $           -    MSC Program Agreement(s)
3058 Ship A Tree                             $           -    MSC Program Agreement(s)
3059 Shla Group Inc                          $           -    Conversion Agreement(s)
                                                              Building Maintenance & Services Agreement (AT&T Dedicated Internet - CARY)
3060 Shopify Inc.                            $           -    Professional Services Agreement (Kelly-Moore Toll Manufacturing)
                                                              Professional Services Agreement (Shopify Master Agreement for Cary Paint Store)
3061 Shredneck LLC                           $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3062 Shur-Line                               $           -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3063 Shur-Line-Import                        $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
3064 Shurtech Brands LLC                     $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3065 Siamons International Inc               $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3066 Siemens Industry Inc                    $           -    MSC Program Agreement(s)
3067 Sienna LLC                              $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Professional Services Agreement (Sierra ITS MSA)
3068 Sierra Its                              $           -
                                                              MSC Program Agreement(s)
3069 Sierra Natural Science                  $           -    MSC Program Agreement(s)
3070 Sierra Select Distributors Inc          $           -    MSC Program Agreement(s)
3071 Siffron                                 $           -    MSC Program Agreement(s)
                                                              Goods Purchase Agreement (Velocity Labels W9)
3072 Signalone Safety Inc                    $           -    Insurance Policy (Pollution - Policy Number(s): 03141607)
                                                              MSC Program Agreement(s)
3073 Signature Products Group                $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
3074 Sigura                                  $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3075 Sika Corporation                        $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3076 Silver Bay Software LLC                 $           -    Software Agreement (Silver Bay Annual PDF 417 Use & Support License Renewal 2024)
3077 Silver Buffalo LLC                      $           -    MSC Program Agreement(s)
3078 Silver Line Bldg.. Products             $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3079 Silver One International Inc            $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3080 Silver Point Technologies               $           -    MSC Program Agreement(s)
3081 Simmons Mfg. Co                         $           -    MSC Program Agreement(s)
3082 Simplay3 Company, The                   $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3083 Simple Living Solutions LLC             $           -
                                                              MSC Program Agreement(s)
3084 Simpleair Care LLC                      $           -    Reunion Market Special/Retail Assortment Agreement(s)
3085 Simply Soothing                         $           -    MSC Program Agreement(s)


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 ID              Counterparty Name                                                Summary of Contracts / Descriptions (2)(3)
                                             Amount (1)
                                                          MSC Program Agreement(s)
3086 Simpson Strong Tie                  $            -   Conversion Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3087 Sinomart International              $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                          MSC Program Agreement(s)
3088 Sioux Chief Mfg Co.                 $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3089   Sister Chic                       $            -   MSC Program Agreement(s)
3090   Siteone Landscape Supply LLC      $            -   MSC Program Agreement(s)
3091   Skana Forest Products Ltd         $            -   MSC Program Agreement(s)
3092   Skell Inc                         $            -   MSC Program Agreement(s)
3093   Skybryte Company                  $            -   MSC Program Agreement(s)
3094   Skyjack Inc                       $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3095 Slipstick Usa                       $            -
                                                          MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
3096 Sm Products LLC                     $            -
                                                          Conversion Agreement(s)
                                                          Building Maintenance & Services Agreement (K & G Patton Enterprises Waste Service and Rental
3097 Smackcoders, Inc.                   $            -   Agreement for Atlanta 2024)
                                                          Software Agreement (Smackcoders - WP Ultimate CSV Importer Pro)
3098 Smart Solar Inc                     $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                          Goods Purchase Agreement (TVM LA Chemical Supply Agreement Cary 2024)
3099 Smartsheet                          $            -   Goods Purchase Agreement (LA Chemicals LTD Agreement TVM)
                                                          Software Agreement (Smartsheet Enterprise Software and Support 2024)
3100 Smartworks Consumer Products        $            -   MSC Program Agreement(s)
                                                          Building Maintenance & Services Agreement (SMG Alarm Services Agreement 2022)
3101 Smg Security Holdings               $       1,445.00
                                                          Building Maintenance & Services Agreement (SMG Alarm Services Agreement Harvard 2023)
3102   Smile Corporation                 $            -   Marketing Services Agreement (SMILE - Master Agreement and Conditions 2020)
3103   Smith Garden Center Inc           $            -   MSC Program Agreement(s)
3104   Smith Gardens Inc                 $            -   MSC Program Agreement(s)
3105   Smith-Cooper International        $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3106 Smiths Consumer Products Inc        $            -
                                                          MSC Program Agreement(s)
                                                          Conversion Agreement(s)
3107 Smittys Supply Inc                  $            -
                                                          Retail Marketing Fund Agreement(s)
                                                          Conversion Agreement(s)
3108 Smv Industries                      $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3109 Smyths Gardenville Greenhouse       $            -   MSC Program Agreement(s)
3110 Snap Lock Tile Co.                  $            -   MSC Program Agreement(s)
3111 Snapclip System                     $            -   MSC Program Agreement(s)
                                                          MSC Program Agreement(s)
3112 Snapware Corporation                $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3113 Snorkel International LLC           $            -   MSC Program Agreement(s)
3114 Snow Joe LLC                        $            -   MSC Program Agreement(s)
                                                          Master Services Agreement (Soci Acquisition Co Inc Master Terms of Service 2024-2029)
3115 Soci Acquisition Co., Inc.          $          90.13 Order Form (SOCI Social Media Platform Subscription Renewal 2024)
                                                          Professional Services Agreement (Soci Acquisition Co Inc MSA)
                                                          MSC Program Agreement(s)
3116 Sodastream USA Inc                  $            -
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3117 Software Artisans, Inc.             $            -   Software Agreement (Software Artisans OfficeWriter Software Renewal 2024)
3118 Soil Diva LLC                       $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3119 Solar Group                         $            -   Conversion Agreement(s)
                                                          MSC Program Agreement(s)
                                                          Conversion Agreement(s)
3120 Solaris Paper Inc                   $            -
                                                          MSC Program Agreement(s)
3121 Solarx Eyewear LLC                  $            -   MSC Program Agreement(s)
3122 Solideal USA Inc                    $            -   MSC Program Agreement(s)
                                                          Reunion Market Special/Retail Assortment Agreement(s)
3123 Solo Inc                            $            -   Conversion Agreement(s)
                                                          MSC Program Agreement(s)
3124 Somerset Capital Group              $      73,390.00 Lease Agreement (Equipment Lease)
                                                          Software Agreement (SonarSource Developer Edition Software License)
3125 Sonarsource                         $            -
                                                          MSC Program Agreement(s)
3126 Songbird Essentials/Gold Crest      $            -   MSC Program Agreement(s)
3127 Sonic Power Inc                     $            -   MSC Program Agreement(s)
                                                          Events & Meetings Services Agreement (Embassy Suites Denver Central Park Hotel Agreement)
3128 Sonitrol                            $            -
                                                          Equipment Lease Agreement (WB Sonitrol Change Order IDF Cabinets)
3129 Sophistiplate, LLC                  $            -   MSC Program Agreement(s)
3130 Soucie Family Firewood Inc          $            -   MSC Program Agreement(s)
3131 Sourceone                           $            -   MSC Program Agreement(s)




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 ID                Counterparty Name                                                        Summary of Contracts / Descriptions (2)(3)
                                                       Amount (1)
                                                                    MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
3132 South Win Ltd                                 $            -   Retail Marketing Fund Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Software Maintenance Agreement (Southeastern Freight Lines Inc - Transportation Agreements
3133 Southeastern Freight Lines Inc                $            -
                                                                    LTL)
3134 Southeastern Mills                            $            -   MSC Program Agreement(s)
3135 Southern Botanicals Inc                       $            -   MSC Program Agreement(s)
                                                                    Professional Services Agreement (Southern Counties Express Master Truckload Transportation
3136 Southern Counties Express Inc.                $            -
                                                                    Agreement)
3137 Southern Designs & Gifts LLC                  $            -   MSC Program Agreement(s)
3138 Southern Diversified Products LLC             $            -   MSC Program Agreement(s)
                                                                    Software Maintenance Agreement (PNC Bank - Commercial Card Program Agreement 2018)
3139 Southern Imperial LLC                         $            -   Insurance Policy (Cyber - Policy Number(s): 3138149)
                                                                    MSC Program Agreement(s)
3140   Southern Importers                          $            -   MSC Program Agreement(s)
3141   Southern Motor Carriers Association, Inc.   $            -   Master Services Agreement (Southern Motors Carriers Association (SMC3))
3142   Southern Sales Marketing Group              $            -   MSC Program Agreement(s)
3143   Southern Shutter Co                         $            -   Reunion Market Special/Retail Assortment Agreement(s)
3144   Southland Growers                           $            -   MSC Program Agreement(s)
                                                                    Building Maintenance & Services Agreement (Southwest Forest Products - Pallet Contract
3145 Southwest Forest Products                     $      18,896.40
                                                                    2025 Extension)
                                                                    Building Maintenance & Services Agreement (Marx Sheet Metal & Mechanical Inc - HVAC
                                                                    Maintenance 2020)
3146 Southwestern Consulting                       $            -   Training Services Agreement (Speaker Services - Rory Vaden)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    MSC Program Agreement(s)
3147 Southwire Company                             $            -   MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
3148 Southwire Company LLC                         $            -   MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    MSC Program Agreement(s)
3149 Southwire Company LLC-Import                  $            -
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Retail Marketing Fund Agreement(s)
                                                                    MSC Program Agreement(s)
3150 Southwire/Coleman Cable                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Conversion Agreement(s)
                                                                    Professional Services Agreement (Information Services Group (ISG) Americas, Inc. - Master
3151 Sovos Compliance, LLC                         $            -   Service Agreement)
                                                                    Professional Services Agreement (Sovos Unclaimed Property Managed Services)
3152 Soy Basics LLC                                $            -   MSC Program Agreement(s)
3153 Spa World/Meditub                             $            -   MSC Program Agreement(s)
                                                                    MSC Program Agreement(s)
3154 Spark Innovators Corp                         $            -
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
3155 Spartaco LLC                                  $            -   MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
3156 Speakman Company                              $            -
                                                                    MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
3157 Spectrum Brands Pet LLC                       $            -   Conversion Agreement(s)
                                                                    MSC Program Agreement(s)
                                                                    Reunion Market Special/Retail Assortment Agreement(s)
3158 Spectrum Brands, Pet, Home & Garden           $            -
                                                                    Conversion Agreement(s)
                                                                    Conversion Agreement(s)
3159 Spectrum Diversified Designs                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                    MSC Program Agreement(s)
3160 Spectrum Fertilizers                          $            -   MSC Program Agreement(s)
3161 Spic & Span Company                           $            -   Reunion Market Special/Retail Assortment Agreement(s)
3162 Spiceology                                    $            -   MSC Program Agreement(s)
                                                                    Software Agreement (Spiff Incentive Management Software Subscription HR)
3163 Spiff, Inc.                                   $            -
                                                                    Software Subscription Agreement (Spiff Master Subscription Agreement)
                                                                    Software Agreement (Digicert Security Cert Renewal for Afaria POS System 2023)
                                                                    MSC Program Agreement(s)
3164 Spontex                                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                    Conversion Agreement(s)
3165 Spoontiques                                   $            -   MSC Program Agreement(s)
3166 Sport Hansa Inc                               $            -   MSC Program Agreement(s)
                                                                    Conversion Agreement(s)
3167 Sports Licensing Solutions LLC                $            -
                                                                    MSC Program Agreement(s)
3168 Spray & Forget                                $            -   Reunion Market Special/Retail Assortment Agreement(s)
3169 Springfield Precision Inst                    $            -   MSC Program Agreement(s)
3170 Springstar Inc                                $            -   MSC Program Agreement(s)




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                                                   Amount (1)
                                                                Building Maintenance & Services Agreement (Spruce Goose Janitorial Services Agreement
3171 Spruce Goose Janitorial                   $      23,800.00 Kingman)
                                                                Amendment (Spruce Goose Janitorial Services Amendment 2024 Kingman)
3172 Spruce Wholesale LLC                      $            -   MSC Program Agreement(s)
                                                                Master Services Agreement (SPS Commerce MSA)
3173 Sps Commerce, Inc.                        $      64,167.89 Professional Services Agreement (SPS Commerce NDA Consulting Services)
                                                                SaaS Agreement (SPS Commerce Vendor EDI & Item Attribute Renewal 2024)
3174 Square D                                  $            -   MSC Program Agreement(s)
3175 Srills LLC                                $            -   MSC Program Agreement(s)
3176 Srs Innovations                           $            -   MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
3177 St Gabriel Organics                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
3178 St Gobain Adfors America Inc              $            -   Reunion Market Special/Retail Assortment Agreement(s)
3179 St. Onge Company                          $            -   Consulting Agreement (St. Onge - Manchester and Wilkes-Barre Planning 2021)
3180 Stabila Inc.                              $            -   MSC Program Agreement(s)
                                                                Master Services Agreement (Advantage Workforce Solutions MSA + SOW)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3181 Stack On Products Company                 $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
3182 Stanco Metal Prod                         $            -
                                                                Conversion Agreement(s)
                                                                Hosting Agreement (Databank zColo - Production Data Center MSA 2021-2026)
3183 Standlee Hay Company                      $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Conversion Agreement(s)
3184 Standlee Premium Products LLC             $            -
                                                                MSC Program Agreement(s)
3185 Stange Marketing & Management Inc         $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3186 Stanley Bostitch                          $            -
                                                                Conversion Agreement(s)
3187 Stanley Consumer Tools                    $            -   Reunion Market Special/Retail Assortment Agreement(s)
3188 Stanley Latin America                     $            -   MSC Program Agreement(s)
3189 Stanley Tools-Zag Industries              $            -   MSC Program Agreement(s)
                                                                Goods Purchase Agreement (Staples Advantage Corporate Purchasing Agreement)
3190 Staples Contract & Commercial             $            -   MSC Program Agreement(s)
                                                                Conversion Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3191 Staples H F                               $            -
                                                                MSC Program Agreement(s)
3192 Staples Promotional Products              $            -   MSC Program Agreement(s)
                                                                Building Maintenance & Services Agreement (Aston Carter Recruiting Agreement RSC)
3193 Star Bright                               $            -   Retail Marketing Fund Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3194 Star Brite Inc                            $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                Conversion Agreement(s)
3195 Star Elite Inc                            $            -
                                                                MSC Program Agreement(s)
3196 Star Fire Distributing                    $            -   MSC Program Agreement(s)
3197 Star Nursery Inc                          $            -   MSC Program Agreement(s)
                                                                Hardware Maintenance Agreement (StayLinked Corporation - Thin Client Maintenance
3198 Staylinked Corporation                    $       2,196.00
                                                                Renewal 2024 - Cary)
3199 Stc International                         $            -   MSC Program Agreement(s)
                                                                Insurance Policy (Umbrella Liability - Policy Number(s): AEC252925603)
3200 Steadfast Insurance Company (Zurich)      $            -
                                                                MSC Program Agreement(s)
3201 Stearns Inc                               $            -   MSC Program Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3202 Stearns Packaging Corporation             $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
3203   Steel Heart Ltd                         $            -   MSC Program Agreement(s)
3204   Stencil Ease                            $            -   MSC Program Agreement(s)
3205   Stens Corporation                       $            -   MSC Program Agreement(s)
3206   Step 2 Corp                             $            -   MSC Program Agreement(s)
3207   Stephen Joseph Inc                      $            -   MSC Program Agreement(s)
3208   Stephens Pipe & Steel LLC               $            -   MSC Program Agreement(s)
3209   Sterilite                               $            -   MSC Program Agreement(s)
                                                                Retail Marketing Fund Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3210 Sterling International                    $            -   Conversion Agreement(s)
                                                                MSC Program Agreement(s)
                                                                MSC Program Agreement(s)
3211 Sterno Group, The                         $            -
                                                                Reunion Market Special/Retail Assortment Agreement(s)
                                                                Reunion Market Special/Retail Assortment Agreement(s)
3212 Sterno Home Inc                           $            -   Retail Marketing Fund Agreement(s)
                                                                MSC Program Agreement(s)
3213 Stickers Northwest Inc                    $            -   MSC Program Agreement(s)

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                                            Amount (1)
                                                         MSC Program Agreement(s)
3214 Stihl Inc                          $           -
                                                         Vendor Buying Agreement
3215 STNL II Property Company LLC       $           -    Lease Agreement (Real Estate at 308 S. Division St. Harvard, IL 60033)
3216 Stone Age Creations Ltd            $           -    MSC Program Agreement(s)
3217 Stone Candles                      $           -    MSC Program Agreement(s)
                                                         Building Maintenance & Services Agreement (Mansfield Bulk Fuel Amendment 2024)
                                                         Goods Purchase Agreement (True Value - Mansfield Oil Agreement)
3218 Stone Care International           $           -    Transportation Services Agreement (Mansfield Bulk Fuel Second Amendment 2024 Renewable Fuel
                                                         Source)
                                                         MSC Program Agreement(s)
3219   Stone World, Inc.                $           -    MSC Program Agreement(s)
3220   Stonecasters LLC                 $           -    MSC Program Agreement(s)
3221   Storage Concepts By Jaken        $           -    Reunion Market Special/Retail Assortment Agreement(s)
3222   Storebound LLC                   $           -    MSC Program Agreement(s)
3223   Storehorse Inc                   $           -    MSC Program Agreement(s)
3224   Storflex Holdings Inc.           $           -    MSC Program Agreement(s)
                                                         Conversion Agreement(s)
3225 Straight Arrow Products Inc        $           -    MSC Program Agreement(s)
                                                         Reunion Market Special/Retail Assortment Agreement(s)
3226 Strategiq Nda 2022                 $           -    Master Services Agreement (StrategIQ Commerce LLC MSA 2022)
                                                         Software Agreement (Strategy11 Software - Formidable Plugin Forms 2024)
3227 Strategy11                         $           -
                                                         MSC Program Agreement(s)
3228   Streamlight                      $           -    MSC Program Agreement(s)
3229   Structural Plastics Corp.        $           -    MSC Program Agreement(s)
3230   Studebaker Nurseries Inc         $           -    MSC Program Agreement(s)
3231   Stump Chunks LLC                 $           -    MSC Program Agreement(s)
3232   Sturon Inc                       $           -    MSC Program Agreement(s)
3233   Style Crest Inc                  $           -    MSC Program Agreement(s)
3234   Suburban Propane, L.P.           $           -    MSC Program Agreement(s)
3235   Sugatsune America Inc.           $           -    MSC Program Agreement(s)
3236   Sugru Inc                        $           -    MSC Program Agreement(s)
3237   Sullair LLC                      $           -    MSC Program Agreement(s)
                                                         Reunion Market Special/Retail Assortment Agreement(s)
3238 Summit Brands                      $           -    Conversion Agreement(s)
                                                         MSC Program Agreement(s)
                                                         MSC Program Agreement(s)
3239 Summit Chemical Co                 $           -    Conversion Agreement(s)
                                                         Reunion Market Special/Retail Assortment Agreement(s)
3240   Summit Industries Inc            $           -    MSC Program Agreement(s)
3241   Summit Outdoors LLC              $           -    MSC Program Agreement(s)
3242   Summit Plastic                   $           -    MSC Program Agreement(s)
3243   Summit Supply LLC                $           -    MSC Program Agreement(s)
3244   Summit Wood Industries Inc       $           -    MSC Program Agreement(s)
3245   Sun Frog Products Inc            $           -    MSC Program Agreement(s)
                                                         Conversion Agreement(s)
3246 Sunbeam Products Inc               $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                         MSC Program Agreement(s)
3247 Sunbelt                            $           -    MSC Program Agreement(s)
                                                         Professional Services Agreement (VC environment, Sterling BUS architecture, and data
                                                         transformation experience)
3248 Sunbelt Chemicals Corp             $           -    Conversion Agreement(s)
                                                         MSC Program Agreement(s)
3249 Sunbelt Rentals                    $           -    MSC Program Agreement(s)
                                                         Conversion Agreement(s)
3250 Suncast Corp                       $           -    MSC Program Agreement(s)
                                                         Reunion Market Special/Retail Assortment Agreement(s)
3251 Sunco Inc                          $           -    MSC Program Agreement(s)
3252 Sundberg Company                   $           -    MSC Program Agreement(s)
                                                         Reunion Market Special/Retail Assortment Agreement(s)
3253 Sungro Horticulture                $           -    Retail Marketing Fund Agreement(s)
                                                         MSC Program Agreement(s)
3254 Sunhill Industries-Import          $           -    MSC Program Agreement(s)
                                                         Retail Marketing Fund Agreement(s)
3255 Sunjoy Group Intl Pte Ltd          $           -
                                                         MSC Program Agreement(s)
3256 Sun-Mar Corp                       $           -    MSC Program Agreement(s)
                                                         Conversion Agreement(s)
3257 Sunneday LLC                       $           -
                                                         MSC Program Agreement(s)
3258 Sunniland Corporation              $           -    MSC Program Agreement(s)
                                                         Reunion Market Special/Retail Assortment Agreement(s)
                                                         Retail Marketing Fund Agreement(s)
3259 Sunshine Makers                    $           -    Conversion Agreement(s)
                                                         MSC Program Agreement(s)



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 ID             Counterparty Name                                                    Summary of Contracts / Descriptions (2)(3)
                                                Amount (1)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
3260 Sunshine Mills                         $            -   Retail Marketing Fund Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Software Maintenance Agreement (Sunstates Security LLC - Security Guard Services
                                                             Agreement 2021)
                                                             Professional Services Agreement (Jonesboro Security Agreement 2022 - Sunstates Security)
3261 Sunstates Security LLC                 $      52,799.92
                                                             Building Maintenance & Services Agreement (Sunstates Security Guard Increase Corsicana
                                                             Amendment 2024)

                                                             Reunion Market Special/Retail Assortment Agreement(s)
3262 Super Glue Corp/Pacer Tech             $            -   Conversion Agreement(s)
                                                             MSC Program Agreement(s)
3263 Super Sparkly Safety Stuff LLC         $            -   MSC Program Agreement(s)
3264 Super Trellis                          $            -   MSC Program Agreement(s)
                                                             Conversion Agreement(s)
3265 Superclean Brands Inc                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
3266 Superex Canada Limited                 $            -   MSC Program Agreement(s)
3267 Superior Mfg./Notrax                   $            -   MSC Program Agreement(s)
                                                             Conversion Agreement(s)
3268 Superior Tool Company                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             MSC Program Agreement(s)
                                                             Conversion Agreement(s)
3269 Supplying Demand Inc                   $            -
                                                             MSC Program Agreement(s)
3270 Surecan Inc                            $            -   MSC Program Agreement(s)
3271 Surefire, LLC                          $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
3272 Surehold Div Barristo                  $            -
                                                             MSC Program Agreement(s)
3273   Surface Shields, Inc.                $            -   MSC Program Agreement(s)
3274   Surfs Up Candle                      $            -   MSC Program Agreement(s)
3275   Susquehanna Garden Concepts          $            -   MSC Program Agreement(s)
3276   Sustane Natural Fertilizer           $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
3277 Sutherland Prod Dba Charlies Soap      $            -
                                                             Reunion Market Special/Retail Assortment Agreement(s)
3278 Swag Pacific                           $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
3279 Swan Products LLC                      $            -
                                                             MSC Program Agreement(s)
                                                             Retail Marketing Fund Agreement(s)
3280 Swanson Bark & Wood Products           $            -
                                                             MSC Program Agreement(s)
3281 Sway Group                             $            -   Professional Services Agreement (Sway Group - Master Services Agreement (MSA))
3282 Sweet Meadow Family Farm LLC           $            -   MSC Program Agreement(s)
3283 Sweet Shop Candies Inc                 $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
3284 Swift Response LLC                     $            -   MSC Program Agreement(s)
                                                             Conversion Agreement(s)
3285 Swift Straw Ii LLC                     $            -   MSC Program Agreement(s)
                                                             Software Maintenance Agreement (Swift Transportation Company - Transportation
3286 Swift Transportation Company           $      41,149.05
                                                             Agreements Contracted Carrier)
3287 Swing-N-Slide                          $            -   MSC Program Agreement(s)
                                                             Software Agreement (SwipedOn Business Plan Subscription 2024)
3288 Swipedon                               $            -
                                                             MSC Program Agreement(s)
                                                             Conversion Agreement(s)
3289 Synco Chemical Corp                    $            -   MSC Program Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
                                                             Reunion Market Special/Retail Assortment Agreement(s)
3290 Syndicate Home & Garden                $            -
                                                             MSC Program Agreement(s)
3291   Synthetic Grass Warehouse Inc        $            -   MSC Program Agreement(s)
3292   T Christy Enterprises                $            -   MSC Program Agreement(s)
3293   T.W. Evans Cordage Co. Inc.          $            -   MSC Program Agreement(s)
3294   Table Mountain Sales LLC             $            -   MSC Program Agreement(s)
3295   Tablecraft Product Company           $            -   MSC Program Agreement(s)
3296   Tablemate Products                   $            -   MSC Program Agreement(s)
                                                             Professional Services Agreement (Codal Inc. Master Service Agreement)
3297 Tabular Editor Aps                     $            -
                                                             Software Agreement (Tabular Editor ApS Software Subscription 2024)
                                                             Conversion Agreement(s)
3298 Tag - Olly Olly Group LLC              $            -
                                                             MSC Program Agreement(s)
3299 Tag -Trade Associates Group Ltd        $            -   MSC Program Agreement(s)
                                                             MSC Program Agreement(s)
3300 Taiwan Fu Hsing Industrial Co          $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                             Conversion Agreement(s)




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 ID              Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
                                                                 Order Form (Talend - Application Data Integration Software Renewal 2024-2027)
                                                                 Order Form (Talend - Academy Named User License)
3301 Talend Inc.                                $            -   Professional Services Agreement (Talend SOW 1 CO 1 T&M Contractors for Oracle ERP)
                                                                 Software Agreement (Talend Master Software License and Services Agreement)
3302 Talus Corp                                 $            -   MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (Tanknology Service Agreement Corsicana 2022)
                                                                 Building Maintenance & Services Agreement (Tanknology Service Agreement Jonesboro 2022)
3303 Tanknology                                 $            -   Building Maintenance & Services Agreement (Tanknology Service Agreement Westlake 2022)
                                                                 Building Maintenance & Services Agreement (Tanknology Service Agreement Harvard 2022)
3304   Tarantin Industries                      $            -   MSC Program Agreement(s)
3305   Tarco                                    $            -   MSC Program Agreement(s)
3306   Tartan                                   $            -   Transportation Services Agreement (Tartan Bulk Fuel Agreement Renewal 2024)
3307   Tata Consultancy Services Ltd            $      17,455.64 Change Order (TCSL SOW 2020-02 CO 25 Quality Assurance Services for OMS)
3308   Tattler Home Products                    $            -   Reunion Market Special/Retail Assortment Agreement(s)
3309   Tatung Co Of America Inc                 $            -   MSC Program Agreement(s)
                                                                 Master Services Agreement (Tax Recourse LLC - Commercial Property Tax Services Agreement)
3310 Tax Recourse LLC                           $            -
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3311 Taylor Precision Products LP               $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3312 Tcb Innovations LLC                        $            -   MSC Program Agreement(s)
3313 Tcc Materials                              $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3314 Tec Laboratories Inc                       $            -
                                                                 MSC Program Agreement(s)
3315 Tech Enterprises, Inc.                     $            -   MSC Program Agreement(s)
                                                                 Goods Purchase Agreement (Raymond Material Handling CER_Kingman)
                                                                 Goods Purchase Agreement (Raymond Material Handling CER_Harvard)
3316 Techsmith                                  $            -   Software Maintenance Agreement (TechSmith Camtasia Snagit Bundle License and Maint Renewal
                                                                 2024 - Catherine Rountree)
3317 Tee Zed Products LLC                       $            -   MSC Program Agreement(s)
3318 Teeco Solutions                            $            -   MSC Program Agreement(s)
3319 Tegraseal Products LLC                     $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
3320 Teknor-Apex Company                        $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Vendor Buying Agreement
3321 Telcom Solutions LLC                       $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3322 Telebrands Corporation                     $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3323 Tell Manufacturing Inc                     $            -   MSC Program Agreement(s)
3324 Temple Inland                              $            -   MSC Program Agreement(s)
3325 Ten Strawberry Street                      $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3326 Tender Corporation                         $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3327   Tenergy Corporation                      $            -   MSC Program Agreement(s)
3328   Tennant/ Nobles                          $            -   MSC Program Agreement(s)
3329   Teradata Operations, Inc.                $            -   Order Form (Teradata Cloud - Vantage Unit Annual Renewal)
3330   Teraplast Spa                            $            -   MSC Program Agreement(s)
3331   Terra Products Inc                       $            -   MSC Program Agreement(s)
3332   Terrapin Trading Co Ltd                  $            -   MSC Program Agreement(s)
3333   Terraquip Const Products                 $            -   MSC Program Agreement(s)
3334   Teters Floral                            $            -   MSC Program Agreement(s)
3335   Tetra Pond                               $            -   Reunion Market Special/Retail Assortment Agreement(s)
3336   Teufel Holly Farms                       $            -   MSC Program Agreement(s)
3337   Texas Custom Grills LLC                  $            -   MSC Program Agreement(s)
3338   Texas Industries                         $            -   MSC Program Agreement(s)
3339   T-Fal/Wearever                           $            -   MSC Program Agreement(s)
3340   Tfs Ltd                                  $            -   Building Maintenance & Services Agreement (TFS Ltd MNDA 2024)
                                                                 Professional Services Agreement (Forrester Research MSA Renewal)
                                                                 HR Services Agreement (The Cara Group - Oracle Financial Training Project 2020)
3341 The Cara Group, Inc.                       $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3342 The Chemours Company LLC                   $            -   Goods Purchase Agreement (The Chemours Contract TVM)
                                                                 Conversion Agreement(s)
3343 The Good Charcoal Company LP               $            -
                                                                 MSC Program Agreement(s)
3344 The Grimm Group LLC                        $            -   MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (Republic Services Waste Agreement for Freeport
                                                                 2023 - Cary)
       The Launch Consulting Group (Planet                       Consulting Agreement (Planet Forward Consulting Agreement)
3345                                            $            -
       Technology LLC)                                           Professional Services Agreement (Senior Infrastructure Program Manager)
                                                                 MSC Program Agreement(s)
3346 The Matworks LLC                           $            -   MSC Program Agreement(s)


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                                               Amount (1)
                                                            Vendor Buying Agreement
3347 The Minwax Company                    $            -   MSC Program Agreement(s)
                                                            Conversion Agreement(s)
3348 The Pop Hat LLC                       $            -   MSC Program Agreement(s)
3349 The Reserves Network Inc              $            -   HR Services Agreement (The Reserves Network Inc - Agency and Recruiting Agreement 2021)
3350 The Speaker Exchange Agency, LLC      $            -   Training Services Agreement (Speaker Services - Kelly McDonald)
                                                            Professional Services Agreement (Progress DevCraft Ultimate PHP & JSP Developer License
                                                            Renewal - Gary Traub)
3351 The Staffing Group, Inc.              $            -   Software Agreement (Progress WhatsUp Gold Prem. 1000 Service Agreement Renewal 2024)
                                                            Master Services Agreement (Manchester Staffing Group 2022)
3352 The Ultimate Software Group Inc.      $            -   Software Agreement (Ultimate Escrow Agreement)
                                                            MSC Program Agreement(s)
3353 The Zoofy Group, LLC                  $            -
                                                            Conversion Agreement(s)
                                                            Conversion Agreement(s)
3354 Thermacell Repellents Inc             $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3355 Thermos LLC                           $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3356 Thermwell                             $            -   Conversion Agreement(s)
                                                            MSC Program Agreement(s)
3357 Theuts Flower Barn                    $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
3358 Think Product Lab USA Inc             $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3359 Thomas & Betts                        $            -   Reunion Market Special/Retail Assortment Agreement(s)
3360 Thorfood-Carolina Nut Company         $            -   MSC Program Agreement(s)
                                                            Lease Agreement (Real Estate at 7050 Transport Drive Kingman, AZ 86401)
3361 Thorsav LLC                           $      17,786.00 Lease Agreement (Real Estate Lease)

                                                            Reunion Market Special/Retail Assortment Agreement(s)
3362 Thrift Marketing, Inc                 $            -   MSC Program Agreement(s)
                                                            Conversion Agreement(s)
                                                            MSC Program Agreement(s)
3363 Tianjin Jinmao Group/Import           $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3364 Tickkey International Inc             $            -   MSC Program Agreement(s)
3365 Tiger Brand Jack Post                 $            -   MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
3366 Tigre USA Inc                         $            -
                                                            Conversion Agreement(s)
3367   Tile Redi USA LLC                   $            -   MSC Program Agreement(s)
3368   Tilley Endurables                   $            -   MSC Program Agreement(s)
3369   Timber Tote                         $            -   MSC Program Agreement(s)
3370   Tin Roof Marketing LLC              $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3371 Tingley Rubber                        $            -
                                                            MSC Program Agreement(s)
                                                            MSC Program Agreement(s)
3372 Tinks                                 $            -
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3373   Tippmann Sports/Gi Sportz           $            -   MSC Program Agreement(s)
3374   Titan Tool Inc                      $            -   MSC Program Agreement(s)
3375   Tjm Innovations LLC                 $            -   MSC Program Agreement(s)
3376   Tlf Graphics Inc                    $            -   MSC Program Agreement(s)
3377   Tm Shea Products Inc                $            -   MSC Program Agreement(s)
3378   Toja Grid Inc                       $            -   MSC Program Agreement(s)
3379   Tolco Corporation                   $            -   MSC Program Agreement(s)
3380   Toledo & Co Inc                     $            -   MSC Program Agreement(s)
3381   Tommyco Kneepads, Inc.              $            -   MSC Program Agreement(s)
3382   Tomy International                  $            -   MSC Program Agreement(s)
3383   Tonoga Inc                          $            -   MSC Program Agreement(s)
3384   Topcell Batteries                   $            -   MSC Program Agreement(s)
3385   Topduck Products LLC                $            -   MSC Program Agreement(s)
3386   Toptec Products LLC                 $            -   MSC Program Agreement(s)
3387   Torched Products                    $            -   MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3388 Toro Company                          $            -   MSC Program Agreement(s)
                                                            Conversion Agreement(s)
3389 Tossits LLC                           $            -   Conversion Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3390 Total Sourcing Concepts               $            -
                                                            MSC Program Agreement(s)
                                                            Reunion Market Special/Retail Assortment Agreement(s)
3391 Toter Incorporated                    $            -
                                                            MSC Program Agreement(s)
                                                            Building Maintenance & Services Agreement (Tower Compactor Rentals_Purchase Agreement 2023
3392 Tower Compactor Rentals               $            -
                                                            Cleveland)
3393 Town & Country Landscape              $            -   MSC Program Agreement(s)


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                                                    Amount (1)
                                                                 MSC Program Agreement(s)
3394 Tr Industries                              $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3395 Tracey Tools LLC                           $            -   MSC Program Agreement(s)
3396 Trackr Inc                                 $            -   MSC Program Agreement(s)
3397 Trae Fuels LLC                             $            -   MSC Program Agreement(s)
                                                                 Vendor Buying Agreement
3398 Traeger Pellet Grills LLC                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
3399 Trail Blazer                               $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3400 Transpac Imports Inc                       $            -
                                                                 MSC Program Agreement(s)
                                                                 Software Maintenance Agreement (Transplace - Service Agreement)
3401 Transplace                                 $            -   Software Maintenance Agreement (Transplace - Logistics Services Mangement Agreement
                                                                 Ammendment 2021)
3402 Trashcan LLC                               $            -   MSC Program Agreement(s)
     Travelers Excess And Surplus Lines Co                       Insurance Policy (Cyber - Policy Number(s): CYB10801069200;)
3403 (Corvus)                                   $            -

3404 Trebia Consulting, Inc.                    $            -   Professional Services Agreement (IT Contractor)
3405 Tree Island Wire Inc                       $            -   MSC Program Agreement(s)
3406 Treesap Farms LLC                          $            -   MSC Program Agreement(s)
                                                                 Building Maintenance & Services Agreement (IGS Natural Gas Supply Agreement_Illinois 2024)
3407 Trend Micro Inc.                           $            -   Building Maintenance & Services Agreement (IGS Electricity Supply Agreement_Cleveland 2024)
                                                                 Software Agreement (Trend Micro Inc EULA-Master Agreement - Addendum)
                                                                 MSC Program Agreement(s)
3408 Trendspot Inc                              $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)
3409 Triad Plant Company                        $            -   MSC Program Agreement(s)
3410 Triangle Home Fashions LLC                 $            -   MSC Program Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
                                                                 Conversion Agreement(s)
3411 Tricam Industries                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
3412 Trifold LLC                                $            -   MSC Program Agreement(s)
3413 Trillium Worldwide Inc                     $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3414 Trimaco, Inc.                              $            -
                                                                 Conversion Agreement(s)
3415 Trimaco, LLC                               $            -   Reunion Market Special/Retail Assortment Agreement(s)
3416 Trinidad Benham                            $            -   Reunion Market Special/Retail Assortment Agreement(s)
3417 Trinity Plastics Inc                       $            -   MSC Program Agreement(s)
                                                                 Goods Purchase Agreement (Trion Wire Dividers and Fronts Purchase Agreement_2022)
3418 Trion                                      $            -
                                                                 MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3419 Trisales Marketing LLC                     $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3420 Tristar Products                           $            -
                                                                 MSC Program Agreement(s)
3421   Trixie & Milo                            $            -   MSC Program Agreement(s)
3422   Trojan Specialty Products                $            -   Reunion Market Special/Retail Assortment Agreement(s)
3423   Tru Earth Environmental Products         $            -   MSC Program Agreement(s)
3424   True Manufacturing Inc                   $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3425 True Science Holdings                      $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3426 True Value Applicators                     $            -   Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
3427 True Value Company                         $            -   HR Services Agreement (True Value Confidentiality Agreement - Jose Gabriel Gonzalez)
3428 Trunk Mat Co Inc                           $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3429 Truper Sa De Cv                            $            -
                                                                 MSC Program Agreement(s)
                                                                 Professional Services Agreement (TrustArc Inc. MSA)
                                                                 Order Form (TrustArc Cookie Consent Manager SW)
3430 Trustarc                                   $      14,388.00 Professional Services Agreement (TrustArc SOW 3 Individual Rights Manager)
                                                                 Software Agreement (TrustArc Individual Rights Manager Renewal 2024)
                                                                 Software Agreement (TrustArc Cookie Consent Manager Software Renewal 2024)
3431   Tsurumi                                  $            -   MSC Program Agreement(s)
3432   Tsurumi Pump                             $            -   MSC Program Agreement(s)
3433   Tufco/Trimaco, LLC.                      $            -   MSC Program Agreement(s)
3434   Turf Inc                                 $            -   MSC Program Agreement(s)
3435   Turfco Mfg., Inc.                        $            -   MSC Program Agreement(s)
3436   Turtle Pond Orchids                      $            -   MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3437 Turtle Wax Inc                             $            -   Conversion Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3438 Tuthill Corp                               $            -   Reunion Market Special/Retail Assortment Agreement(s)

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 ID              Counterparty Name                                                   Summary of Contracts / Descriptions (2)(3)
                                                 Amount (1)
3439 Twister Display                         $            -   MSC Program Agreement(s)
3440 Twos Company Inc                        $            -   MSC Program Agreement(s)
                                                              Master Services Agreement (Johnson Controls Security Sales Agreement)
3441 Tyco Integrated Security LLC            $            -
                                                              MSC Program Agreement(s)
3442   Typhoon Homewares LLC                 $            -   MSC Program Agreement(s)
3443   U S Gypsum                            $            -   MSC Program Agreement(s)
3444   U S Minerals Inc                      $            -   MSC Program Agreement(s)
3445   U S Mix Co                            $            -   MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3446 U S Nonwovens                           $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
3447 U S Pumice                              $            -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
3448 U S Stove Company                       $            -
                                                              Conversion Agreement(s)
                                                              Equipment Repair Agreement (Freight Logistics Optimization Works Membership Agreement 2022)
3449 U.S. Department Of Transportation       $            -   Professional Services Agreement (Wachter MSA)

3450 U.S. Greenfiber LLC                     $            -   MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3451 U.S. Pumice                             $            -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3452 U.S. Tape Company Inc.                  $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3453 U.S. Wire & Cable Corporation           $            -   MSC Program Agreement(s)
                                                              Software Maintenance Agreement (Uber Freight LLC - Transportation Agreement Contracted
3454 Uber Freight LLC                        $     701,086.37
                                                              Carrier)
3455 Ud Design Co                            $            -   MSC Program Agreement(s)
                                                              Master Services Agreement (UKG (Kronos) SaaS Master Agreement (MSA))
                                                              Hardware Agreement (UKG (Kronos) Data Collection InTouch Hardware Support Renewal - 2024)
                                                              Professional Services Agreement (UKG Candidate Texting Add On)
                                                              SaaS Agreement (UKG - Ultimate SaaS Model Core Renewal 2022-2025)
3456 Ukg / Kronos                            $      72,806.69 SaaS Agreement (UKG Workforce Dimensions Subscription Renewal 2024)
                                                              Software Agreement (UKG HRIS Cloud Order Form Talent Acquisition- Employee File Mgmt)
                                                              Software Agreement (UKG HRIS Cloud Order Form Talent Mgmt - Compensation Mgmt 2023-2025)

3457   Ulta-Lit Tree Co-Import               $            -   Reunion Market Special/Retail Assortment Agreement(s)
3458   Ultimate Fertilizer Co, The           $            -   MSC Program Agreement(s)
3459   Ultimate Gardening LLC                $            -   MSC Program Agreement(s)
3460   Ultimate Rb                           $            -   MSC Program Agreement(s)
3461   Ultimate Survival Technologies        $            -   Reunion Market Special/Retail Assortment Agreement(s)
3462   Ultimate Textile                      $            -   MSC Program Agreement(s)
3463   Ultra Compost                         $            -   MSC Program Agreement(s)
3464   Ultra Hardware Products               $            -   MSC Program Agreement(s)
3465   Ultra Optix Inc                       $            -   Reunion Market Special/Retail Assortment Agreement(s)
3466   Ultrablend Color LLC                  $            -   MSC Program Agreement(s)
3467   Ultra-Fab Products, Inc.              $            -   MSC Program Agreement(s)
3468   Underground Tools Inc                 $            -   MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3469 Unger Industrial LLC                    $            -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3470 Unified Marine                          $            -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3471 Unigo Inc                               $            -
                                                              Conversion Agreement(s)
3472 Unilever Ice Cream                      $            -   MSC Program Agreement(s)
3473 Uninex International                    $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
3474 United Gilsonite Lab                    $            -
                                                              Conversion Agreement(s)
                                                              HR Services Agreement (United HealthCare Services - Administrative Service Agreements)
3475 United Healthcare Services              $            -
                                                              HR Services Agreement (United HealthCare Services - Renewal and Terms Amendment)
3476 United Jumbo Co., Ltd                   $            -   Reunion Market Special/Retail Assortment Agreement(s)
3477 United Model L.P.                       $            -   MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (UPS Transportation Agreement and Amendments)
3478 United Parcel Service, Inc.             $            -   Software Maintenance Agreement (UPS Incentive Program Agreement)
                                                              Software Maintenance Agreement (UPS Incentive Program Agreement # 17)
                                                              Retail Marketing Fund Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3479 United Solutions                        $            -   Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3480 United States Hdw Mfg/U S Hardware      $            -
                                                              MSC Program Agreement(s)
3481 United States Postal Service            $            -   Building Maintenance & Services Agreement (USPS NDA)
3482 United States Whip Inc                  $            -   Reunion Market Special/Retail Assortment Agreement(s)
3483 United Stationers Supply Co             $            -   MSC Program Agreement(s)


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                                                        Amount (1)
                                                                   Individual Independent Contractor Agreement (Veronica Micklin - Individual Independent Contractor
3484 Universal Forest Products                      $          -   Agreement)
                                                                   MSC Program Agreement(s)
                                                                   Master Services Agreement (University of Illinois Master Service Agreement)
3485 University Of Illinois At Urbana-Cahmpaign     $          -
                                                                   Statement of Work (University of Illinois Supply Chain Management Corporate Fund Gift 2024)
                                                                   Professional Services Agreement (UPS Customer Solutions Master Client Agreement)
3486 UPS Inc. (An Ohio Company)                     $ 2,357,599.56 Order Form (UPS ShipExec Software Licenses Renewal 2024)

3487 Urban Slicer LLC                               $            -   MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
3488 Uriah Products                                 $            -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Equipment Lease Agreement (US Bancorp Equipment Finance LLC - Master Lease Agreement
3489 Us Bancorp Equipment Finance Inc               $            -   2009)
                                                                     Equipment Lease Agreement (US Bancorp Equipment Finance LLC - Lease Amendment 2015)
3490 US Lambswool                                   $            -   MSC Program Agreement(s)
3491 Us Salt LLC                                    $            -   MSC Program Agreement(s)
                                                                     Master Services Agreement (US Signal MSA)
3492 Us Signal Company, L.L.C                       $       3,758.23
                                                                     Master Services Agreement (US Signal Schedule of Services Agreement For Shurline)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
3493 US Urban Wildlife Control LLC                  $            -   Conversion Agreement(s)
                                                                     MSC Program Agreement(s)
3494   Usf Holland Inc.                             $            -   Software Maintenance Agreement (USF Holland Inc - Transportation Agreements LTL)
3495   Usi Insurance Services, LLC.                 $            -   Building Maintenance & Services Agreement (USI Insurance Client Services Agreement 2024)
3496   Utz Quality Foods                            $            -   Conversion Agreement(s)
3497   V & B Manufacturing Co                       $            -   MSC Program Agreement(s)
3498   V&P Nurseries Inc                            $            -   MSC Program Agreement(s)
                                                                     Software Maintenance Agreement (Validity BriteVerify Email Verification-Enterprise Subscription
3499 Validity, Inc.                                 $            -
                                                                     Renewal 2024)
3500 Valleybrook Gardens Ltd                        $            -   MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
3501 Valvoline Oil Company                          $            -   MSC Program Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
3502   Van Bloem Gardens                            $            -   MSC Program Agreement(s)
3503   Van Hoekelen Greenhouses Inc                 $            -   MSC Program Agreement(s)
3504   Van Mark Products                            $            -   MSC Program Agreement(s)
3505   Van Sickle Paint Mfg.                        $            -   MSC Program Agreement(s)
3506   Vantagepoint Business Solutions, LLC         $            -   Master Services Agreement (VantagePoint Business Solutions MSA)
3507   Vaporlux Inc                                 $            -   MSC Program Agreement(s)
3508   Vapur Inc                                    $            -   MSC Program Agreement(s)
3509   Vaughan & Bushnell Mfg. Co                   $            -   MSC Program Agreement(s)
                                                                     MSC Program Agreement(s)
3510 Vcm Products LLC                               $            -
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
                                                                     Retail Marketing Fund Agreement(s)
3511 Velcro USA Inc Consumer Pdts                   $            -   MSC Program Agreement(s)
                                                                     Conversion Agreement(s)
3512 Velmaxxx Enterprises Inc                       $            -   MSC Program Agreement(s)
                                                                     Goods Purchase Agreement (Velocity Labels W9)
3513 Velocity Badge & Label - Ljsmark LLC           $            -   Insurance Policy (Pollution - Policy Number(s): 03141607)
                                                                     MSC Program Agreement(s)
                                                                     Events & Meetings Services Agreement (Hampton Inn Atlanta Stockbridge Hotel Agreement)
3514 Velocityehs                                    $            -   Consulting Agreement (VelocityEHS Holdings NDA 2022)
                                                                     Conversion Agreement(s)
3515   Velux America Inc                            $            -   MSC Program Agreement(s)
3516   Ven Tel Plastics Corp                        $            -   MSC Program Agreement(s)
3517   Veneer Technologies                          $            -   MSC Program Agreement(s)
3518   Venta Airwasher Inc                          $            -   Reunion Market Special/Retail Assortment Agreement(s)
3519   Ventamatic, Ltd.                             $            -   MSC Program Agreement(s)
3520   Venture Products LLC                         $            -   MSC   Program Agreement(s)
3521   Veradek Inc                                  $            -   MSC Program Agreement(s)
3522   Veras Nursery Inc.                           $            -   MSC Program Agreement(s)
3523   Vericast (Valassis Communications, Inc)      $            -   Order Form (Vericast (Valassis) National Ad Share Participation Agreement 2024)
                                                                     Subscription Service Agreement (Verisk 3E ADM Data Manager Addendum 20151214 For Cary)
3524 Verisk 3E                                      $            -
                                                                     Subscription Service Agreement (Verisk 3E Company Subscription Renewal - Cary 2023)
3525 Verizon Business Network Services Inc.         $       2,783.66 Telecommunications Agreement (Verizon Wireless Enterprise Account Agreement)
3526 Vermeer Corporation                            $            -   MSC Program Agreement(s)
                                                                     Reunion Market Special/Retail Assortment Agreement(s)
3527 Vermont American                               $            -
                                                                     MSC Program Agreement(s)
3528 Vermont Christmas Company                      $            -   MSC Program Agreement(s)
                                                                     Individual Independent Contractor Agreement (Veronica Micklin - Individual Independent Contractor
       Veronica Micklin Individual Independent
3529                                                $            -   Agreement)
       Contractor
                                                                     MSC Program Agreement(s)
3530 Versacart Systems Inc.                         $            -   MSC Program Agreement(s)

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                                              Amount (1)
                                                           Consulting Agreement (a data warehouse consultancy with expertise in Teradata)
                                                           Professional Services Agreement (Vertex Indirect Tax - Public Cloud Tax Accelerator - 2024)
3531 Vertex, Inc.                         $           -    Professional Services Agreement (Vertex Indirect Tax - Public Cloud Calculation Solution 2024)
                                                           Professional Services Agreement (Vertex, Inc. Professional Service Agreement)
3532 Very Cool Stuff                      $           -    MSC Program Agreement(s)
3533 Vestil Manufacturing Company         $           -    MSC Program Agreement(s)
3534 Vibrant Photo & Electronics Inc      $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
3535 Vic West Importers Ltd Co            $           -
                                                           MSC Program Agreement(s)
3536 Vicks Den                            $           -    MSC Program Agreement(s)
3537 Victor Technologies Group            $           -    MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
3538 Victor Technology LLC                $           -
                                                           Conversion Agreement(s)
3539 Victorinox-Swiss Army Inc            $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
3540 Victory 8 Garden LLC                 $           -
                                                           MSC Program Agreement(s)
3541   Victory Tailgate                   $           -    MSC Program Agreement(s)
3542   Vigilant Technologies LLC          $           -    Professional Services Agreement (Vigilant Master Service Agreement)
3543   Village Lighting Company           $           -    Reunion Market Special/Retail Assortment Agreement(s)
3544   Vintage Goods Apparel LLC          $           -    MSC Program Agreement(s)
3545   Virginia Abrasives Corp            $           -    MSC Program Agreement(s)
3546   Virginia Gift Brands               $           -    MSC Program Agreement(s)
3547   Virnig Manufacturing, Inc          $           -    MSC Program Agreement(s)
3548   Visions Quality Coatings           $           -    MSC Program Agreement(s)
3549   Visser Greenhouses Inc             $           -    MSC Program Agreement(s)
3550   Vistar Distribution                $           -    MSC Program Agreement(s)
3551   Vogel Paint And Wax Company        $           -    Goods Purchase Agreement (Vogel Paint and Wax Company - Private Label Agreement 2020)
3552   Vogel Seed & Fertilizer Inc        $           -    MSC Program Agreement(s)
3553   Volm Companies, Inc.               $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
3554 Voluntary Purchasing Group Inc       $           -
                                                           MSC Program Agreement(s)
3555 Volvo Construction Equipment         $           -    MSC Program Agreement(s)
                                                           Insurance Policy (Directors & Officers - Policy Number(s): 47-EMC-325690-02)
                                                           Insurance Policy (Directors & Officers - Policy Number(s): 47-EMC-332324-01)
3556 Vornado Heat                         $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
3557 Vo-Toys Inc                          $           -    MSC Program Agreement(s)
3558 Voxred International LLC             $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
3559 Vp Racing Fuels Inc                  $           -
                                                           MSC Program Agreement(s)
                                                           MSC Program Agreement(s)
3560 Vtech Communications Inc             $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Professional Services Agreement (Vusion Group - eLabels for Palatine Store POC)
3561 Vusiongroup                          $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           MSC Program Agreement(s)
3562 W F Young Inc                        $           -
                                                           Reunion Market Special/Retail Assortment Agreement(s)
3563 W J Dennis & Co                      $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
                                                           Retail Marketing Fund Agreement(s)
3564 W M Barr                             $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
3565 W R Case & Sons Cutlery Co           $           -
                                                           MSC Program Agreement(s)
3566 W Silver Inc                         $           -    MSC Program Agreement(s)
3567 W W Wood Inc                         $           -    MSC Program Agreement(s)
                                                           Goods Purchase Agreement (Gilbarco/Gasboy System Service Agreement 2022)
3568 W3 Edge                              $           -    Master Services Agreement (Gilbarco/Gasboy Master Service Agreement 2020)
                                                           Software Agreement (W3 Edge - Total Cache Pro License)
3569 Wabash Valley Farms                  $           -    MSC Program Agreement(s)
                                                           Equipment Repair Agreement (Freight Logistics Optimization Works Membership Agreement 2022)
3570 Wachter, Inc.                        $           -    Professional Services Agreement (Wachter MSA)

3571 Wacker Neuson Corporation            $           -    MSC Program Agreement(s)
3572 Waddell Manufacturing                $           -    MSC Program Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
3573 Wagner Spray Tech                    $           -    MSC Program Agreement(s)
                                                           Conversion Agreement(s)
                                                           Reunion Market Special/Retail Assortment Agreement(s)
3574 Wahl Clipper Corp                    $           -    Conversion Agreement(s)
                                                           MSC Program Agreement(s)
3575   Walco Linck                        $           -    MSC Program Agreement(s)
3576   Walker Nursery Co.                 $           -    MSC Program Agreement(s)
3577   Wall Owater Inc                    $           -    MSC Program Agreement(s)
3578   Walla Walla Nursery Co             $           -    MSC Program Agreement(s)

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                                                 Amount (1)
3579 Wallclaw Anchors LLC                    $           -    MSC Program Agreement(s)
                                                              Software Maintenance Agreement (Waller Truck Co, Inc - Transportation Agreement Contracted
3580 Waller Truck Co, Inc                    $           -    Carrier)
                                                              MSC Program Agreement(s)
3581 Wallies/McCall Pattern Company The      $           -    MSC Program Agreement(s)
3582 Walters Seed Company                    $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3583 Ware Manufacturing Inc                  $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3584 Warner Mfg Co                           $           -
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3585   Warner Shelter Systems Ltd            $           -    MSC Program Agreement(s)
3586   Warner Wallcovering                   $           -    MSC Program Agreement(s)
3587   Warp Brothers                         $           -    MSC Program Agreement(s)
3588   Warrell Corporation                   $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3589 Warren Distribution                     $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (Wilks-Barre Compactor Solution)
                                                              Building Maintenance & Services Agreement (Waste Equipment Rentals & Sales Contract Wilkes
3590 Waste Equipment Rentals & Sales         $           -    Barre 2024)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3591 Watcher Total Protection                $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3592 Water Pik Inc                           $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3593 Water Source LLC                        $           -    Conversion Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3594 Water Sports LLC                        $           -
                                                              MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3595 Water Worker                            $           -
                                                              Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3596 Waterboss International                 $           -
                                                              Conversion Agreement(s)
3597   Waterford Press                       $           -    MSC Program Agreement(s)
3598   Waterloo Industries                   $           -    MSC Program Agreement(s)
3599   Waterlox Coatings Corp                $           -    MSC Program Agreement(s)
3600   Watkins Inc                           $           -    Reunion Market Special/Retail Assortment Agreement(s)
3601   Watman Inc                            $           -    MSC Program Agreement(s)
                                                              MSC Program Agreement(s)
3602 Watts Brass & Tubular                   $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                              Conversion Agreement(s)
                                                              Retail Marketing Fund Agreement(s)
3603 Waupaca Northwoods                      $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3604 Wayne Water Systems                     $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3605 Wb Keys LLC                             $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3606 Wd-40 Company                           $           -    Retail Marketing Fund Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3607 Wd-40 Company/Household Bran            $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3608 Wdg Holdings LLC                        $           -    MSC Program Agreement(s)
                                                              Conversion Agreement(s)
3609 Weaver Leather LLC                      $           -    MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3610 Weber Stephen Prod                      $           -    Vendor Buying Agreement
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3611 Weber-Stephen Products                  $           -
                                                              Conversion Agreement(s)
3612 Wedge-Loc Co. Inc                       $           -    MSC Program Agreement(s)
3613 Weeks Rose                              $           -    MSC Program Agreement(s)
                                                              Recruiting Services Agreement (Employment Group Inc. Contracting Group 2024-2027)
3614 Weems & Plath                           $           -
                                                              MSC Program Agreement(s)
                                                              Reunion Market Special/Retail Assortment Agreement(s)
3615 Weiman Products LLC                     $           -    Conversion Agreement(s)
                                                              MSC Program Agreement(s)
3616 Wej-It Fastening System                 $           -    MSC Program Agreement(s)
                                                              Building Maintenance & Services Agreement (Welch Equipment Material Handling Services
3617 Welch Equipment                         $           -
                                                              Agreement Denver)
3618 Well Traveled Living                    $           -    Reunion Market Special/Retail Assortment Agreement(s)



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                                                  Amount (1)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3619 Wellington Cordage LLC                   $            -
                                                                 MSC Program Agreement(s)
3620   Wellness Mats LLC                      $            -     MSC Program Agreement(s)
3621   Wells Lamont Corp                      $            -     MSC Program Agreement(s)
3622   Wentworth Greenhouses Inc              $            -     MSC Program Agreement(s)
3623   Wera Tools Inc.                        $            -     MSC Program Agreement(s)
3624   Werner Ladder Company                  $            -     MSC Program Agreement(s)
3625   Wertz Werkz LLC                        $            -     MSC Program Agreement(s)
3626   Wesco Industrial Products              $            -     MSC Program Agreement(s)
3627   Wessel Industries LLC                  $            -     MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3628 West Chester Holdings                    $            -
                                                                 MSC Program Agreement(s)
3629 West County Gardener/Mud Glove Co        $            -     MSC Program Agreement(s)
3630 West Drive LLC                           $            -     MSC Program Agreement(s)
3631 West Indies Pottery USA LLC              $            -     MSC Program Agreement(s)
     Westchester Fire Insurance Company                          Insurance Policy (Directors & Officers - Policy Number(s): G4743807A 001)
3632                                          $            -
     (Chubb)
     Westchester Surplus Lines Insurance                         Insurance Policy (Directors & Officers - Policy Number(s): G71765490 005)
3633                                          $            -
     Company(Chubb)
                                                                 Software Maintenance Agreement (Western Express Inc - Transportation Agreements
3634 Western Express Inc                      $     119,659.79
                                                                 Contracted Carrier)
3635 Western Promotions Inc                   $            -     MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3636 Westfield Outdoor Inc                    $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3637 Westinghouse Fan & Lighting              $            -     MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3638 Westinghouse Lighting LP                 $            -     MSC Program Agreement(s)
3639 Westminster Inc                          $            -     MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3640 Westminster Pet Products                 $            -     Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
3641 Wet & Forget Us Nz LP                    $            -     MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3642 Weyerhauser Choicewood                   $            -     MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3643 Wgi Innovations/Ba Products              $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3644 Wharton Innovative Products LLC          $            -     MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3645 Whedon Products                          $            -     Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
3646 Whink                                    $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Conversion Agreement(s)
3647 Whirlpool Corporation                    $            -     MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3648 White Rabbit LLC                         $            -     MSC Program Agreement(s)
3649 Whitebridge Pet Brands                   $            -     MSC Program Agreement(s)
3650 Whitehall Prod Ltd                       $            -     MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3651 White-Rodgers Division                   $            -     Conversion Agreement(s)
                                                                 MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3652 Whitmor Inc                              $            -
                                                                 MSC Program Agreement(s)
3653 Wiffle Ball Inc                          $            -     MSC Program Agreement(s)
                                                                 MSC Program Agreement(s)
3654 Wigwam Mills Inc                         $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3655   Wilco Distributors Inc                 $            -     MSC Program Agreement(s)
3656   Wild Wings                             $            -     MSC Program Agreement(s)
3657   Wilde Tool Co Inc                      $            -     MSC Program Agreement(s)
3658   Wildlife Research Center Inc           $            -     Reunion Market Special/Retail Assortment Agreement(s)
3659   Wildlife Sciences LLC                  $            -     MSC Program Agreement(s)
3660   Wildlife World Ltd                     $            -     MSC Program Agreement(s)
                                                                 Professional Services Agreement (CFV-CDI-CBIG Extension 2 - CDW Interfaces.Extension)
3661 Wildwood Farms                           $            -
                                                                 MSC Program Agreement(s)
3662 Wiley X Inc                              $            -     MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3663 Willert Home Products                    $            -     MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3664 William H Harvey                         $            -     Reunion Market Special/Retail Assortment Agreement(s)
                                                                 MSC Program Agreement(s)
3665 Williams Bay Products Inc                $            -
                                                                 Reunion Market Special/Retail Assortment Agreement(s)


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                                           Amount (1)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3666 Williamson Dickie Mfg.            $           -    Conversion Agreement(s)
                                                        MSC Program Agreement(s)
                                                        Amendment (WILLIS TOWERS WATSON RX COLLABORATIVE AUTHORIZATION AGREEMENT
                                                        AMENDMENT 3)
3667 Willis Towers Watson (Wtw)        $           -    HR Services Agreement (Towers Watson MSA/SOW 2022)
                                                        Statement of Work (Willis Tower Watson SOW Health & Welfare Brokerage Services 2024)
3668 Willowbrook Nurseries Inc         $           -    MSC Program Agreement(s)
                                                        Retail Marketing Fund Agreement(s)
3669 Wilmar Corporation                $           -    Conversion Agreement(s)
                                                        MSC Program Agreement(s)
3670 Wilson Sporting Goods             $           -    MSC Program Agreement(s)
3671 Wilson Supply                     $           -    MSC Program Agreement(s)
3672 Wilson Tennis Balls               $           -    MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3673 Wilton Industries                 $           -    Conversion Agreement(s)
                                                        MSC Program Agreement(s)
3674   Wilton/Copco                    $           -    MSC Program Agreement(s)
3675   Windsor Industries              $           -    MSC Program Agreement(s)
3676   Winfeld Brooks Co.              $           -    MSC Program Agreement(s)
3677   Wing Enterprises Inc            $           -    MSC Program Agreement(s)
3678   Winner International            $           -    MSC Program Agreement(s)
3679   Winslow & Ross Dba Ningbo       $           -    MSC Program Agreement(s)
3680   Wip Inc                         $           -    Conversion Agreement(s)
3681   Wipro Technologies              $           -    Consulting Agreement (MSA)
3682   Wiremold Company                $           -    Reunion Market Special/Retail Assortment Agreement(s)
                                                        MSC Program Agreement(s)
3683 Wisconsin Pharmacal Co LLC        $           -
                                                        Conversion Agreement(s)
3684 Wittur And Company                $           -    MSC Program Agreement(s)
                                                        Master Services Agreement (Wiz, Inc. - MSA)
3685 Wiz, Inc                          $           -
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3686   Wjn Enterprises Inc             $           -    MSC Program Agreement(s)
3687   Wlmd-Dba Wellmade Products      $           -    MSC Program Agreement(s)
3688   Wm W Meyer & Sons Inc           $           -    MSC Program Agreement(s)
3689   Wna                             $           -    MSC Program Agreement(s)
3690   Woerner Companies LLC, The      $           -    MSC Program Agreement(s)
3691   Wolverine Worldwide             $           -    Reunion Market Special/Retail Assortment Agreement(s)
3692   Won Kim Corporation             $           -    MSC Program Agreement(s)
                                                        MSC Program Agreement(s)
3693 Wonderlokking Corp                $           -
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3694 Wood Products Int'l               $           -    MSC Program Agreement(s)
3695 Wood Products Manufacturers       $           -    MSC Program Agreement(s)
3696 Woodland Tools Hq                 $           -    MSC Program Agreement(s)
                                                        Conversion Agreement(s)
3697 Woodland Tools Inc                $           -
                                                        MSC Program Agreement(s)
3698 Woodshed Renewables LLC           $           -    MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3699 Woodstream Corp                   $           -    Conversion Agreement(s)
                                                        MSC Program Agreement(s)
3700   Woolie Inc, The                 $           -    MSC Program Agreement(s)
3701   Woolly Pocket Corporation       $           -    MSC Program Agreement(s)
3702   Wooster Brush                   $           -    MSC Program Agreement(s)
3703   Worcester Wreath Co             $           -    MSC Program Agreement(s)
3704   Wordlock Inc                    $           -    MSC Program Agreement(s)
                                                        MSC Program Agreement(s)
3705 Working Products                  $           -
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3706 World Factory                     $           -    MSC Program Agreement(s)
3707 World Kitchen-Pyrex/Corelle       $           -    MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3708 World Marketing Of America        $           -    MSC Program Agreement(s)
                                                        Retail Marketing Fund Agreement(s)
3709 World Source Partners             $           -    MSC Program Agreement(s)
                                                        MSC Program Agreement(s)
3710 World Tech Toys                   $           -
                                                        Reunion Market Special/Retail Assortment Agreement(s)
3711 Worldwise Inc                     $           -    MSC Program Agreement(s)
                                                        Reunion Market Special/Retail Assortment Agreement(s)
                                                        Retail Marketing Fund Agreement(s)
3712 Worthington Cylinder Corp         $           -    Conversion Agreement(s)
                                                        MSC Program Agreement(s)




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 ID              Counterparty Name                                                        Summary of Contracts / Descriptions (2)(3)
                                                      Amount (1)
                                                                   Lease Agreement (Real Estate Lease)
                                                                   Insurance Policy (Umbrella Liability - Policy Number(s): EXC5202454)
                                                                   Lease Agreement (Real Estate at 7600 Jonesboro Road Jonesboro, GA 18051)
                                                                   Lease Agreement (Real Estate at 2601 East Highway 31 Corsicana, TX 75110)
                                                                   Lease Agreement (Real Estate at 14900 US Highway 71 Kansas City, MO 64147)
3713 WPC Holdco LLC                               $            -   Lease Agreement (Real Estate at 4005 Mohave Airport Dr. Kingman, AZ 86401)
                                                                   Lease Agreement (Real Estate at 2150 Olympic Avenue Springfield, OR 97477)
                                                                   Lease Agreement (Real Estate at 215 N. Pioneer Avenue Woodland, CA 95776)
                                                                   Lease Agreement (Real Estate at 26025 First St. Westlake, OH 44145)
                                                                   Lease Agreement (Real Estate at 2415 3rd Ave. Mankato, MN 56001)
                                                                   Lease Agreement (Real Estate at 201 - 203 Jandus Rd. Cary, IL 60013)
                                                                   Software Agreement (WPEngine, Inc. - (Delicious Brains) Offload Media Renewal 2024)
3714 WPEngine, Inc. (Delicious Brains)            $      16,039.36 Hosting Agreement (WP Engine Enterprise WordPress Hosting Agreement for TV.COM)

3715 Wrench Mints Inc                             $            -   MSC Program Agreement(s)
3716 Wrendale Designs Inc                         $            -   MSC Program Agreement(s)
                                                                   Software Agreement (Xecurify miniOrange WP SAML SSO Enterprise plan)
3717 Xecurify Inc                                 $            -
                                                                   Software Agreement (Xecurify Inc Migrate Plugin Configuration)
3718 Xl Insurance America Inc (Axa Xl) (14%)      $            -   Insurance Policy (Property - Policy Number(s): US00129755PR24A)
                                                                   Insurance Policy (Ocean Cargo - Policy Number(s): UM00024286MA24A)
3719 Xl Specialty Insurance Company               $            -   Insurance Policy (Kidnap & Ransom - Policy Number(s): UM00063714SP23A)
                                                                   MSC Program Agreement(s)
3720   Xodus Innovations LLC                      $            -   Reunion Market Special/Retail Assortment Agreement(s)
3721   X-Seed Inc                                 $            -   MSC Program Agreement(s)
3722   Xtend & Climb/Core Dist. Inc               $            -   MSC Program Agreement(s)
3723   Xynyth Mfg. Corp                           $            -   MSC Program Agreement(s)
3724   Yale Materials Handling                    $            -   MSC Program Agreement(s)
3725   Yale Security Inc.                         $            -   MSC Program Agreement(s)
3726   Yankee Candle Co.                          $            -   MSC Program Agreement(s)
3727   Yankee Publishing                          $            -   MSC Program Agreement(s)
3728   Yardistry Limited                          $            -   MSC Program Agreement(s)
3729   Yaya Organics                              $            -   MSC Program Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
3730 Yeoman & Company                             $            -
                                                                   MSC Program Agreement(s)
3731 Yerecic Label Company, Inc.                  $            -   MSC Program Agreement(s)
3732 Yeti Coolers Inc                             $            -   Vendor Buying Agreement
                                                                   Software Agreement (Yoast WooCommerce Premium bundle)
3733 Yoast                                        $            -
                                                                   Software Agreement (Yoast WooCommerce Premium Bundle 2)
3734   Yorkshire Federal, Inc.                    $            -   Building Maintenance & Services Agreement (Yorkshire Federal Inc - Corsicana Roofwork 2020)
3735   Young Brothers Stamp Work                  $            -   MSC Program Agreement(s)
3736   Young Manufacturing LLC                    $            -   MSC Program Agreement(s)
3737   Your "Other" Warehouse,                    $            -   MSC Program Agreement(s)
3738   Yrc Freight                                $            -   Software Maintenance Agreement (YRC Freight - Transportation Agreements LTL)
                                                                   MSC Program Agreement(s)
3739 Y-Tex Corporation                            $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
3740 Ytl International Inc                        $            -
                                                                   MSC Program Agreement(s)
                                                                   Goods Purchase Agreement (Yunker Inventory Agreement_2022)
3741 Yunker                                       $            -
                                                                   MSC Program Agreement(s)
3742 Z Shade Company Ltd                          $            -   MSC Program Agreement(s)
3743 Zak Designs Inc                              $            -   MSC Program Agreement(s)
                                                                   Professional Services Agreement (Production data center services renewal)
3744 Zayo Group                                   $            -
                                                                   Professional Services Agreement (Zayo Group - Master Customer Agreement (MCA))
       Zeller Digital Innovations Inc. DBA                         Professional Services Agreement (RoomReady Preferred Support Maintenance Renewal 2024)
3745                                              $            -
       RoomReady
                                                                   MSC Program Agreement(s)
3746 Zenith Home Corp                             $            -   Reunion Market Special/Retail Assortment Agreement(s)
                                                                   Conversion Agreement(s)
                                                                   Professional Services Agreement (Lumen Technologies Order Form for Circuit - RSC)
                                                                   Software Maintenance Agreement (Centurylink Master Telecom Agreement)
3747 Zenithen Limited                             $            -   MSC Program Agreement(s)
                                                                   Retail Marketing Fund Agreement(s)
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
3748 Zenithen USA LLC                             $            -   MSC Program Agreement(s)
3749 Zero Odor LLC                                $            -   MSC Program Agreement(s)
                                                                   MSC Program Agreement(s)
3750 Zero Technologies LLC                        $            -
                                                                   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
3751 Zevo                                         $            -
                                                                   Conversion Agreement(s)
                                                                   MSC Program Agreement(s)
3752 Zhejiang Deqing Ruide Industrial Co          $            -
                                                                   Reunion Market Special/Retail Assortment Agreement(s)
3753 Zhejiang Hongchen Irrigation                 $            -   MSC Program Agreement(s)
3754 Zhejiang Yayi Metal Technology Co            $            -   Reunion Market Special/Retail Assortment Agreement(s)
3755 Zhilang International Co Ltd                 $            -   Reunion Market Special/Retail Assortment Agreement(s)

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                                                    Est. Cure
 ID               Counterparty Name                                                      Summary of Contracts / Descriptions (2)(3)
                                                    Amount (1)
                                                                 Software Agreement (Ziflow Limited MSA)
3756 Ziflow Limited                             $       9,792.00
                                                                 Software Agreement (ZiFlow Enterprise SaaS Subscription and Support - Marketing 2024)
3757 Zipfy Inc.                                 $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3758 Zippo Mfg Co                               $            -   MSC Program Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
                                                                 Retail Marketing Fund Agreement(s)
3759 Zircon Corporation                         $            -   MSC Program Agreement(s)
                                                                 Conversion Agreement(s)
3760 Zoeller Company                            $            -   MSC Program Agreement(s)
3761 Zompers LLC                                $            -   MSC Program Agreement(s)
                                                                 Insurance Policy (Property - Policy Number(s): ERP0351823424)
3762 Zurich                                     $            -
                                                                 Insurance Policy (Business Travel Accident - Policy Number(s): GTU5466231)
                                                                 Reunion Market Special/Retail Assortment Agreement(s)
3763 Zurn Pex                                   $            -
                                                                 MSC Program Agreement(s)
                                                                 Change Order (Zyte SOW 2024-1 Scraping Hub Weekly Competitor Data On Demand 2024)
3764 Zyte Group Ltd (Scraping Hub Limited)      $       4,985.00
                                                                 Professional Services Agreement (Scraping Hub Ltd MSA)




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